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                          EXHIBIT 7
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                         Exhibit 76
Electronically Served
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Hennepin County, MN




                                   STATE OF MINNESOTA DISTRICT COURT FOR THE
                                  COUNTY OF HENNEPIN FOURTH JUDICIAL DISTRICT



                                              CIVIL ACTION NO. 27-CV-10-28862

                                       STATE OF MINNESOTA, et al. v. 3M COMPANY



                                                      EXPERT REPORT OF
                                                       KIRK W. BROWN




                                                         _________________




                                                PREPARED ON BEHALF OF
                                             PLAINTIFF STATE OF MINNESOTA


                                                         September 22, 2017




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  1. INTRODUCTION

         1.1     Scope of Report

          I have been asked by counsel to review the site information and associated documents
  concerning the disposal of liquid and residual solid wastes containing perfluorocarbon compounds
  (“PFCs”) generated by 3M Company at their Cottage Grove facility. These wastes were disposed
  of at the Cottage Grove facility, the Oakdale disposal site, the Woodbury disposal site, and the
  Washington County Landfill located in Washington County, Minnesota. Specifically, I was asked
  to address the following topics:

     •   What 3M knew or should have known regarding the contamination of groundwater by
         3M’s PFC-containing wastes at its four waste disposal sites and when 3M knew or should
         have known it; and

     •   Whether 3M exercised reasonable care when disposing of its PFC-containing wastes at its
         four disposal sites and allowing releases from those disposal sites to continue.

          I have reviewed the reports, documents, deposition transcripts, and various other
  materials provided by counsel and gathered independently and offer my professional opinions in
  this report. A list of the materials I have reviewed is contained in Attachment 1 to this report.
  The types of documents that I have reviewed, including patents, scientific publications, 3M’s
  reports and internal communications, 3M’s communications with regulatory agencies and the
  public, are those that would reasonably be relied upon in the preparation of an expert report.

         As more fully detailed in the body of this report, I offer the following professional
  opinions to a reasonable degree of scientific certainty:

         1. By the early 1950s, 3M knew or should have known that pollutants from landfilled
            industrial wastes would reach the groundwater beneath its disposal sites and would
            pose a potential threat of harm to human health and the environment and harm the
            State’s natural resources. By the early 1960s, 3M knew that groundwater beneath at
            least two of its disposal sites was contaminated with industrial organic chemicals,
            which were components of its waste.

         2. 3M failed to exercise reasonable care in connection with its disposal of PFCs and
            PFC-containing wastes because it disposed of them without regard for harm to human
            health and the environment. Further, 3M failed to exercise reasonable care by failing
            to prevent the continued release of PFCs into the groundwater and the Mississippi
            River after they were disposed of at 3M’s Minnesota sites.




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         1.2     Personal Background and Qualifications

          From 1970 through 2001, I was employed as a Professor of Soil and Crop Sciences in the
  Soil and Crop Sciences Department, Texas A&M University, College Station, Texas. I currently
  serve as Professor Emeritus in the Soil and Crop Sciences Department, Texas A&M University,
  College Station, Texas. In 1990, I received a joint appointment to the faculty in Toxicology at
  Texas A&M University, where I supervised the research of masters degree and doctoral
  candidates in the field of toxicology. My educational background includes a Bachelor of Science
  degree in Agronomy from Delaware Valley College (1962), Masters of Science degree in
  Agronomy/Plant Physiology from Cornell University (1964), and Doctor of Philosophy degree
  from University of Nebraska (1969). My résumé is presented as Attachment 2, and includes a
  complete list of my publications.

          While a member of the faculty at Texas A&M University, I conducted extensive research
  including numerous research projects for the U.S. Environmental Protection Agency (“USEPA”)
  and the National Institute of Health (“NIH”) on the fate and transport of contaminants, including
  pathways of exposure and toxicity of hazardous substances to receptors in the environment. As a
  result of these research efforts, I have authored or co-authored over 190 peer-reviewed, scientific
  publications, including numerous articles dealing with the disposal and treatment of waste
  materials, including Resource Conservation and Recovery Act (“RCRA”) hazardous wastes and
  Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”)
  hazardous substances contained therein and the problems arising therefrom. Additionally, I have
  authored or co-authored over 35 publications which deal with risk assessment or toxicity of
  hazardous substances in the environment. I have conducted research in a national center funded
  by the USEPA to study the fate of hazardous substances in the environment.

          The research I conducted on the mobility of organic liquids through clay landfill liners
  was instrumental in the incorporation of the prohibition of land disposal of liquid wastes in the
  Hazardous and Solid Waste Amendments in 1984 (P.L. 98-616, 1984). Extensive research that I
  conducted on landfill liners was instrumental in the development and implementation of
  regulations which now require that both hazardous and municipal landfills must be lined and all
  leachate must be collected and removed for treatment. I authored the USEPA guidance document
  on the land treatment of hazardous wastes, and portions of the USEPA guidance document on the
  design of landfill liners. I authored a publication for USEPA where I surveyed the characteristics
  of the hazardous wastes generated by industry based on the SIC code of the industry.

          During my tenure at Texas A&M University, I taught courses in Soil Physics which
  included topics on the movement of air, water, and other fluids in the soil, and a graduate course
  on the land disposal of wastes, which included consideration of the principles and practices
  applicable to the fate, mobility, and clean-up of contaminated sites. Students in these classes
  included engineers, soil scientists, chemists, and geologists. I have served on hundreds of
  advanced degree committees in these and related disciplines.

          I have served on technical advisory panels to the USEPA, committees of the Office of
  Technical Assessment, and the National Academy of Science. Significant reports resulting from
  these committee assignments include, Groundwater and Soil Cleanup, Improving Management
  of Persistent Contaminants (1999); Ranking Hazardous Waste Sites (1994); Coming Clean,


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  Superfund Problems Can be Solved (1989); and Superfund Strategy (1985). I was the primary
  author of a 1983 publication for the USEPA entitled Hazardous Waste Land Treatment. This
  publication specifically addressed the treatment of hazardous wastes from industrial waste
  streams to mitigate risk during treatment and eliminate risk to potential receptors.

          In 1981, I was appointed to the USEPA Land Treatment Task Force where I served from
  1981 through 1985. As part of my assignment with the Task Force, I evaluated the alternatives
  for land disposal of wastes and the risk associated with the disposal alternatives. While a member
  of this Task Force, I testified before the U.S. House of Representatives - Science and Technology
  Committee in November 1982 on the adequacy of USEPA's liquid management system to
  protect groundwater at hazardous waste landfills, which lead to the passage of the Hazardous and
  Solid Wastes Amendments of 1984 under the Resource Conservation and Recovery Act.

         In 1983 and 1984, I was a member of the Advisory Panel to U.S. Congressional Office of
  Technology Assessment. This panel was tasked with determining the effectiveness of current
  USEPA programs to clean up uncontrolled hazardous waste sites. As part of my assignment with
  this committee, I reviewed and evaluated the toxicity and imposed risk to receptors due to
  hazardous substances and provided recommendations for improving the efficiency of USEPA
  programs to mitigate risk at uncontrolled hazardous waste sites.

          In 1984, I was a member of the Office of Water Regulations and Standards Committee on
  Municipal Sludge Landfilling, which was formed to advise USEPA on the pollutants which
  should be regulated for disposal and the methods or procedures to be used for regulating such
  pollutants. As part of my work for this committee, I assessed the hazards and risk associated with
  the hazardous substances contained in municipal sewage sludge and provided recommendations
  for regulation of metals in sewage sludge based on the degree of risk presented by exposure to
  these metals.

           From 1987 through 1995, I was a member of the Advisory Panel to U.S. Congressional
  Office of Technology Assessment, which was tasked with assessing the effectiveness of the
  USEPA in identifying, prioritizing and cleaning up hazardous waste sites. As part of my work
  for this committee, I evaluated the impacts of exposure from different media and the
  effectiveness of available technologies to mitigate exposure and risk from hazardous waste sites.

         From 1991 through 1994, I served on the National Academy of Sciences Committee on
  Remedial Action Priorities for Hazardous Waste Sites, where I evaluated the role of risk
  assessment and mitigation of risk in the decision process for remedial action.

          From 1995 through 1998, I served on the National Academy of Sciences, National
  Research Council Committee on Environmental Technologies Subcommittee on Landfills. As
  part of my assignment to this committee, I evaluated the risk due to contaminants in soil and
  groundwater and recommended strategies for the management and control of recalcitrant wastes
  for the reduction of risk due to these persistent contaminants.

          In addition, I have served on numerous USEPA review panels addressing toxicity and
  risk including the following, among others:




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         •   USEPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge
             (1984);

         •   USEPA Panel to Write a Protocol for Mutagenicity Sample Preparation (1984);

         •   USEPA Hazardous Waste Center Review Panel (1988); and

         •   USEPA Review for Risk Assessment for Petroleum Industry Hazardous Waste
             Listing Determination (1995).

         I am personally familiar with the definition of “hazardous substance” as defined in
  § 101(14) of the Comprehensive Environmental Response, Compensation, and Liability Act
  (“CERCLA”) and under the statutes and regulations incorporated by reference into that section.
  A hazardous substance under CERCLA is defined in 42 U.S.C. § 9601 (14), invoking the EPA
  designations under 42 U.S.C. §§ 3001 and 9602, among other statutes. Included in the definition
  of a CERCLA hazardous substance are certain hazardous wastes which are either listed in 40
  C.F.R § 261, Subpart D or have certain identified characteristics as described in 40 C.F.R. § 261,
  Subpart C.

          Further, I have studied and am familiar with industrial, commercial, and residential
  wastes, and the landfills that eventually contain such waste. I have researched the risks
  associated with leachate from landfills containing these wastes. I have also investigated the
  partitioning, biodegradation, mobility, volatilization, solubility and reactivity of organic
  compounds found in leachate from landfills and the resulting fate and transport in both surface
  water and groundwater. I have reviewed numerous remedial plans and proposed remedies
  pertaining to landfills containing industrial, commercial, and residential wastes. I have also
  served as a reviewer of toxicological profiles of hazardous substances for the Agency for Toxic
  Substances and Disease Registry (“ATSDR”).

          I have been a consultant in the field of environmental science and engineering for the past
  37 years. I founded K. W. Brown and Associates, Inc., and served as President from 1980 until
  1991. I was employed as a Principal Consultant with K. W. Brown Environmental Services from
  1991 until 1999 and with SI Group, LP from 2000 to 2008. From January 2009 through March
  2011, I was employed as a Principal Consultant with TTI Environmental Consultants. I have
  been employed as an independent consultant since April 2011.

          Through these years of consulting, numerous private and public clients have employed
  me. My expertise has been utilized for site assessments, data review and interpretation, waste
  management activities, the study of fate and transport of contaminants in the environment, the
  movement of contaminants in groundwater, the design and implementation of remedial actions
  for recalcitrant organic compounds, and other related environmental matters. I have also
  reviewed and interpreted a large quantity of analytical data for soils and groundwater, as well as
  borings logs, field logs, technical reports, and other information related to the environmental
  conditions of a site.

         As a consultant, I have evaluated or analyzed numerous waste disposal and landfill sites
  including the following: Laurel Park Landfill, Beacon Heights Landfill, Lone Pine Landfill, Ft.


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  Bend County Landfill, Oak Grove Landfill, East Bethel Landfill, Dickson County Landfill, and
  Sinton Landfill, among others. In addition, I have also worked on the following Superfund sites:
  Hardage Criner, Love Canal Landfill, Lowrey Landfill, Montana Pole, National Gypsum, Riley
  Tar, Sharon Steel, Helen Kramer Landfill, Sikes’ Pits, Metal Bank of America, Tar Creek,
  Babylon Landfill, and the West Dallas Lead Site.

         1.3     Prior Expert Testimony

           I have qualified and given testimony as an expert witness in civil cases in federal and
  state courts, regulatory hearings, and enforcement actions pertaining to hazardous wastes,
  organic chemical contamination, and the fate and transport of organic chemicals and other
  contaminants in environmental media, as well as exposure and risk, among other issues. I have
  offered opinions related to these topics at several Superfund sites. A list of cases in which I have
  testified as an expert at trial or by deposition since January 1, 2013 is presented in Attachment 3.

         1.4     Compensation

         I am being compensated at customary rates for work on this case. My hourly rate of
  compensation is $300 per hour for non-testimony time and $350 per hour for testimony time.
  My compensation in no way depends on the outcome of this litigation or the substance of my
  opinions.

         1.5     Exhibits and Reservations of Rights

           I may use as exhibits any document contained or referred to in this report, or supplements
  to this report, including but not limited to the appendices; any document needed as foundation
  for or illustration of my testimony; any document listed as an exhibit or provided in discovery by
  the Defendant or any other party; any document considered by any the Defendant’s or any other
  party’s experts; or any document needed to respond to or to rebut testimony on behalf of the
  Defendants or any other party. I reserve the right to provide lists of exhibits as permitted by the
  Minnesota Rules of Civil Procedure and the Scheduling Orders in this case.

          I further reserve the right to supplement or modify opinions expressed herein upon which
  I expect to testify, to add to or modify the bases and reasons for my opinions and supplement the
  exhibits that I may use at trial for any of the following reasons: (1) to respond to expert reports,
  including but not limited to rebuttal reports, submitted by the Defendant or any other party; (2) to
  respond to new information; (3) to respond to information obtained in discovery, including but
  not limited to depositions and interviews; and (4) as permitted by Minnesota Rules of Civil
  Procedure.

         1.6     Documents and Other Information Considered

          This report was developed as a result of discovery of information to which I have been
  provided access or which I have discovered independently. The opinions I have formed in this
  case are based on my education and experience described in Section 1.2, as well as documents
  and other materials listed in Attachment 1.




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   2. 3M’S FLUOROCHEMICAL PRODUCTION AND DISPOSAL

          2.1     Properties of PFCs

          Perfluorocarbon compounds, or PFCs, are any chemical in a family of synthetic
   chemicals that contains a perfluorinated (fully fluorinated) carbon chain consisting of 1 to 16
   carbon atoms with a functional end group consisting of at least one double bond.

          PFCs do not occur in nature and were developed as a part of the research associated with
   the Manhattan Project during World War II. PFCs have similar molecular structure as their
   corresponding hydrocarbon compounds, except with complete replacement of all hydrogen
   atoms in the hydrocarbon molecule with fluorine. The principal compounds at issue in this suit,
   perfluorooctane sulfonate (PFOS), perfluorooctanoic acid (PFOA), and perfluorobutanoic acid
   (PFBA), are PFCs.

           From my review of the scientific literature, it is my understanding that many important
   properties of PFCs were known as a result of the early work by Dr. Joseph Simons, a research
   fellow at Pennsylvania State University, and numerous 3M researchers. Shortly after the public
   disclosure of the electrochemical fluorination process during the 114th annual meeting of the
   American Chemical Society on September 15, 1948, 3M purchased patents from Dr. Simons
   related to the manufacture of perfluorochemicals (Simons, 1950a). 3M also employed several
   former graduate students of Dr. Simons to prepare new compounds and develop new markets for
   these perfluorochemicals (Simons, 1948; Simons, 1949; Brice, 1950; Guenthner and Vietor,
   1962; Bryce, 1964; Pearlson, 1968). 1

            Reactivity. Early patent applications and the scientific literature document that the
   chemical stability of PFCs was well understood before commercial production of PFCs began at
   the 3M Cottage Grove facility. Dr. Simons’ 1948 patent application, for example, noted that
   PFCs were “non-corrosive, and of little chemical reactivity.” PFCs “do not react with any of the
   metals at ordinary temperatures and react only with the more chemically reactive metals such as
   sodium, at elevated temperatures” (Simons, 1948). Another patent application filed the
   following year explained that PFCs do not react with other compounds or reagents due to the
   sheath of fluorine atoms surrounding the carbon skeleton of the molecule (Simons, 1949). These
   highly stable PFCs were developed to provide non-reactive solid and liquid chemicals with low
   surface tensions that could withstand high temperatures and would not react with highly reactive
   materials such as oxygen (Simons, 1949; Bryce, 1964). It is the stability of the carbon-to-
   fluorine bonds in the PFCs and the lack of attraction for other chemical species that prevent the
   PFCs from undergoing further chemical reactions or degrading under natural processes in the
   environment (Simons, 1950b). As Bryce recognized, “[t]his chemical stability also extends itself
   to all types of biological processes; there are no known biological organisms that are able to
   attack the carbon-fluorine bond in a fluorocarbon” (Bryce, 1964).

          3M was well aware of these chemical properties of PFCs because T.J. Brice and H.G.
   Bryce were 3M employees as well as former graduate students under Joseph Simons, and 3M

   1
          All names given in italics are either current or former 3M employees. The discoveries
   and information developed by these individuals was thus known to 3M.


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   acquired many of Simons’ patents related to fluorochemicals (3M, 2007 [3MA02527087]).
   3M’s knowledge of this and other basic properties was demonstrated by, among many other
   things, a 1949 3M sales brochure, which described the chemical and physical properties of
   PFBA, and a 1963 3M sales brochure on its fluorochemical surfactants, which touted their
   chemical and thermal stability (3M, 1949 [3M_MN03109500]; 3M, 1963 [3MA01201629]).

           Thermal Stability. The thermal stability of PFCs was understood prior to the start of
   commercial production of PFCs by 3M. In 1947, two researchers from Columbia reported that
   fluorocarbon compounds did not degrade at temperatures as high as 500º C (932ºF), even in the
   presence of catalytic materials (Grosse and Cady, 1947). Simons’ patent application posited that
   PFCs were thermally stable at temperatures up to 750° C (1382º F) (Simons, 1948; Simons et al.,
   1949). These PFCs were non-reactive and thermally stable due to the strength and stability of
   the carbon-to-fluorine bonds (Simons, 1949; Brice, 1950). Additional research by 3M expanded
   the understanding of the thermal stability of these perfluorocarbon compounds. As Bryce
   explained in his 1964 work, fracture of the carbon-to-carbon bonds in the PFCs may take place at
   temperatures from 600 to 1000º C (1112 to 1832º F) depending on the carbon chain length; the
   carbon-to-fluorine bond is much stronger and can require temperatures of 1200° C (2192º F) to
   break (Bryce, 1964).

           Solubility. As discussed further below, 3M was capable of producing a variety of PFCs
   at its Cottage Grove facility. From my review of 3M documents, it is my understanding that
   many of the PFCs produced by 3M, including PFOS, PFOA, and PFBA, in addition to the salts
   of PFOS, PFOA, and PFBA, would readily dissolve in water. In 3M’s 1949 sales brochure, they
   advertised that PFBA was miscible in water at 20º C. The same brochure indicated that the salts
   of PFBA are highly soluble, ranging from 42.2 grams to 493 grams per 100 grams of water (3M,
   1949 [3M_MN03109500]). In 1962, testing of PFOS-based surfactants indicated that these
   compounds were very soluble (Guenthner and Vietor, 1962). A 1963 brochure on 3M’s
   fluorochemical surfactants confirmed that 3M was aware that many of its fluorochemical
   surfactants, including PFOS, were soluble in water. That brochure, for example, indicated that
   the solubility of FC-95 (the potassium salt of PFOS) in water was 2 grams of FC-95 per liter of
   water (3M, 1963 [3MA01201629]). More broadly, numerous PFCs manufactured by 3M,
   including fluorocarbon carboxylic acids and fluorocarbon sulfonic acids such as PFOA and
   PFOS, dissolved when mixed with water (Bryce, 1964). 3M knew by 1964 that when dissolved,
   fluorocarbon carboxylic acids and fluorocarbon sulfonic acids dissociated 2 to form highly stable
   perfluorocarboxylate and perfluorosulfonate ions (Bryce, 1964). Later studies by 3M on the
   adsorption and mobility of FC-95 and FC-143 (the ammonium salt of PFOA) in soils indicated
   very high solubilities and very high mobilities in soils for both compounds (3M, 1978
   [3MA10036129]).

            Resistance to Degradation. Because of their very limited reactivity and the high thermal
   stability of the perfluorinated carbon chain, PFCs do not degrade in the environment (Brice,
   1950). The breaking of a carbon-to-fluorine bond required the input of large amounts of energy

   2
          By dissolving in water, the chemical compounds will dissociate by separating into their
   component ions (charged particles) in the solution. For acids like PFOA, the ions will include
   perfluorooctanoate and the hydrogen ion. The released hydrogen ion will increase the acidity
   and decrease the pH of the solution.


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   to overcome the attraction of carbon for fluorine. Chemical and physical processes occurring in
   nature lack sufficient energy to break carbon–to-fluorine bonds and without this input of energy,
   the carbon-to-fluorine bonds remain intact. “This chemical stability also extends itself to all
   types of biological processes; there are no known biological organisms that are able to attack the
   carbon-fluorine bond in a fluorocarbon” (Bryce, 1964). From the chemical stability of the
   carbon-to-fluorine bond, 3M knew that the PFCs were immune to chemical and biological
   degradation in soils and groundwater. A 1971 internal memo by H.G. Bryce stated that “the
   thesis that there is ‘no natural sink’ for fluorocarbons obviously demands some attention,”
   meaning that PFCs released to the environment will never degrade (3M, 1971 [3MA02496587]).

            In natural environments, PFCs do not undergo degradation of the carbon-to-fluorine
   bonds of the perfluorinated carbon chain. However, the non-fluorinated, functional group of the
   PFCs will partially degrade, yielding recalcitrant PFCs such as PFOS, PFOA, and PFBA, which
   resist further degradation. Basic weathering and degradation reactions, such as hydrolysis, 3
   occur at the non-fluorinated, functional group end of the molecule, producing the original
   fluorocarbon compound (Pearlson, 1950)—such as PFOS, PFOA, or PFBA—from which other
   PFCs were made (3M, 1979 [3M_MN00000151]). In this manner, derivative compounds
   containing the C7F15– group were converted to PFOA and derivative compounds containing the
   C8F17SO2– group reverted to PFOS (Bryce, 1964). In sum, 3M knew that the perfluorinated
   components of PFCs released to the environment would not degrade the perfluorinated carbon
   structure, but would remain intact (Brice, 1950).

            Later 3M research on the biodegradation of its fluorochemical compounds confirmed
   these results (Bacon, 2017 (pp. 40-48)). A 1976 study, for example, observed no biodegradation
   of FC-95, the potassium salt of PFOS. 3M judged the result of the study “unsurprising” in light
   of the fact that “[b]iodegradation of FC 95 is improbable because it is completely fluorinated”
   (3M, 1976 [3MA01252037]). A 3M report from 1978 likewise summarized a “quite extensive”
   set of studies of the biodegradability of FM-3422, a compound manufactured from PFOS, and
   concluded that “FM 3422 is likely to persist in the environment for extended periods unaltered
   by metabolic attack” (3M, 1978 3MA00717615]). Studies of FC-95 and FC-143 (the ammonium
   salt of PFOA) conducted in 1978 likewise concluded that those compounds were “likely to
   persist in the environment for extended periods unaltered by microbial catabolism” (3M, 1978
   [3MA10054929]).




   3
           Typically, hydrolysis is a chemical process where a molecule of water is substituted or
   added at the functional group of the PFC derivative. The addition of water cleaves the non-
   fluorinated portion of the molecule from the fluorinated carbon tail.


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          2.2     3M’s Production of PFOS, PFOA, PFBA, and Related Compounds

            The Electrochemical Fluorination Process. 3M used the Simons electrochemical
   fluorination (ECF) process to produce PFCs (Simons, 1950a; 3M, 2007 [3MA02527087]). It is
   my understanding based on my independent review of the available documents that the ECF
   process consisted of a combination of an electrochemical cell with condensers, a sodium
   hydroxide reactor and driers for the removal of excess hydrogen fluoride and outlets from the
   cell for the collection of the liquid, fluorinated carbon-containing product mixtures (Simons,
   1950a; Simons, 1950b).

            The ECF process created mixtures of a number of fluorinated carbon compounds. This
   mixture of product compounds required further separation by a process called fractional
   distillation, 4 which separated the mixture into distinct “fractions,” each with a distinct boiling
   point range (Simons et al., 1949). The segregated fractions of fluorochemical products were
   collected for direct use in 3M product mixtures, used as building blocks for the production of
   other fluorinated compounds, or discarded as waste (Dworak, 2012 (p. 190); 3M, 2000
   [3MA00001260]).

           Production of Various PFCs. By upscaling the electrochemical fluorination process
   developed by Dr. Simons, the production of fluorocarbon compounds became commercially
   feasible. Simons and Brice wrote that “[t]he first commercial plant for the production of
   fluorocarbons and their derivatives by the electrochemical process was put into operation near
   Hastings, Minnesota, in October 1951” (Simons and Brice, 1954).

            From this point, 3M began its commercial production of fluorocarbons at its Cottage
   Grove facility near Hastings, Minnesota. In its early years, it operated on a relatively modest
   scale, producing some 250 pounds of fluorocarbon product per day in 1954 (Simons and Brice,
   1954). 3M quickly expanded its production to include an entire facility devoted to the
   production of PFCs within its Chemolite plant. The electrochemical fluorination process for the
   manufacture of PFOA remained essentially the same at 3M’s Cottage Grove plant from the first
   initial batch produced in the early 1950s through the phase out of production in 2002 (Dworak,
   2012 (p. 35)).

           3M used the ECF process to develop a wide variety of PFCs. Different hydrocarbon
   compounds containing elements other than carbon or hydrogen were sometimes used as the
   “feed stock,” or starting materials, to develop PFCs (3M, 2000 [3MA00001260]). Some of these
   additional hydrocarbon starting materials retained the reactive properties of the original
   hydrocarbon feed stock after fluorination (Simons, 1949; Simons et al., 1949). 5 This work was

   4
           Fractional distillation is a chemical separation process where a mixture of different
   compounds are separated based on the boiling points of the individual compounds in the mixture.
   This is achieved by repeatedly heating and boiling the mixture of compounds; because the
   various compounds in the mixture have different boiling points, they physically separate during
   this heating process.
   5
           In hydrocarbon compounds, an atom other than carbon attached in the skeletal structure is
   called a heteroatom. Functional groups are groups of two or more, non-carbon containing atoms.



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   based in part on the research of Dr. Simons at Penn State, demonstrating that organic acids and
   sulfonyl halides, when used as the starting materials for the fluorination process, produced
   perfluorinated compounds while retaining their organic functional groups (Simons et al., 1949;
   Pearlson, 1950; Simons and Brice, 1954). 6 This technique was used by 3M to manufacture
   PFOS, PFOA, PFBA, and related compounds (Simons, 1949; Simons, 1950a; Scholberg and
   Bryce, 1955; Brice and Trott, 1956).




   The presence of a heteroatom or a functional group within the hydrocarbon molecule imparts
   different properties to the substance.
   6
         Organic acids and sulfonyl halides are examples of functional groups that remain
   unchanged in the chemical structure upon fluorination of the starting materials.


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          2.3      Composition of 3M’s PFC-Containing Waste Streams

          From the beginning of the manufacture of PFCs, anyone with a knowledge of the
   chemistry and the manufacturing processes would have known that the wastes produced from the
   production of PFCs contained residual perfluorochemicals (3M, 1983 [3M_MN02571703]). 3M
   employed chemists and engineers who specialized in the production and product development of
   PFCs including T.J. Brice, H.G. Bryce, P.W. Trott, R.A. Guenthner, M.L. Vietor, H.M.
   Scholberg, R.I. Coon, D.G. Weiblen and W.H. Pearlson, among others. These chemists and
   engineers were highly trained, specializing in the manufacturing and production steps needed to
   separate and isolate the individual products. Therefore, 3M knew that the production wastes
   contained PFCs. These wastes included processing wastes, such as acid tars and resinous
   materials, fractionation wastes, waste solvents, solid materials, and off-specification products
   containing PFCs (3M, 1983 [3M_MN02571703]; 3M, 2000 [3MA00001260]; 3M, 1993
   [3MA00206150]).

          Varieties of PFC-Containing Wastes

          During most of the period considered by this report, 3M did not classify its wastes in
   terms of their perfluorochemical content. In the 1950s and 1960s, 3M classified its wastes using
   rudimentary categories such as acid tars; dry scrap, such as paper, pallets, production scrap, and
   cardboard; wet scrap, such as liquid and semi-solid mixtures and materials contaminated with
   solvents, resins, waste solvents, and nonpumpable residue (3M, 1963 [3MA00456368]; 3M,
   1980 [3MA01248573]). As 3M itself has explained: “The manufacturing process for sulfonated
   perfluorochemicals is complicated. There are more than 600 intermediate manufacturing steps
   associated with the production of POSF and POSF-based products. This translates into hundreds
   of process steps that require venting or that generate wastewater or solid waste” (3M, 2000
   [3MA00045043]). POSF is the raw intermediate used to make PFOS (3M, 2000
   [3MA00001260]).

          By the late 1960’s, 3M wastes were separated into three broad categories, namely dry
   scrap wastes, wet scrap wastes, and extra hazardous wastes (Lewis et al., 1976). Hazardous
   wastes originating from 3M operations would have included dirty solvents from coating
   operations, mother liquors from chemical reactions, spent cleaning solutions, reject products, and
   nonmarketable items, as well as other wastes (Van Noordwyk and Santoro, 1978).

          It is my understanding from my review of 3M documents that wastes containing PFCs
   from the perfluorochemical manufacturing processes included the following, among others.
   Furthermore, I concur with the waste streams identified in Dr. Andrews report.

          •     hydrofluoric acid tars, sometimes known as HF tars or acid tars, that resulted from
                the operation of the electrochemical cell;

          •     fractionation bottoms, or unwanted perfluorochemical by-products or residuals
                separated from the desired product during the fractionation step of the manufacturing
                process;




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          •   cleaning and process wastes resulting from the cleaning of equipment used in the
              manufacturing process and from numerous other steps of the manufacturing process;

          •   laboratory and pilot-scale testing wastes including waste chemicals, spent solvents
              and other solid wastes contaminated with fluorocarbons;

          •   fluorochemical inerts, low boiling point by-products that were removed during the
              fluorination and distillation processes. Fluorochemical inerts are composed of short
              perfluorinated or partially-fluorinated carbons chains, either with or without a
              functional group, and other related by-products;

          •   wastewater treatment plant sludge, including solid waste materials, which settled to
              the bottom of the wastewater treatment pond (until 1962) or wastewater treatment
              plant settlement ponds (after 1962); and

          •   incinerator ash and incinerator wastewater sludge produced once the incinerator
              built at the Cottage Grove facility began operation in 1971.

          3M’s Knowledge

           When assembling its research and production team, 3M hired Ph.D.-level scientists and
   engineers with hands-on knowledge in the manufacture of fluorochemical compounds. This
   team worked regularly to optimize the ECF process and improve the efficiency of the
   stabilization and/or separation of the finished products, as well as designing and synthesizing
   new materials for additional markets. Because 3M understood the chemistry and engineering
   underlying electrochemical fluorination and other elements of its manufacturing processes, 3M
   knew or should have known that the wastes described in this section contained PFCs.

           Acid tars. The early patent documents, prepared by Dr. Joseph Simons, disclosed that the
   formation of acidic tars, resinous residuals containing fluorochemicals, were produced by the
   ECF process (Simons, 1948; Simons, 1950b). 3M was aware that these tars—often called “acid
   tars” or “HF tars”—contained PFCs even before it began producing PFCs on a commercial scale
   (3M, 1983 [3M_MN02571703]; 3M, 2000 [3MA00001260]). Testing conducted in 1963
   attempted to increase the recovery of hydrofluoric acid and the recovery of PFC product
   intermediates by dissolving the residual tars in fuming sulfuric acid, but proved unsuccessful
   (3M, 1974 [3MA01201775]). The very fact that 3M was trying to recover PFCs from the acid
   tars clearly demonstrated that they knew that the tars contained PFCs.

           Fractionation bottoms. Research results by Dr. Joseph Simons on the ECF process also
   disclosed that the fluorination process produced a mixture of fluorinated products, which must be
   separated rather than one specific product (Simons, 1949b; Simons, 1950b). The mixture of
   products from the electrochemical fluorination process occurred as fluorocarbon compounds of
   differing carbon chain lengths including fully saturated fluorocarbons and other compounds with
   incomplete replacement of hydrogen by fluorine (Simons and Brice, 1954). Wastes from these
   processing steps contained residual PFCs. (3M, 1983 [3M_MN 02571703]; 3M, 2000
   [3MA00001260]). A 1981 3M memo indicates that 3M sought to recover additional



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   fluorocarbons from these wastes, confirming that 3M knew that they contained PFCs (3M, 1981
   [3MA00082742]; Dworak, 2012 (p. 172)).

           Cleaning wastes and process wastewaters. 3M knew or should have known that
   cleaning wastes and process wastewaters contained PFCs. Due to the need to fractionate the raw
   products from the electrochemical fluorination steps and the stabilization/workup needed for the
   production of specialized perfluorochemicals, water and organic solvents were often used to
   clean vessels used in the production steps. In his deposition, Mr. Dworak stated, “any solution
   used to boil out the cell bodies went down the sewer to wastewater treatment and the water used
   from the pressure blasting went down the sewer to wastewater treatment” as well (Dworak, 2012
   (p. 104)). The washwater and these solvents, containing PFCs, were typically drained to the
   chemical sewer. Likewise, laboratory and pilot-scale testing wastes would have included PFCs as
   components of their waste streams. These cleaning and processing wastes also contained PFCs
   (3M, 1983 [3M_MN02571703]; Dworak, 2012 (pp. 104-07, 123-24, 167, 184-85). Given 3M’s
   knowledge of the production processes used to manufacture PFCs, 3M knew or should have
   known that the cleaning wastes and process wastewaters resulting from the PFC manufacturing
   process would contain PFCs.

          Fluorochemical inerts. 3M knew or should have known that fluorochemical inerts
   contained PFCs. Incompletely fluorinated byproducts were typically collected by 3M from the
   ECF process for further use as solvents and carriers in subsequent batch processes or as starting
   materials in the ECF process (3M, 2000 [3MA00001260]). 3M knew or should have known that
   small amounts of fluorochemical inerts would have been present in the acid tars and distillation
   bottoms as wastes or would have been partially degraded in the stabilization processes and
   discharged to the chemical sewer (3M, 2000 [3MA00001260]).

           Wastewater treatment plant sludge. PFC-containing wastes were discharged into the
   chemical sewer from Building 15 at Cottage Grove, where most of the PFCs were manufactured.
   (Dworak, 2012 (pp. 104-107, 123-124)). From 1971 to 1979, the wastewater treatment plant
   sludge included solids settled from the incinerator wastewater as well (3M, 1979
   [3MA00722981]). Certain PFCs, such as FM-3422 (a PFC made from PFOS) were determined
   to have relatively large octanol/water partition coefficients and would have preferentially
   absorbed to the organic solids (3M, 1979 [3M_MN00000151]). Perfluorooctane sulfonyl
   fluoride (POSF), the precursor to PFOS and its salts, would be “adsorbed by waste treatment
   sludge and eventually land applied with this sludge” (3M, 1983 [3M_MN02571703, -706]).
   PFCs with strong affinity for the solid materials would have collected in the sludge of the
   wastewater pond prior to 1962. Even PFCs with relatively low octanol/water partition
   coefficients would adsorb to the solids in the wastewater treatment plant system to some degree.
   After completion of the wastewater treatment system, these partitioning PFCs would have
   collected in the aeration basins of the wastewater treatment system as wastewater treatment plant
   sludge (3M, 1966 [3MA00456431]; 3M, 1979 [3M_MN00000151, -160]). In the cases of FC-95
   and FC-143, 3M had sufficient information regarding the fate and mobility for each PFC to
   prepare a schematic diagram showing the partitioning of the compound into the different
   segments of the environment, namely air, water, and the soil, including partitioning into the solid
   phase as sludge (3M, 1979 [3M_MN00000745, -748-749]; 3M, 1979 [3MA01410327, -331-
   334]).



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           Incinerator ash and sludge. 3M knew from the early work of Dr. Joseph Simons that
   PFCs were thermally stable and resistant to degradation at high temperatures. Simons, 1950a. In
   his review of perfluorinated compounds, H.G. Bryce presented that the fluorine-to-carbon bond
   is very stable and can only be broken by heating the PFCs to very high temperatures (Bryce,
   1964). For example, the compound CF4 was found to be completely stable at temperatures in
   excess of 1200° C (2192º F) (Bryce, 1964). Dr. Bryce was a former graduate student of Joseph
   Simons and a 3M employee, therefore 3M knew that PFCs would not be completely decomposed
   at temperatures below that level.

           With these benchmarks in mind, 3M incinerated PFC-containing wastes at kiln
   temperatures as low as 649º C (1100º F) (Van Noordwyk and Santoro, 1978; Santoro, 2017 (pp.
   36-37); Weum, 2017 (p. 111)). 3M thus knew or should have known that PFCs would not have
   been completely decomposed in the incinerator and products of incomplete combustion would
   have remained in the incinerator ash and the incinerator wastewater sludge (3M, 1999
   [3MA01412204]). Indeed, analysis from Eric Reiner in 2000 indicated that fluorochemicals “are
   more likely to be incompletely burned than most other organic compounds,” and “[d]egradation
   of the organofluorine compound could be incomplete if the incinerator doesn’t have a high
   enough temperature (e.g. perhaps > 1700º F [925º C]” (3M, 1996 [3M_MN04747296, -297]). A
   1999 3M white paper on the same subject concluded that “[i]n order to ensure complete
   destruction, incineration experts at 3M suggest residence times in the combustion chamber
   greater than 1 second and at a temperature 1700º F (926º C) or greater. If combustion chamber
   temperatures and retention times drop below certain levels, destruction efficiency can drop off
   rapidly.”

           3M’s own experience with incineration confirmed these conclusions. In March 1984, 3M
   conducted a trial test burn of the contaminated materials from the Oakdale disposal site. The
   waste materials consisting of contaminated soils and debris, were fed into the Chemolite
   incinerator at 3M’s Cottage Grove facility to determine if the incinerator was able to effectively
   burn the residual waste (3M, 1984 [3MA00382051]). In a June 27, 1984 internal
   correspondence regarding the Oakdale incinerator ash oil and grease extracts, Jim Gagnon stated
   that one sample of the incinerator ash extracts “had strong absorptions indicative of a
   fluorochemical. Insufficient material was available for identification of the fluorochemical”
   (3M, 1984 [3MA00300324]). Analysis of these ash extract samples provided reasonable
   suspicion for the presence of PFCs in the incinerator ash. Based on this suspicion, 3M should
   have conducted a more thorough investigation of the incinerator ash, but the 3M documents I
   have reviewed do not indicate that this was ever done (Weum, 2017 (p. 114)).




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          2.4      3M’s Disposal of PFC-Containing Wastes

           The wastes produced by PFC-manufacturing processes were disposed of in numerous
   locations over the years. I understand from my review of 3M documents that waste was
   disposed of at Cottage Grove, Oakdale, Woodbury, and the Washington County Landfill, as
   described below, and I concur with the disposal history relating to each site as set forth in the
   report of Dr. Andrews.

          Cottage Grove. 3M disposed of PFC-containing wastes at its Cottage Grove facility
   beginning no later than 1951, according to remedial investigation reports by a 3M contractor and
   other 3M documents:

          •     Various unspecified fluorochemical wastes were burned or landfilled at the site until
                1956 (3M, 1981 [3MA00364080]).

          •     Skimmings from the former wastewater treatment pond were disposed of in area D-5
                for at least part of the period from 1948 to 1962 (3M, 1986 [3MA00364082, -096-
                98]).

          •     Wastewater from the PFC-manufacturing process flowed via the chemical sewers into
                the former 3M wastewater treatment pond from at least 1951 to 1962 and afterwards
                to the 3M wastewater treatment plant (3M, 1986 [3MA00364082, -099]; 3M, 1958
                [3MA00456234, -239]; 3M, 2004 [3MA00722658, -689]).

          •     From 1963 to approximately 1973, acid tars from the electrochemical fluorination
                process were disposed of in area D-1 (3M, 1986 [3MA00364082, -096]; 3M
                [3MA01201775]; 3M, 2004 [3MA00722658, -684]; Santoro, 2017 (pp. 31-32)).

          •     Sludges from 3M’s wastewater treatment plant were disposed of in areas D-2 and D-9
                from at least 1964 to 1973 and in area D-6 from 1978 to 1980 (3M,
                1986[3MA00364082, -096-97]; 3M, 2007 [3M_MN01483002, -016]; 3M, 1986
                [3MA00294816, -818]).

          •     Incinerator ash was disposed of in area D-6 from 1978 to 1979 (3M. 1978
                [3M_MN00052172]; 3M [3MA00276845, -848]).

          With the exception of area D-1, which was believed to have been concrete-lined, and area
   D-6, which was partially bentonite-lined, these disposal areas were not lined or otherwise
   designed to prevent the infiltration of pollutants into the soil (3M, 1986 [3MA00364082, -096];
   3M [3MA00281033, -035]; 3M, 2004 [3MA00722658, -684]). Even though these two waste
   disposal areas were supposedly lined, the concrete and bentonite liners were porous materials.
   The liners had limited conductivity, but the conductivity of liquids through the liners was not
   zero. Small volumes of water with these dissolved materials would have penetrated the liner
   materials into the underlying soils.

          Elevated levels of PFOS. PFOA, and PFBA were detected at a number of locations at
   Cottage Grove, including areas D-1, D-2, D-5, D-8, D-9, the area once occupied by the former



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   wastewater treatment pond, and the East Cove area, where effluent from the former wastewater
   treatment pond (1955-62) and the current wastewater treatment plant (1962-present) discharged
   into the Mississippi River (Weston, 2007 [3M_MN01483002] (pp. 4-5 to 4-10, 5-3 to 5-6)).

           Oakdale. 3M disposed of acid tars and probably a number of other PFC-containing
   wastes at the Oakdale disposal site from 1956 to 1960 (3M, 1980 [3MA01248573]). Elevated
   levels of PFCs were found near the waste disposal trenches and with buried drums at this
   disposal site. There is no indication that the waste disposal areas were lined or otherwise
   designed to prevent infiltration of contaminants into the soil and groundwater (3M, 2011
   [3M_MN01362671, -685]; Weston, 2007 [3M_MN04969186] (pp. 4-1 to 5-2); Weston, 2008
   [3M_MN00116060] (pp. 2-9 to 3-1)).

           Woodbury. 3M disposed of acid tars from its Cottage Grove facility at the Woodbury
   site from 1960 to 1963. From 1960 to 1966, 3M disposed of various industrial wastes at the
   Woodbury site referred to by 3M as “wet scrap.” These wastes contained PFCs. Although some
   trenches at the Woodbury disposal site were lined beginning in 1962, observers noted that the
   clay liners did not prevent the seepage of wastes into the soil. Elevated levels of PFOS, PFOA,
   and PFBA were detected at the Woodbury site (3M, 2010 [3M_MN00826383]; Weston, 2008
   [STATE_07240271] (pp. 4-10 to 4-14); Kiester, 2017 (pp. 26-27)).

           Washington County Landfill. 3M disposed of wastes including wastewater treatment
   plant sludge and incinerator ash from 1971 to 1974, at the Washington County Landfill, which
   was a former sand and gravel quarry. There is no indication that the disposal locations were
   lined or otherwise designed to constrain the migration of PFCs into the soil and groundwater.
   Elevated levels of PFOS, PFOA, and PFBA have been detected at the site (MPCA, 2008
   [CHARTIS00009805]).




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          2.5      Bioaccumulation of PFCs

           3M knew and was well aware that PFCs accumulated in humans and animals since the
   mid-1950s. Early research with PFC derivative compounds demonstrated a strong association
   between the perfluorocarbon carboxylic acids and proteins. Specifically, PFOA was found to
   bind and coagulate serum proteins to precipitate these biological compounds from solution
   (Klevens and Ellenbogen, 1954). Essentially, this means that PFCs would precipitate as solids in
   the blood and remain in the body, and would likely be collected in the liver.

          Further research revealed that longer PFCs would cause greater precipitation of proteins.
   As described in further research by Klevens, the formation of complexes between PFCs with
   proteins and polypeptides suggested the interaction between polar groups on the proteins and the
   PFC compound. As the length of the fluorocarbon chain increased, the greater the activity of the
   PFC as a protein coagulant (Klevens, 1955). Accordingly, longer-chain PFCs—such as PFOA
   and PFOS—would be expected to cause greater precipitation of proteins.

           Additional work by Nordby and Luck at Stanford University, using PFCs supplied by
   3M, demonstrated that human blood proteins and other proteins of the human body were bound
   to and precipitated by PFCs. These precipitated proteins, which when bound to the PFCs, were
   filtered from the bloodstream by the kidneys and liver of the individual. Once removed from the
   bloodstream, the precipitated proteins collected, particularly in the liver, where the PFCs
   accumulated (Nordby and Luck, 1956). 3M thus knew that PFCs accumulated in living
   organisms by 1956.

          By the early 1970s, clinical trials by Leland Clark and his coworkers at the Children’s
   Hospital Research Foundation found that the straight-chain PFCs were deposited in the liver and
   remained in the liver for the lifetime of the animal (Clark et al., 1973). As acknowledged in the
   research publications, the PFCs used in the above cited research were provided to the researchers
   by 3M. Since the research was published in the open scientific literature, and 3M provided the
   PFCs, 3M knew or should have known, the results of the research, namely, that PFCs
   accumulated in living organisms.

          3M’s own research in the mid- and late-1970s quantified the extent that various PFCs
   bioaccumulated in various animals, confirming 3M’s awareness of this basic fact about PFCs
   (Purdy, 2017 (rough tr. pp. 35-38)).

          •     In 1978, 3M researchers reported the uptake and accumulation FM-3422, a PFC
                compound that metabolizes and releases PFOS. The report concluded that FM-3422
                bioaccumulated in channel catfish, with bioconcentration factors in excess of 1,000
                for the brain and gastrointestinal tract (3M, 1978 [3MA00326803]).

          •     Similarly, a 1979 study, citing research in 1975 and 1977, indicated “that
                fluorochemicals can bioaccumulate in fish in a laboratory environment.” This report
                determined that fish caught in the Tennessee River near 3M’s Decatur, Alabama plant
                had detectable levels of fluorochemicals. 3M’s study concluded that the three
                fluorochemicals tested bioaccumulated in the gastrointestinal tract, reproductive
                system, and fat of channel catfish (3M, 1979 [3MA01409559]).


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          •   In a 1978 study, rhesus monkeys were fed subacute doses of FC-143 for 90 days. At
              the higher dosage levels, the monkeys were adversely affected with no survival in the
              highest test group and only limited survival in the second highest test group. In all test
              groups, both genders were found to accumulate FC-143 in the liver (3M, 1978
              [3M_MN02343997, -4000, -4001]).

          •   Similarly, in a 1978 feeding study with FC-95, rhesus monkeys were fed subacute
              doses for 90 days. After 90 days, all test animals survived except the subjects in the
              highest test group. In all test cases, FC-95 was found to accumulate in the liver of the
              test animals (3M, 1978 [3M_MN02343995, -996]).

           Beginning in 1976, 3M conducted blood testing of employees to ascertain the levels of
   PFCs in their workers’ blood (3M, 1977 [3M_MN00000479, -481]; 3M, 1977 [3MA10035028, -
   029]). Blood serum concentrations in the some of the earliest samples were characterized as
   high in comparison to a Red Cross plasma sample (3M, 1977 [3M_MN00000296]). Later
   samples that year identified plant personnel with up to 300 times normal levels of PFCs in blood
   (3M, 1977 [3M_MN00000479, -481]). By June 1976, a 3M analysis of previously exposed
   laboratory personnel “indicate[d] that organically based fluorine remains in the blood for an
   indefinite period.” (3M, 1977 [3MA10035028, -29]). Later testing and analysis led to the
   conclusion that many PFCs accumulated in humans with a half-life for elimination of four years
   or more (3M, 2002 [3M_MN02334814]).




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          2.6      Toxicity and Ecotoxicity of PFCs

           My independent review of the scientific literature and 3M’s internal studies indicated
   that, by the early 1960s, 3M knew that PFOS, PFOA, and PFBA pose a potential harm to human
   health and pose a significant threat to the environment.

            Early literature. A review of scientific literature demonstrated that 3M knew by the
   early 1960s that PFCs were harmful. In the years following World War II, the scientific
   literature documented that the replacement of hydrogen with fluorine in organic compounds
   would produce physiological and even toxic responses in tested subjects. As an example,
   fluoroacetate was lethal to dogs and lower animals even at very low doses (Peters, 1951;
   Saunders, 1961; Hodge et al., 1963). The toxic responses due to methylfluoroacetate and other
   fluorine-substituted compounds were the basis for much of the research on new chemical warfare
   agents at the Army Chemical Center during World War II (Hodge et al., 1963).

          By the early 1960s, the toxic effects of a number of fluorinated compounds were
   published in the scientific literature:

          •     Early research by B.C. Saunders demonstrated that a variety of fluorinated
                compounds exhibited toxic effects. As stated by Saunders, “certain compounds have
                greatly altered physiological action when hydrogen is replaced by fluorine.” Some of
                the adverse physiological effects noted from the testing of fluorocarbon compounds
                include anesthesia, depression, enzyme inhibition, and metabolic effects. Other
                pharmacological responses reported by Saunders include (1) a blood pressure effect;
                (2) a membrane transfer of tetraethylammonium derivatives; (3) a depression of
                adrenal ascorbic acid content; and (4) sympathetic nervous system blockage
                (Saunders, 1961).

          •     Writing in 1963, J.M. Hamilton concluded that fluorocarbons “ha[ve] been found to
                run a complete gamut of toxicity, ranging from entirely innocuous to the quickly
                lethal” (Hamilton, 1963).

          •     Similarly, in a 1963 discussion on the biological effects of organic fluorides, for
                example, Dr. H.C. Hodge explained, “[t]he toxic effects of the organic fluorine
                compounds are unlike those of inorganic fluoride; in general, the effects are not
                consequent on the liberation of the fluoride ion. … [A] variety of biological effects
                has been noted in experimental animals following acute administration of
                organofluorine compounds” (Hodge et al., 1963).

          •     Likewise, Taylor and Kent presented additional results in 1965 demonstrating that the
                substitution of fluorine in biomolecules can alter the function of those molecules,
                resulting in various—and in some cases, adverse—physiological effects. They wrote:
                “Interest has centered mainly around the fact that the hormonal activity of certain
                steroids, notably corticoids, is often enhanced by the replacement by fluorine of a
                hydrogen atom. … It is now clear, however, that a wider range of structural
                modifications, with retention or enhancement of biological activity, is possible than
                was previously considered to be the case” (Taylor and Kent, 1965).


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          From this early scientific literature, it is plainly evident that fluorocarbon compounds
   hold the potential to produce physiological, and even toxic responses in living organisms.

          3M research. Beginning in 1950, 3M’s research confirmed the toxicity of many PFCs:

          •   In 1950, 3M conducted acute toxicity studies of PFBA and concluded that a dose of
              804 mg/kg administered orally to rats was lethal to fifty percent of the tested animals
              by the end of one week. In the same test, LD50 values 7 of 435 mg/kg and 755 mg/kg,
              respectively, were determined for the intraperitoneal and intravenous injections of
              PFBA in mice after 24 hours (3M, 1950 [3MA02497530]).

          •   In 1954, an acute oral toxicity study of the potassium salt of PFOA on mice found a
              lethal dose 500 mg/kg. The sodium salt of PFOA was found to have an approximate
              LD50 value of 400 mg/kg when administered as a single dose to Sprague Dawley rats
              by feeding tube (3M, 1954 [3MA01828941]).

          •   In 1956, a feeding study of the lithium salt of PFOS was found to have a lethal
              concentration of 500 mg/kg when administered as a single dose to rats. A separate
              1956 study determined the “minimal lethal dosage” of 260 mg/kg for the intravenous
              injection of PFOA into mice (3M, 1954 [3MA01828941, -942]).

          •   In a 1963 sales brochure for its fluorochemical surfactants, 3M described FC-95 (the
              potassium salt of PFOS) as “moderately toxic,” with an acute toxicity of 450 mg/kg
              in rats. The brochure characterized other PFC surfactants as “slightly toxic to
              moderately toxic.” (3M, 1963 [3MA01201629]).

          •   In 1966, 3M contracted with Industrial Bio-Test Laboratories, Inc. for the study of the
              acute oral toxicity in albino rats for two of its PFOS derivative compounds. The two
              fluorochemicals, L-1931 and L-1932, were found to have acute LD50 values of 2600
              mg/kg and 900 mg/kg, respectively, following a single administered dose (3M, 1966
              [3MA01789595]; 3M, 1966 [3MA01789592]).

           After discovering PFCs in human blood in 1976, 3M launched a more detailed
   toxicological investigation. By 1978, 3M had conducted numerous studies that confirmed the
   toxicity of its PFCs, including PFOS and PFOA:

          •   A 90-day subacute toxicity study, conducted on Rhesus monkeys in 1978,
              determined that feeding FC-95 at a rate of 4.5 mg/kg/day caused all test
              animals to die within the first few days of the feeding study. In the highest
              two test groups, FC-95 was found to substantially bioaccumulate in the livers
              of test animals post-mortem (3M, 1978 [3M_MN02343995]; 3M, 1978
              [3MA10032058, -059-60]).



   7
           The quantity of a compound that is lethal to fifty percent of tested subjects is sometimes
   listed as the “LD50” for that compound.


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          •   A 90-day subacute toxicity study conducted on Rhesus monkeys in 1978,
              determined that feeding FC-143 (a salt of PFOA) resulted in death of all test
              subjects at the feeding rate of 100 mg/kg/day and the death of three out of four
              test subjects at a feeding rate of 30 mg/kg/day (3M, 1978
              [3M_MN02343997]).

          •   In a 90-day feeding study with FC-95 on rats, all test subjects died prior to
              termination of the study at dosage levels of 300 mg/kg/day and above (3M,
              1992 [3M_MN02252650]).

          •    In a Range-Finding and Definitive Teratology Study in rabbits, the study
              results indicated a 56% survival rate for female rabbits fed with 96% lithium
              perfluorooctanesulfonate, a salt of PFOS, at a rate of 4 mg/kg/day (3M, 1992
              [3MA01405447, -448]).

           By 1980, at least two tests concluded that certain PFCs were teratogenic, in that these
   PFCs produced malformations in developing rat fetuses (Butenhoff, 2017 (pp. 142-46)). FM-
   3422, when given to pregnant rats, caused changes to rat fetuses such as “cleft palate, blood in
   the kidney parenchyma and sternebrae malformations” (3M, 1981 [3MA00326722]). A salt of
   PFOS caused “[s]ignificant increases in external and visceral anomalies [in the high dose group]
   includ[ing] subcutaneous edema, cleft palate, and cryptorchism, as well as “delays in skeletal
   system ossification” (3M, 1983 [3M_MN02456142]; 3M, 2000 [3MB00023926]).

          Further studies confirmed that PFCs also posed a significant danger to aquatic life and the
   environment. Indeed, 3M even used the known physiological effects of fluorochemical
   compounds to develop new products from their PFC derivatives (Guenthner and Vietnor, 1962;
   Bryce, 1964). These new products included microbiocides, compounds that kill microbes,
   demonstrating obvious toxic effects on living organisms. As observed by Dr. Bryce (1964):
   “Fluorocarbon compounds have shown some interesting microbiocidal activity. As might be
   expected, the fluorocarbon portion of the molecule is physiologically inert; but by varying the
   functional group, some compounds have shown to have unusually high activity as bactericides
   and algaecides.”

            In 1970, a technical journal published a letter warning of the toxicity of 3M’s Light
   Water product. The author reported, based on rigorous testing, that the compound’s effects were
   “highly derogatory to marine life and the entire test program had to be abandoned to avoid severe
   local stream pollution.” At concentrations as low as 4 ppm, he added, the survival time of the
   fish tested was less than seven days. At all concentrations tested, the fish exhibited “erratic
   motion, loss of stability and other visibly odd effects” (3M, 1970 [3M_MN02267863]).

            3M’s own testing in the early 1970s confirmed the toxicity of FC-95, a salt of PFOS, to
   bluegill sunfish (1972), water flea and scud (1973), mummichog, grass shrimp, and fiddler crab
   (1974), algae (1974), and Atlantic oysters (1974) (3M, 2000 [3M_MN00436402]; 3M, 2000
   [3M_MN01656831]; 3M, 2000 [3M_MN00437323]; 3M, 2000 [3M_MN00436466]; 3M, 2000
   [3M_MN00437343]). Concerns about the environmental effects of fluorocarbons compelled 3M
   to initiate the Fate of Fluorochemicals project, which was designed to further understand the
   environmental impact of perfluorocarbon compounds. Subsequent studies established the toxic


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   effects of various PFCs on organisms such as the bluegill sunfish by 1979 (3M, 1979
   [3M_MN02854547]; 3M, 1979 [3M_MN02854512]; 3M, 1979 [3M_MN02255655, -657]).
   Additional studies in the late 1970s and early 1980s continued to confirm the impacts of PFCs on
   the environment (3M, 1979 [3M_MN00000151]; 3M, 1979 [3M_MN00000745]; 3M, 1979
   [3MA01410327]). 3M researchers analyzing these findings in 1983 noted that “[i]n the case of
   fluorochemicals, structure considerations and test results to date give rise to concern for
   environmental safety. . . . These concerns give rise to legitimate questions about the persistence,
   accumulation potential, and ecotoxicity of fluorochemicals in the environment” (3M, 1983
   [3MA10065465]).




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          2.7      3M’s Unique Awareness of the Environmental and Health Risks of PFCs

           Since the acquisition of the patents, 3M developed an extensive, proprietary body of
   knowledge about PFCs and their properties. It acquired the patents related to the electrochemical
   fluorination process from Dr. Simons, who subsequently collaborated with 3M employees such
   as T.J. Brice, H.G. Bryce, and W. H. Pearlson, and conducted additional research with 3M
   support (Simons et al., 1949).

          As demonstrated in the previous subsections of this report, 3M’s researchers conducted
   or commissioned a series of studies on the chemical properties, fate and transport, and
   toxicological properties of PFCs. Many of these studies were not shared in a timely manner with
   regulators or other interested parties or used to improve 3M’s handling of PFC-containing
   wastes. 3M’s understanding of PFCs eclipsed that of regulators and outside researchers. For
   example:

          •     Properties. The early work of Simons, Brice, and Bryce, among others, demonstrates
                3M’s early mastery of the properties of PFCs. Their publication of chapters in the
                multivolume Fluorine Chemistry and articles in Scientific American illustrate that
                they were at the forefront of this emerging area of research (Simons, 1949; Simons et
                al., 1949; Brice, 1950; Pearlson, 1950; Simons and Brice, 1954; Bryce, 1964).

          •     Manufacturing Process and Wastes. 3M used Simons’ electrochemical fluorination
                process to manufacture PFCs after acquiring the patent from Simons. 3M’s Cottage
                Grove facility, which began the commercial manufacture of PFCs in 1951, was the
                first of its kind (Simons and Brice, 1954). In addition, 3M employed numerous
                chemists and engineers who specialized in the development and production of PFCs.
                As a result, 3M had unique knowledge of the process and the wastes it produced, and
                regulators were dependent to a significant degree on 3M to disclose important facts
                about the manufacturing process and wastes.

          •     Bioaccumulation. 3M’s understanding of the properties of PFCs, together with their
                in-house research capabilities, gave 3M extensive insight into the question of whether
                and how PFCs bioaccumulated in living organisms. In addition, at least one of the
                researchers obtained the PFCs directly from 3M (Nordby and Luck, 1956).

          •     Risks to Human Health and the Environment. Here as well, 3M’s extensive
                resources and in-house research capabilities meant that 3M was better situated than
                regulators or outside researchers to understand the potentially harmful properties of
                PFCs. By the 1960s, 3M had accumulated lethal dose data on a variety of PFCs that
                were likely unknown to regulators and others. Following the environmental testing of
                its PFCs, 3M had a better grasp of the fate and mobility of PFCs than USEPA or
                Minnesota regulators (3M, 1979 [3M_MN00000151, -159-160]; 3M, 1979
                [3M_MN00000745, -752 -753]; 3M, 1979 [3MA01410327, -333 -336]).

          •     Analytical Capabilities. By the 1970s, 3M had the instrumentation and technical
                knowledge to rival any public universities and private laboratories. The Central
                Research Analytical division at 3M, and later the Environmental Laboratory division,


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              was constantly developing new and better techniques to quantify their products,
              including PFCs. For example, in 1976, Central Research Analytical isolated and
              characterized PFOA from the blood of a Chemolite supervisor (3M, 1977
              [3MA10035028, -029]). By November 1977, 3M had the capabilities to determine
              both total fluorine and inorganic fluorine in whole blood, plasma, serum, and liver
              samples down to concentrations of 0.01 parts per million (3M, 1977 [3MA00016495,
              -496]). As indicated in the 1978 report on organic fluorine in blood, 3M stated that
              its laboratory was one of “only three or four other laboratories in the world are
              currently able to measure organic fluorine in blood plasma or serum” (3M, 1978
              [3MA10067017, -019]). By 1979, 3M could quantify PFOS and PFOA at parts-per-
              billion levels (3M, 1979 [3MA00639014]). Similarly, its testing of wastewater from
              its Decatur facility in 1980 demonstrates that 3M had an early ability to detect and
              quantify certain PFCs, such as PFOA, in water at parts-per-billion levels (3M, 1980
              [3MA01406743, -744]).

          •   Geology and Hydrology. By the 1960s, 3M had a full geology department, which
              was quite unusual for a manufacturing company that produced consumable goods
              such as tape and sandpaper. Members of 3M’s geology department had a thorough
              knowledge of the movement of liquids through porous media, namely soils. From its
              geology department, 3M understood the infiltration and movement of water into the
              underlying soils as well as the movement of soluble components in their wastes
              disposed above these soils (3M, 1960 [3M_MN00000135, -137]). Further, the
              geology department members had the forethought to install test borings to ascertain
              the subsurface conditions and to recommend observation wells for reference prior to
              the disposal of wastes at the Woodbury site (3M, 1960 [3M_MN00001421, -422];
              3M, 1960 [3M_MN00000231, -232]). 3M also had, by the 1960s, a sanitary
              engineering department with extensive knowledge of the subject (Kiester, 2017 (pp.
              96-98)).

              Knowing that components of their waste would leach with the infiltrating water, 3M
              completed three soil borings, in 1962, to study the degree of penetration of its waste
              chemicals in the underlying soils and groundwater at the Woodbury site. Samples
              from the borings were analyzed for volatile organic compounds, including ethanol,
              heptane, acetone and methyl ethyl ketone, which had reached the level of the
              groundwater in one of the three borings (3M, 1962 [3M_MN00000220]). To my
              knowledge, this assessment of organic compounds in the groundwater below a
              disposal site was one of the first of its kind. It wasn’t until years later that scientific
              publications reported the presence of organic contaminants from landfills had
              contaminated the groundwater (Brown and Donnelly, 1988).

          More broadly, 3M had extensive experience in industrial waste disposal and its potential
   environmental effects. In 1970, President Nixon appointed Bert Cross, then Chief Executive
   Officer of 3M, as the chairman of the National Industrial Pollution Control Council. The
   Council was an advisory body comprised of “industrial leaders” established to provide a
   mechanism for “business and industry to actively and visibly support the drive to abate pollution
   from industrial sources.” The appointment of 3M’s chief executive to this important post
   recognized 3M’s advanced knowledge of how improper waste disposal practices could cause


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   lasting harm to the environment (Weekly Compilation of Presidential Documents, 1970 (p.
   502)). However, as discussed in Section 3.2 and elsewhere in this report, 3M failed to use this
   knowledge to avoid ongoing harmful waste disposal practices.




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   3. OPINIONS AND BASIS FOR OPINIONS

          3.1      3M’s Disposal of PFC-Containing Waste Contaminated the Groundwater

           By the early 1950s, 3M knew or should have known that pollutants from landfilled
   industrial wastes would reach the groundwater beneath its disposal sites and would pose a
   potential threat of harm to human health and the environment and harm the State’s
   natural resources. By the early 1960s, 3M knew that groundwater beneath at least two of
   its disposal sites was contaminated with industrial organic chemicals that were components
   of its waste.

          A number of technical investigations and public health crises in the early- to mid-
   twentieth century made clear that the disposal of wastes by landfilling could lead to the
   contamination of groundwater. 3M documents show that it was keenly aware of the potential for
   groundwater pollution, and 3M studies of potential disposal sites reflect an awareness that certain
   choices could slow the rate of contamination. By the early 1960s, 3M engineers had
   conclusively demonstrated that landfilled wastes from 3M disposal sites had polluted the
   groundwater in the East Metro area.

          Information Generally Available from Technical Literature and Media Reporting

           Long before 3M began producing PFCs and their derivative compounds, Dr. L.A.
   Richards proved the theory of liquid flow through unsaturated porous media (Richards, 1931).
   Plainly speaking, liquids will flow downward through the soil under the force of gravity and
   hydraulic potential. Further, in a presentation before the New York State Sewage Works
   Association in 1932, A.F. Dappert demonstrated that “chemical pollution can be carried for a
   long distance through fine sand even when the rate of groundwater flow is fairly slow” (Dappert,
   1932).

           In applying the work of Richards and others from the U.S. Department of Agriculture, the
   California State Water Pollution Control Board (SWPCB) commissioned a series of field
   investigation studies to determine the effects of different forms of waste disposal on groundwater
   quality.

          •     In 1952, one such study demonstrated that the infiltration and percolation of
                precipitation through an incinerator ash dump will leach soluble components from the
                dump. The soluble components will move with the infiltrating water downward
                under the force of gravity to the groundwater (SWPCB, 1952).

          •     A related study demonstrated the following year that wastewater containing soluble
                chemical compounds, when placed on the soil surface, can infiltrate the surface soil
                and transport the dissolved chemical compounds to subsurface soils and the
                groundwater (SWPCB, 1953).

          •     A 1961 SWPCB study showed that water applied to the surface of a refuse disposal
                site may infiltrate the fill and cause the leaching and transport of soluble components
                in the fill downward to reach the groundwater (SWPCB, 1961).



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           Thus, by the 1950s, widely available scientific and technical literature contained much
   information related to the movement of soluble compounds from disposed waste through the
   surrounding soil and into the groundwater. Therefore, 3M—as a sophisticated company with
   significant scientific resources—knew or should have known that compounds from its landfilled
   wastes could contaminate the groundwater.

           In addition, 3M should have been aware by the 1950s of public health crises arising from
   the contamination of groundwater. For example, 3M should have been aware of a number of
   cases of methemoglobinemia attributed to the presence of nitrates in the groundwater.
   Methemoglobinemia, a very serious condition in young children often referred to as “blue baby
   syndrome,” results from the ingestion of water containing high concentrations of nitrate. The
   occurrence of many observed cases of methemoglobinemia during the period from 1947 to 1949
   led to national media coverage of the disease, including further investigations conducted by the
   Minnesota Department of Health in 1951 (Minneapolis Star, 1948; Schmidt, 1956).

           The 1951 Minnesota Department of Health study, and at least one more conducted in the
   decade that followed, indicated the high concentrations of nitrate in the groundwater resulted
   from the transport of soluble nitrates from agricultural chemicals applied to the surface soils and
   the disposal of industrial wastes containing nitrogen (Schmidt, 1956; Woodward et al., 1961).
   The 1951 study showed that domestic water supplies in Renville, Nobles, Rock, and Mower
   Counties—three counties in southwestern and south central Minnesota in close proximity to
   3M’s Minnesota facilities—were impacted by nitrates in the shallow groundwater (Schmidt,
   1956). Sampling of shallow groundwater wells demonstrated high concentrations of nitrate due
   to the infiltration and downward migration of the stable nitrate ion into the groundwater
   (Schmidt, 1956). Further, a 1959 survey of the water wells in the Village of Coon Rapids
   indicated that nitrates from sewage treatment had impacted groundwater to the extent that
   concentrations of nitrates in the groundwater posed a threat to infant health (Woodward et al.,
   1961).

           The fact that these groundwater contamination incidents involved nitrate compounds is
   particularly significant because nitrate compounds are analogous to PFCs in certain respects
   relevant to groundwater contamination. Nitrate compounds are highly soluble due in part to the
   high stability of the nitrate ion in aqueous solution. The nitrate species is analogous to PFOA
   and PFOS in that each of these compounds exists as highly stable and highly soluble anions in
   aqueous solution. When dissolved in water, PFCs including the PFC acids and acid derivatives
   (including PFOS, PFOA, and PFBA), dissociate to form soluble anions. With negative charges,
   the soluble anions are repelled by the soil particles and flow freely with the water, through both
   the saturated and unsaturated zone. Therefore, 3M would have been able to logically conclude
   that the environmental behavior of the PFCs would have been similar to that of nitrates and that
   PFCs would be leached from the wastes, entering into the soils and groundwater.

          3M’s Research and Deliberations

           3M’s internal documents from the early 1960s leave no doubt that it was aware of the
   potential for and actual contamination of groundwater as a result of its waste disposal practices.
   A review of these documents demonstrates that 3M understood the potential for that



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   contamination to endanger human health and the environment as well as harm the State’s natural
   resources.

            In the early 1960s, for example, 3M’s deliberations about the location of a new disposal
   site reflected an acute awareness of the potential for contaminants to reach the groundwater. In a
   July 13, 1960 memo from John A. Brown of the Geology Department to Hans Wessel of the
   Engineering Department at 3M, discussing the location of the new waste disposal site at
   Woodbury, Brown stated:

          From a geological standpoint this area would not be ideal in our opinion;
          however, from the other merits of this location we feel it should satisfy our
          demands. If there is a large volume of acid waste dumped, it would be better if the
          area were immediately underlain by a thick formation of limestone or dolomite.
          This would help neutralize the acid before getting into the groundwater. . . Other
          wet wastes, not neutralized nor deposited within rock or soil pore spaces, will
          eventually reach the water table and pollute domestic wells (3M, 1960
          [3M_MN00000135]).

           3M’s deliberations thus reflected awareness that—absent special geological conditions—
   the wastes it landfilled would reach the groundwater. Unfortunately, 3M was not committed to
   avoiding groundwater contamination caused by its wastes. Instead, as the following quotation
   from Brown’s memo indicates, 3M focused on the factors that would determine how quickly
   pollution would accumulate:

          Eventual pollution of adjacent domestic wells will depend on time, geological
          conditions and rate of wet waste dumping. When waste seepage reaches the water
          table certain solids by that time may be rendered harmless while others will
          remain to pollute wells. . . . The other factor, rate of dumping, will hasten or
          prolong pollution. Degree of pollution will in turn indicate the time when
          dumping should cease. It may be that other factors will signify a time to abandon
          the site prior to maximum pollution (3M, 1960 [3M_MN00000135]).

           Further memos by Brown during this period make clear that although 3M hoped to avoid
   rapid aquifer pollution, it clearly understood that “eventual pollution” was inevitable and the
   extent of it would “depend on time, rate, and the care that is exercised in dumping” (3M, 1960
   [3M_MN00001421]). This report, as well as relevant deposition testimony from a 3M
   employee, clearly indicated that 3M knew that the underlying aquifer would, sooner or later,
   become polluted by dumping the wastes in open trenches (Kiester, 2017 (pp. 24-25)).

           Additional 3M documents show that 3M understood that its various disposals of wastes at
   other sites could contaminate the groundwater. A 1969 3M document, for example, related to
   the disposal of wastewater treatment plant sludge at Cottage Grove noted that one of the
   “limitations” associated with landfilling the sludge was that “organic contaminants from the
   sludge may leach into the ground water at the present dumping site” (3M, 1969 [3MA00456474,
   -475]). Similarly, in 1970, a 3M “Authority for Expenditure” document sought permission to
   purchase sludge dewatering equipment in part because “[t]he present method of dumping wet
   sludge into landfill areas on the site cannot be continued because . . . of the potential pollution


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   from organic contaminants leaching into the underground water supply . . . .” (3M, 1970
   [3MA00456507]).

            Just as important, 3M had the understanding and resources to confirm whether its wastes
   were reaching the groundwater beneath Woodbury and the other sites. In July 1960, Brown and
   R.C. Collins—recounting a meeting including at least four other 3M employees—stated that the
   attendees were “again warned of the problem of polluting the underground water and it was
   recommended that before this site is developed, observations wells into the St. Peter and Jordan
   formations should be drilled and tested . . . periodically” (3M, 1960 [3M_MN00000231]). A
   1962 memo likewise considered the possibility of installing a shallow boring down-slope of the
   first trench to “see if we are getting any subsurface pollution” (3M, 1961 [3M_MN00000138]).
   3M clearly understood that borings or monitoring wells could be used to sample groundwater to
   analyze it for the presence of contaminants from industrial waste.

          3M’s Discovery of Contaminants in Groundwater Beneath Its Disposal Sites

           Analytical testing performed by 3M in 1960 and 1962 confirmed that contaminants from
   its industrial wastes had reached the groundwater beneath two of 3M’s Minnesota disposal sites.

           At Cottage Grove, where 3M waste disposal began shortly after 3M built the facility
   there in 1947, 3M’s “monthly well water sampling program” was expanded in November 1960
   to include “pollution indicators such as phenol, fluorides, chlorides, surfactants, etc.” A “main
   purpose” of the newly expanded “Monthly Water Report” was to “gain the necessary
   information about the spreading of contamination from local pollution sources to different wells
   so that sufficient warning can be obtained and adequate measures can be provided in time to
   assure a continuous supply of good quality process water.” Laboratory services for the effort
   were furnished by “[t]he analytical section of [3M’s] Central Research” department. Copies of
   the November 1960 report were apparently provided to at least 39 other 3M employees (3M,
   1960, [3M_MN00052163]).

           The results of the monthly analysis in November 1960 suggest that its waste disposal
   practices at Cottage Grove resulted in groundwater contamination at the site, and the author—
   Dr. Joseph Ling—explicitly acknowledges the possibility in his memo. “It has been suspected
   that Well No. 1 has become contaminated because of the continuous increase of alkalinity and
   hardness in the well water. It is also suspected that the contamination is coming from the waste
   disposal pond.” Although the memorandum concludes that “no conclusive statement can be
   made” at that point regarding the exact cause of the contamination, it does cite a finding of 0.3
   ppm of “surfactant as ABS” in Well No. 1 as “positively confirm[ing] that Well No. 1 was
   definitely polluted” (3M, 1960, [3M_MN00052163, -164]).

          Other documents from this period definitively confirm that 3M understood the
   connection between its waste disposal practices at Cottage Grove and groundwater
   contamination:

          •   An August 1960 memorandum by Allan E. Miller and R.C. Collins of the 3M
              Geology Department described efforts to “determine the source of the pollution of the
              #1 Jordan well.” It noted that “we all felt [the well] is within the sphere of activity of


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              our Chemolite plant.” The same memo stated that a visit to a site adjacent to “the
              previous two settling ponds along the Bulrington [sic] railroad tracks” revealed “a
              spring with an organic smell and appearance oozing from the gravel strata” there
              (3M, 1960 [3MA00335929]).

          •   A December 1961 memorandum by a 3M employee acknowledged that the
              wastewater pond contributed to groundwater contamination at the Cottage Grove site.
              H. S. Parkinson, citing a report by Dr. Ling dated July 31, 1961, indicated that “the
              pond does not remove any BOD and its leakage is a contributing factor to the
              contamination of the Chemolite well water” (3M, 1961 [3MA00456329]).

          •   A 3M document entitled “Phase One: Chemolite Waste Disposal Program” from no
              later than 1963 noted that “[e]vidence . . . indicated that the present waste pond has
              contaminated a nearby water supply well at our Chemolite plan site. We are
              convinced that contamination will gradually spread to other wells if no corrective
              measure is taken soon” (3M, 1962 [3MA00456330, -331]). 8

           Similarly, at Woodbury, 3M detected contamination in the groundwater beneath its
   disposal site no later than 1962. In spite of the warnings from the Geology Department, waste
   disposal began in 1960 with the disposal of wet scrap waste from 3M in earthen trenches at the
   site. In the spring of 1962, 3M conducted an investigation to determine the degree of penetration
   of contaminants from the disposed waste into the underlying soil. The investigation found that
   acetone had reached 75 feet below the surface—the level at which groundwater was located.
   Ethanol, heptane, acetone, ethyl acetate, and methyl ethyl ketone had reached 64 feet below
   ground surface. Dr. Ling, the author of the investigation report concluded that “some of our
   liquid waste chemicals have reached 75’ below ground within about one year of operation.” He
   concluded that “[i]t is our opinion the waste disposal problem has reached the point where some
   immediate action should be taken” (3M, 1962 [3M_MN00000220, -221]).

           Other documents from the period of 3M disposals at Woodbury from 1960 to 1966
   clearly indicate 3M’s awareness that contaminants from its waste were polluting the
   groundwater.

          •   A May 1962 memorandum by R.C. Collins stated in connection with an engineering
              study of the Woodbury dump site that “[i]t is the consensus of the Geology
              Department in regard to safeguarding the underground water supply of the area, that
              the company seriously consider the installation of an incinerator or other means,
              whereby this wet waste material will not have an opportunity to seep into the soil”
              (3M, 1962 [3M_MN00000380, -381]).

          •   A July 1963 memorandum by K.R. Knoblock regarding waste disposal at Woodbury
              described visual evidence that clay liners used by 3M in some trenches as a seal to
              retard seepage did not prevent the infiltration of liquids into the soil. “It appears to

   8
           Certain elements of the document’s text suggest that it was written no later than 1963.
   For example, the author notes that certain wastewater treatment experiments “will be continued
   until 1963” (3M, 1962 [3MA00456330, -331]).


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              the writer that this seal is ineffective,” he wrote. “[A] truck driver pointed out the fact
              that as soon as the waste was dumped it seeped into the ground” (3M, 1963
              [3M_MN00000379]; Kiester, 2017 (pp. 55-56).

          •   A separate July 1963 memorandum by M.C. Goldsmith and K.R. Knoblock described
              the conclusion of a meeting of 3M employees during a visit to the Woodbury site as
              follows: “Those present concluded that steps must be taken to protect 3M interests
              and township residents by reducing the danger of ground water pollution by more
              efficient means of waste disposal” (3M, 1963 [3M_MN00000717]).

          In all of these documents, there was no indication that 3M believed the groundwater
   would not become contaminated. To the contrary, these documents clearly acknowledge that the
   groundwater would be contaminated. The variety of authors and recipients of these internal
   correspondences show that this fact was widely understood within 3M.

           Finally, given 3M’s awareness of its own PFC manufacturing and disposal practices of
   large quantities of PFC-containing wastes, 3M’s sampling data from the 1960s should have
   alerted 3M that PFCs from its PFC-containing wastes were reaching the groundwater. Even if
   3M lacked the analytical ability to quantify the presence of specific PFCs, its employees
   observed two indicators of possible PFC contamination of the groundwater—detections of
   surfactants and observations of foaming:

          •   Surfactants were detected in the water beneath Cottage Grove and Woodbury in the
              1960s. The November 1960 monthly water report for Cottage Grove, described
              above, noted detections of “[s]urfactants as ABS” in “Well No. 1,” “Spring,” and
              “Pond” at levels of 0.3, 1.3, and 1.2 ppm, respectively (3M, 1960 [3M_MN00052163,
              -168]). Similarly, an April 1969 3M report on the Woodbury water problem found
              surfactants at the level of 0.07 ppm (3M, 1969 [3MA00335191, -199]).

          •   At Woodbury, a 1967 investigation of the groundwater revealed the water had a
              “sweet, antiseptic” odor and “created a noticeable foam.” The foaming of
              groundwater is an important indication that surfactants, such as 3M’s fluorochemical
              surfactants, were potentially present. The same report concluded that “[t]he
              investigative work undertaken in the past eight months indicates that chemicals
              similar to those placed in the pits [at Woodbury] have been identified approximately
              3/4 of a mile in a westerly direction from the waste pits,” at a private well (3M, 1967
              [3MA00286007]).

           The presence of surfactants and foaming in the groundwater—together with 3M’s
   knowledge that its wastes contained fluorochemical surfactants—should have alerted 3M to the
   strong possibility that its PFCs had reached the groundwater. While in isolation these facts
   would not put one on notice of PFC contamination, 3M was obviously aware that it was
   manufacturing large quantities of PFCs and disposing of them along with other waste in and
   around these sites. 3M also knew that PFCs have surfactant qualities and create foam when
   exposed to water. Given this knowledge, 3M knew or should have known that its PFC-
   containing wastes were reaching the groundwater.



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          3.2      3M’s Failure to Exercise Reasonable Care When Disposing of Its PFC-
                Containing Wastes

           3M failed to exercise reasonable care in connection with its disposal of PFCs and
   PFC-containing wastes because it disposed of them without regard for the risk of harm to
   human health and the environment. Further, 3M failed to exercise reasonable care by
   failing to prevent the continued release of PFCs into the groundwater and the Mississippi
   River after they were disposed of at 3M’s Minnesota sites.

           Counsel has informed me that in Minnesota, companies must exercise reasonable care to
   adequately prevent or mitigate the harm to others foreseeable from their conduct. Counsel has
   also informed me that the degree of care required to satisfy that standard depends in part on all of
   the facts and circumstances, and must be commensurate with all known or reasonably
   foreseeable dangers.

           In my professional opinion, 3M failed to meet the standard of care needed to protect
   human health and the environment. As the documents discussed in this report indicate, 3M knew
   or should have foreseen the dangers of its PFC-disposal practices. A producer of such wastes,
   exercising a reasonable degree of care, would not have disposed of them in the manner that 3M
   disposed of them. Up to 1974 (and even later, at the Cottage Grove site), 3M disposed of PFC-
   containing wastes at Minnesota disposal sites despite having sufficient information that PFCs
   could reach the groundwater, accumulate in the environment, and cause significant harm. After
   1974, at which point many of 3M’s disposals at the Minnesota sites had ended, 3M did nothing
   to prevent the continued releases of PFCs into the groundwater from its disposal sites. 3M did
   not provide full and candid disclosures to regulators of the presence of PFCs in the 3M wastes,
   nor did 3M disclose the risks posed by its disposal of PFCs.

          3M’s Disposal of Industrial Waste at the Four Disposal Sites (1947-1974, 1978-1980)

            3M repeatedly failed to address the readily foreseeable harms resulting from the disposal
   of its industrial wastes, including PFC-containing wastes, at Cottage Grove, Oakdale, Woodbury,
   and the Washington County Landfill from 1947 to about 1974 and at Cottage Grove from 1978
   to 1980.

            Continued Disposal Despite Observations of Contamination. 3M knew the
   characteristics of the PFCs that they were manufacturing, including the reactivity, thermal
   stability, solubility, and resistance to biodegradation while disposals at the Minnesota disposal
   sites were taking place. From the beginning of production, 3M knew that the wastes generated
   from the production operations contained PFCs. By the mid-1950s, 3M knew or should have
   known that PFCs had the potential to bioaccumulate in living organisms. By the early 1970s,
   3M knew that PFCs bioaccumulated in living organisms. By the 1960s, 3M knew that the
   organic components of their wastes had infiltrated into the groundwater. In 1976, PFCs were
   found in human blood samples and by the late 1970s, PFCs were found to accumulate in
   Humans. In 1983, 3M conducted a study that demonstrated the teratogenic mutations in mice by
   PFCs. Following 3M’s early knowledge of these characteristics and impacts of PFCs,
   subsequent studies confirmed the early findings.




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           Despite this knowledge, 3M continued the disposal of wastes notwithstanding evidence
   that 3M knew the PFCs in the wastes would leach into and migrate with the groundwater.
   Further, 3M knew that the PFCs leaching from their wastes would cause harm to human health
   and the environment. Despite this knowledge, 3M landfilled PFC-containing wastes in
   Minnesota through 1974 and again from 1978 to 1980. During this period, 3M did not attempt
   actions to prevent the release and movement of PFCs in the groundwater. In addition, 3M did
   not adequately notify the regulatory authorities of the presence of PFCs in their wastes.

            An example of 3M’s failure to exercise reasonable care during this period comes from its
   conduct at the Woodbury site, where it continued to dispose of its wastes even though it knew or
   should have known that PFCs could reach the groundwater. Despite the warnings from the
   Geology Department that wet scrap wastes and waste solvents would reach the groundwater, 3M
   began waste disposal at the Woodbury disposal site during the winter of 1960. Wet scrap waste
   and waste solvents along with acid-containing HF tars from 3M were disposed in open trenches
   at the site. In the spring of 1962, 3M conducted an investigation to determine the degree of
   penetration of the disposed waste leachate into the underlying soil and concluded that “some of
   our liquid waste chemicals have reached 75’ below ground within about one year of operation”
   (3M, 1962 [3M_MN00000220]).

           As described above, investigations at the Woodbury disposal site in the late 1960s
   provided more evidence that PFCs had likely migrated to the groundwater beneath the site. A
   1967 3M report concluded that “[t]he investigative work undertaken in the past eight months
   indicates that chemicals similar to those placed in the pits [at Woodbury] have been identified
   approximately 3/4 of a mile in a westerly direction from the waste pits,” at a private well. That
   investigation of the groundwater revealed “isopropyl ether or a compound similar to it” and
   observed that the water had a “sweet, antiseptic” odor and “created a noticeable foam” (3M,
   1967 [3MA00286007]). The foaming of groundwater is an important indication that surfactants,
   such as 3M’s fluorochemical surfactants, may be present. Despite this evidence, 3M continued
   to dispose of PFC-containing wastes at the Cottage Grove facility and other waste disposal sites.
   Further, 3M made no attempt to investigate the PFC contamination in the groundwater, much
   less remediate the groundwater once it knew the groundwater was likely contaminated with
   PFCs.

           Confronted with strong evidence suggesting that toxic contaminants from its industrial
   wastes had reached the groundwater, 3M should have—at a minimum—halted further disposals
   until such time as it could confirm that there was no significant risk to human health or the
   environment. Its failure to do so disregarded known risks to human health and the environment.
   3M continued to landfill its PFC-containing wastes in Minnesota disposal facilities incapable of
   handling such dangerous wastes until at least 1974, and again from 1978 to 1980. See Section
   2.4, above.

           Throughout this period, 3M continued to receive reports from researchers and other
   interested parties suggesting that its PFCs were capable of causing toxic effects. For example, a
   researcher wrote the editor of the Fire Journal in 1970 to describe the results of toxicity testing
   of 3M “Light Water” Film Forming Foam, which contained PFC surfactants. In his letter, the
   researcher described the testing of hardy fish with aqueous concentrations of “Light Water”
   ranging from 2.0% (1,250 ppm) to 0.002% (1 ppm) in ten-gallon tanks and reported that the 3M


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   product was “highly derogatory to marine life.” At concentrations greater than 0.006% (4 ppm),
   the survival time of the fish was observed to be seven days or less. The researcher concluded
   that “at all [tested] concentrations (including . . . 1 part per million) erratic motion, loss of
   stability and other visibly odd effects were present” (3M, 1970 [3M_MN02267863, -864]).

           Lack of candor with regulators. During the period from 1947 to 1974, 3M displayed a
   lack of candor with state regulators and failed to cooperate in good faith with those regulators in
   matters relating to its waste disposal methods and related risks to human health and the
   environment. A producer of industrial wastes exercising reasonable care would not have hidden
   information from regulators, because regulators need sufficient information about waste disposal
   practices in their jurisdiction to assess environmental risks and prioritize resources for
   investigation and enforcement.

          •   3M developed extensive knowledge of the physical and chemical properties of PFCs
              that would control the fate and mobility of PFCs in the environment. In addition, 3M
              developed information regarding the bioaccumulation and toxicity of these
              compounds during this period, but did not adequately disclose this information to any
              Minnesota regulator. As a result, regulators were not properly equipped to assess the
              potential harm to human health and the environment posed by 3M’s waste disposal
              practices. 3M’s failure to keep regulators effectively informed about the potential for
              harmful effects of its wastes amounted to a failure to exercise due care.

          •   3M disposed of fluorochemical wastes at the Oakdale site from 1956 to 1960, but as
              discussed more fully below, 3M did not disclose its disposal practices to regulators
              during this period, even after 3M’s investigations at its other disposal sites revealed
              extensive groundwater contamination.

          3M’s Failure to Address Continued PFC Releases (After 1974)

          Failure to Remediate for PFCs in Face of Mounting Evidence of Contamination.
   Even after 3M shifted many of its disposals away from the four Minnesota sites, 3M’s failure to
   address past and continuing releases of PFCs from the disposal sites unreasonably disregarded
   known dangers to human health and the environment. During this period, as Section 2.6
   demonstrates, 3M’s knowledge of the harmful effects of PFCs continued to develop:

          •   A “Fate of Fluorochemicals” research project undertaken by 3M from 1976 to 1979
              studied the effects of four important 3M fluorochemicals on aquatic life and their
              susceptibility (if any) to degradation by microorganisms, among other things. 3M
              researchers reviewing these results in 1983 and recommending additional testing
              concluded that “[i]n the case of fluorochemicals, structure considerations and test
              results to date give rise to concern for environmental safety. . . . These concerns give
              rise to legitimate questions about the persistence, accumulation potential, and
              ecotoxicity of fluorochemicals in the environment” (3M, 1983 [3MA10065465, -471,
              -476]).

          •   3M had the capabilities to analyze groundwater sampled for PFCs in the late 1970s
              and early 1980s, yet they failed to analyze samples suspected of containing PFCs at


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              any of their disposal sites during this period (3M, 1979 [3MA00639014]; 3M, 1980
              [3MA01406743, -744]).

          •   Further testing in 1978 on mammals such as monkeys and rats confirmed the toxicity
              of PFOS and PFOA (3M, 1978 [3M_MN02343995]; 3M, 1992 [3M_MN02252650];
              3M, 1978 [3M_MN02343997]).

           Despite this and other evidence concerning the fate of PFCs in the environment and the
   risks that they posed, I have seen no evidence that 3M took any meaningful steps to reduce the
   risk posed by releases of PFCs from its landfilled wastes into the groundwater before the 2000s.

          In my opinion, 3M’s inaction, while PFCs it had landfilled continued to contaminate the
   environment, was not an adequate response to the known risks to human health and the
   environment. By allowing leachate to continue to contaminate groundwater, 3M failed to
   exercise reasonable care.

           Incomplete and Misleading Disclosures to Regulators. On many occasions, 3M
   scientists and other employees provided misleading or incomplete information to regulators and
   independent researchers. By failing to provide information about PFCs or disposal practices, 3M
   frustrated outsiders’ ability to determine the nature of the harms resulting from PFCs and address
   their causes. For example:

          •   3M made a number of incomplete disclosures to the Minnesota Pollution Control
              Agency (MPCA) regarding its disposal practices at the Oakdale site. 3M disposed of
              its wastes at Oakdale from 1956 to 1960. State regulators learned about 3M’s
              disposal of wastes there from area residents—not from 3M—some 18 years later, in
              1978 (3M, 1980 [3M_MN00001391]; 3M, 1984 [3MA00296731, -732]). The MPCA
              requested additional information from 3M, but was told only that “the history of the
              site is vague” and that 3M believed that “the materials disposed of at this site were
              discarded product, such as rolls of tape, ‘Scotchbrite’, and some waste materials such
              as hardened resins and miscellaneous scrap” (3M, 1979 [3MA00284889]). A follow-
              up letter sent by the agency requested a response “more specific than the letter
              [previously] sent to the Agency” (3M, 1980 [3M_MN00000351]). Ultimately, the
              MPCA’s investigation determined—with little help from 3M—that a number of 55-
              gallon drums with chemical waste were buried on site and that there were not just
              one, but two, disposal sites at the Oakdale site (3M, 1980 [3M_MN00001391, -393-
              94]). This delay in providing relevant information to the MPCA impaired regulators’
              ability to assess and respond to potential environmental harm resulting from 3M’s
              waste disposal practices.

          •   3M likewise failed to adequately disclose the nature and extent of its waste disposal
              activities at the Cottage Grove site. In 1981, the MPCA requested information about
              3M’s hazardous waste disposal practices at the Cottage Grove site with respect to a
              variety of materials, including “fluorocarbons” (3M, 1981 [3M_MN00000218]).
              3M’s response provided information about other wastes but omitted any information
              about fluorocarbons (3M, 1981 [3M_MN00000143]). Similarly, the remedial
              investigation reports submitted by 3M’s contractor did not adequately disclose the


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              nature of the wastes landfilled at Cottage Grove. The 1986 final report provided a list
              of twenty chemicals “historically used at the Chemolite Plant” and noted that “[i]t
              could be expected . . . that wastes disposed of at the Chemolite Center are either
              combinations of these chemicals or the products of reacting two or more of these
              chemicals.” But none of those chemicals were PFCs or even contained fluorine (3M,
              1986 [3MA00364082, -101-02]).

          •   Throughout this period, 3M failed to adequately disclose the results of its internal
              research on PFCs to federal regulators, contrary to section 8(e) of the Toxic
              Substances Control Act (TSCA) and other provisions of federal law. Enacted in
              1976, TSCA required manufacturers to provide all information that “reasonably
              supports the conclusion” that a chemical “presents a substantial risk of injury to
              health or the environment.” In many important respects, however, 3M failed to meet
              this obligation. In April 1978, for example, 3M conducted tests on monkeys and rats
              lasting up to 90 days to determine the effects of exposure to FC-95, FC-143, FM-
              3422 (PFOS, PFOA, and N-EtFOSE, which metabolizes to PFOS, respectively). In
              light of the studies’ “indisputable” findings of “liver toxicity in the rat” and “GI
              toxicity in the monkey,” 3M researchers concluded that “[t]hese compounds are by no
              means biologically inert.” (3M, 1979 [3MA00967577]). Despite these findings, 3M
              decided in May 1978 not to immediately report these results to the EPA under TSCA
              section 8(e) (3M, 1978 [3MA10066961]).

          •   Indeed, in an August 21, 2000 letter from 3M’s Katherine Reed to Jesse Baskerville
              of USEPA, Dr. Reed disclosed that 3M had identified approximately 30 studies or
              pieces of information as a supplement to the TSCA section 8(e) dockets for PFOS and
              related fluorochemicals (3M, 2000 [3MA00847625, -626]; Reed, 2017 (pp. 88-109)).
              3M ultimately paid a fine of over $1.5 million to resolve USEPA’s allegations that
              3M failed to notify USEPA of new chemicals it was manufacturing, failed to timely
              report substantial risk information, and other reporting violations. The USEPA noted
              that “several of the violations concerned reporting on perfluorinated compounds,” and
              that the previously unreported information was “valuable” and would “help the
              scientific community to better understand the presence of toxic substances in the
              environment” (USEPA, 2006).

          Incomplete and Misleading Disclosures to Other Stakeholders. In addition, 3M failed
   to adequately disclose important information about its PFCs to other stakeholders such as outside
   researchers, 3M workers, and customers.

          •   In 1975, 3M employee G. H. Crawford reported that he had received a second
              telephone call from Dr. William Guy with the College of Medicine at the University
              of Florida concerning his findings of fluorocarbon carboxylic acids (that is, PFOA) in
              human blood samples. Dr. Guy was trying to understand how PFCs appeared in
              human blood and wanted to know whether “3M's fluorocarbon carboxylic acids . . .
              were present in ‘Scotchgard’ or other items in general use by the public.” Despite
              3M’s broad use of PFOA and related chemistries, Crawford said “we plead ignorance
              but advised him that ‘Scotchgard’ was a polymeric material not a FC acid” (3M, 1975
              [3MA10034962, -962-63]). Therefore, Crawford misled the researcher to prevent the


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              discovery that 3M’s fluorochemicals could be a source of PFCs in human blood.
              3M’s failure to disclose to researchers that fluorocarbon acids manufactured by 3M
              were indeed in wide use prevented researchers from developing an understanding of
              the presence of those compounds in blood samples.

          •   3M demonstrated a lack of candor to its own employees as well. As a result of others
              finding PFCs in human blood, 3M developed an accurate analytical method to
              determine the concentration of organic fluorine in blood samples in early 1976 and
              began testing of blood samples for employees at the Chemolite plant shortly
              thereafter. In the annual report to the Corporate Responsibility Committee in
              November 1976, 3M’s Central Research Analytical Department reported the
              concentrations of organic fluorine compounds in Cottage Grove personnel at up to
              1,000 times the concentrations found in the general population (3M, 1977
              [3M_MN00000479]). Yet in the minutes from a 1978 3M Fluorochemicals Technical
              Review Committee meeting, the committee recommended that chemical workers
              should not be informed until after other pertinent information including “a detailed
              plan for all other work related to trace fluorochemicals in blood” is completed (3M,
              1978 [3MA10067042]). It was not until May 1980, however, that 3M finalized plans
              for informing employees, customers, regulatory bodies and other appropriate entities,
              were approved and set in action (3M, 1980 [3M_MN00000756]). For those who had
              to wait years to learn the outcome of the blood testing, 3M’s actions demonstrated a
              careless attitude about the health and well-being of its employees as well as other
              stakeholders.

          •   Finally, 3M made a number of false representations regarding the properties of its
              PFC-containing products to 3M customers. For example, 3M falsely represented for
              years that the fluorochemical surfactants in 3M’s Aqueous Film Forming Foam were
              biodegradable. In a 1989 Technical Information bulletin for FC-783, a variety of
              AFFF, 3M described the substance as biodegradable and low in toxicity. The bulletin
              further stated that the 3M AFFF could be treated in a biological treatment system and
              encouraged environmentally-conscious customers to disperse this material into the
              environment (3M, 1989 [3M_MN02369894, -895]). In June 1988, 3M was
              confronted on this issue by Boots & Coots Protective Equipment, a frustrated
              purchaser from California (3M, 1988 [3M_MN01315290]). Boots & Coots noted its
              “surprise and total shock” upon learning that the Aqueous Film Forming Foam it had
              purchased from 3M was not, in fact, biodegradable, causing it “embarrassment and
              credibility loss.” Even after 3M scientist Eric Reiner challenged his colleagues to
              stop “perpetuating the myth” that fluorochemical surfactants are biodegradable later
              in 1988, 3M continued to advertise Aqueous Film Forming Foam as biodegradable in
              its 1989 Technical Information Sheet (3M, 1988 [3MA10035965]; 3M, 1989
              [3M_MN02369894]). Even as late as 1994, 3M continued encouraging its customers
              to use AFFF while privately acknowledging that it was not biodegradable. In a 1994
              trip report from a meeting with representatives at the Texas A&M Fire Training
              school, the fire training school representatives expressed concerns over wastewater
              treatment and discharge of the training wastes. The representatives also expressed
              concerns about persistent foam that formed in the aeration pond, which 3M attributed



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              in an internal memorandum to “the non-degradable or slowly degradable surfactants
              in AFFFs” (3M, 1994 [3M_MN02470154, -155]).

           Each of these examples illustrates a way in which 3M withheld relevant information from
   interested third parties. Due to the nature of the industry, producers of industrial products and
   waste like 3M often possess information that is not generally available, such as information
   about the producer’s manufacturing process and waste streams, the properties of its products and
   wastes, and its waste disposal practices. 3M’s non-disclosure of that information to outside
   researchers or regulators prevented them from discovering or assessing risks to the environment
   and human health and thus fell short of the standard of reasonable care.

          Violations of Environmental Permits. Even after 3M relocated many of its waste
   disposal activities away from the four Minnesota sites, it violated permits related to the handling
   of hazardous wastes.

           For example, in 1978, after the Pine Bend landfill refused to accept wastewater treatment
   plant sludge and incinerator ash from the Cottage Grove plant, 3M began disposing of the sludge
   and ash on the Cottage Grove site without MPCA approval. Wastewater treatment plant sludge
   was disposed of at Cottage Grove until at least 1979 and incinerator ash until at least 1980. 3M
   was eventually fined in 1984, following repeated warnings, for “constructing and improperly
   operating a hazardous waste storage pile without a state and federal permit” (3M, 1984
   [3MA00282920]; Santoro, 2017 (pp. 87-90)).

           In sum, 3M failed to exercise reasonable care by dumping harmful PFC-containing
   wastes in a manner that would allow them to contaminate the groundwater and the Mississippi
   River. 3M’s violations of permit limitations, lack of candor with regulators and outside
   researchers, and failure to adequately divulge the characteristics of these wastes were further
   violations of the standard of care. Finally, as evidence of the dangers of PFCs mounted, 3M
   declined to take any meaningful steps to prevent continued releases from its landfilled wastes
   into the environment. Its refusal to adequately respond to a known risk of harm is another,
   independent failure to act reasonably.




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                                ATTACHMENT 1




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                                                                           Materials Considered

                                            Document Name/Description                                            Bates Number    Date of Document
Academic Article
Overview of analytical methods for fluorine in air, water, soil, vegetation, body fluids and tissues             3MA10017409     May-82
Pyrolyses of the Salts of the Perfluoro Carboxylic Acids by J.D. LaZerte, L.J. Hals, T S. Reid and G.H. Smith    3M_MN03412159   1/14/1953

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Exhibit 189 - Memo from T. Shannon to D. Dworak re Chemolite HF Tar Disposal -- Final Report                      3MA01201767     11/18/1976
Exhibit 193 - Memo from W. Myers to G. Hohenstein re Building 15 Acid Drops to Sewer 8/27/1984 - 9/6/1984         3MA00067163     9/11/1984

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Exhibit 197 - Memo from J. Krall re Status of FC-26 via POSF/I2                                                   3MA00080881     4/22/1976
Exhibit 200 - Memo from R. Johnson to R. Ahlness & C. Hanson re No Subject                                        3MA10035104     7/1/1977
Exhibit 201 - 3M Interoffice Correspondence re Meeting Minutes from R. Prokop                                     3MA00967681     9/22/1977
Exhibit 202 - Email from D. Dworak to L. Zabel Re: C-8 Acid Scotch Guard, etc.                                    3MA00184620     6/7/2000
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Email Correspondence to Dana Schnobrich et. al., 3M, re: FC Waste Initiative                                       3MA00000974      10/11/2001
Email Correspondence to Lynn Runnings, 3M, re: FC Waste Profile Review Meeting Minutes                             3MA00000978      10/20/2001
Email Correspondence to Brad Fong, et al., re: Drying Team Meeting Minutes                                         3MA00056860      8/16/1999
Internal Correspondence to Bob Paschke, 3M, re: Woodbury Site Update                                               3MA00264370      12/16/1992
Internal Correspondence to D.W. Johnson, 3M, re: Landfill Dry Scrap Project                                        3MA00276827      4/24/1974
Letter to David Champion, Wash. Cnty. Admin., re: Routine Investigation of Washington County Landfill              3MA00276884      3/20/1974

Office Memo: 3M Chemolite File re: Review of Remedial Investigation to Evaluate individual Waste Disposal Sites 3MA00279473         3/13/1995

Interoffice Correspondence to R.O. Laine, 3M, re: Permit to Landfill Chemolite Sludge                              3MA00280233      9/27/1974
Internal Correspondence, 3M, re: Meeting with MPCA And Phoenix, Inc. Relative To Disposal of Chemolite Sludge      3MA00280406      10/24/1979
at the Pine Bend Landfill
Letter to James Hansmeyer, MPCA, re: Disposal of Wastewater Sludge and Incinerator Ash on the Chemolite Plant      3MA00280988      9/14/1978
Site
Letter to Russell Susag, 3M, re: Request for Information on 3M Waste Disposal Practices at Chemolite Site          3MA00282605      5/4/1981

Letter to Jack Braun, EPA, re: Oakdale Disposal Sites Remedial Action Plan: June, 1984, Work Summary               3MA00284932      7/26/1984

Letter to Jarle Leirfallom, Commissioner of Conservation, re: Application for Permit to Appropriate Water from     3MA00286355      6/26/1967
3M Property in Woodbury Village, Minnesota
Letter to Jack Braun, EPA, re: Oakdale Disposal Sites Remedial Action Plan: August, 1984, Work Summary             3MA00611787      9/26/1984

Interoffice Correspondence to J.A. Brown, 3M, re: Methods of Improving Waste Disposal Operations at the            3MA00335827      7/30/1963
Woodbury Township Dump Site
Interoffice Correspondence to J.A. Brown, 3M, re: Inspection Report of Woodbury Township Dump Site                 3MA00335828      7/26/1963

Interoffice Correspondence to J.A. Brown, 3M, re: Crop Effects Due to Acid Waste Fumes at Woodbury Township 3MA00335831             7/10/1963
Dump Site
Interoffice Correspondence to J.A. Brown, 3M, re: 07/09/63 Inspection of Woodbury Township Dump Site        3MA00335832             7/10/1963

Interoffice Correspondence to Geology Dept., 3M, re: Pond Sealant Study                                            3MA00335853      5/15/1962
Interoffice Correspondence to D.H. Cochran re: Waste Disposal Problem at Woodbury Dump Site                        3MA00335855      5/14/1962
Correspondence to Hans Wessel, 3M, re: Results of Dump Site Test Borings and Recommendations                       3MA00335938      7/26/1960
Memo to R.C. Johnson, 3M, re: Daily Discharge to Chemical Sewer                                                    3MA00456289      9/13/1960
Interoffice Memo to C.W. Bentz, 3M, re: Input to Chemical Sewer Internal Chemical Operations                       3MA00456322      9/26/1960
Interoffice Correspondence to H. Parkinson, 3M, re: Disposal of Sludge from Existing Waste Pond – Phase 1          3MA00456347      8/17/1962
Chemolite Waste Disposal Program
Memorandum re: Chemical Waste Disposal Facilities                                                                  3MA00456352      11/21/1962
Interoffice Correspondence to D.R. Guthrie, 3M, re: Proceed to Construct Phase II – Waste Water Treatment          3MA00456431      8/16/1966
Facilities at Chemolite
Interoffice Correspondence to D.E. Peterson, 3M, re: Pond Sludge Cleaning Chemolite                                3MA00456546      5/25/1973
Interoffice Correspondence to Chemolite Sludge File re: Chemolite Landfill Meeting Minutes and Status Report       3MA00456626      5/8/1978

Letter to Paul Brandt, Wash. Cnty, re: Chemolite Sludge Disposal                                                   3MA00456710      2/19/1980
Letter to Paul Smith, Metropolitan Council, re: Chemolite Sludge Disposal                                          3MA00456730      7/28/1980
Letter to Michael Ayers, MPCA, re: Response to Information Request on Past 3M Chemolite Disposal Sites             3MA00456747      7/28/1981

Letter to Fred Robinette, 3M, re: NOV at the Chemolite Boiler Ash Disposal Area                                    3MA00456827      3/15/1983
Internal Correspondence to L.H. Hoffmeier, 3M, re: Chemolite Boiler Ash Landfill                                   3MA00456910      7/17/1984
Email Correspondence to Fred Palensky, 3M, re: Lake Elmo Backgrounder                                              3MA00550094      8/10/2005
Letter to Aaron Moran, EPA, re: Oakdale Disposal Sites Remedial Action Plan: November-December, 1984, Work         3MA00611843      1/25/1985
Summary
Email Correspondence to Jerry Walker, 3M, re: Cottage Grove FC Wastes                                              3MA00616209      10/5/2001
Internal Correspondence to D.E. Pederson, 3M, re: Chemolite Wastewater Sludge                                      3MA00722190      5/22/1979
Letter to Robert Lockyear, Wash. Cnty., re: Amendment of Waste Disposed                                            3MA00722959      9/2/1983
Letter to Louis Breimhurst, MPCA, re: Status Report on 3M Program to Develop a Long-Range Plan for Chemolite       3MA00722981      2/7/1979
Waste Disposal
Email Correspondence to Gary Kruger, MPCA, re: 3M waste disposal activities at the Commercial Chemical             3MA00866215      6/22/2005
Company/ Pollution Controls, Inc. sites
Interoffice Correspondence to T.E. Shannon, 3M, re: Cell Tar Disposal                                              3MA01201771      5/12/1976
Letter to Paul Brandt, Wash. Cnty., re: Notification of Phase I Sludge to Pine Bend and Phase III Sludge to Chem   3MA01934698      1/3/1980
Waste Mgmt Milwaukee
Interoffice Correspondence to H.G. Bryce, 3M, re: Comments on “The Ecological Aspects of Fluorocarbons”            3MA02496585      8/31/1971




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Letter to Jack Braun re: Oakdale Disposal Sites Remedial Action Plan: Land Incorporation of Soils Decontaminated 3M-BARR00015110   10/8/1984
in the Chemolite Incinerator
Letter from to Harvey Rogers, Minnesota State Board of Health                                                    3M_MN00000713     6/12/1958
Correspondence with Mr. Johannes, State Water Pollution Control Board, re: Discussion of Chemolite wastes        3M_MN00000414     8/26/1958

Interoffice Correspondence to C.B. Sampair, 3M, re: Status report, St. Paul, Chemolite and Hutchinson waste      3M_MN00000715     6/19/1961
disposal.
Interoffice Correspondence to J. A. Brown, re: Possible Improvements to Woodbury Township Site                   3M_MN00000142     7/30/1963
Interoffice Correspondence to J. A. Brown, re: Possible Improvements to Woodbury Township Site                   3M_MN00000718     7/30/1963
Letter to Robert LaBrosse, Cottage Grove Township, re: Notification of Intent to Install and Operate a Waste     3M_MN00001428     11/26/1963
Disposal Facility at Chemolite Plant
Interoffice Correspondence to J.A. Brown, 3M, re: Request for Temporary Approval of Wet Scrap Dumping Permit     3M_MN00001429     12/5/1963
at Woodbury Dump Site
Interoffice Correspondence re: Water Pollution Control, State of Minn. Notice to Discontinue Acid Disposal at    3M_MN00000727     1/6/1964
Woodbury
Letter to Harold Jones, Woodbury, re: Temporary Use of Woodbury Site                                             3M_MN00001431     1/7/1964
Letter to John Pilney, 3M, re: Response Actions at the Chemolite Site                                            3M_MN00000277     2/6/1964
Interoffice Correspondence to All 3M Lab Personnel, re: Disposal of Waste Solvents Down the Sinks                3M_MN00001432     3/2/1964

Letter to Lyle Smith, MDOH, re: Disposal of Liquid Wastes                                                        3M_MN00001433     3/30/1964
Interoffice Correspondence to H.S. Parkinson, 3M, re: Well water Pollution-Woodbury Township Dump Site Area      3M_MN00000164     5/5/1966

Interoffice Correspondence to H.S. Parkinson, 3M, re: Well water Pollution-Woodbury Township Dump Site Area      3M_MN00001435     5/5/1966

Interoffice Correspondence to H.S. Parkinson, 3M, re: Well Water Problem at Woodbury Dump Site                   3M_MN00001437     6/1/1966
Letter to O.M. Bielenberg, Chairman, Woodbury Township Board, re: Testing of Water Samples and Cessation of      3M_MN00001438     7/22/1966
Dumping
Interoffice Correspondence re: Meeting with State Health Dept. Officials on Woodbury Well Water Problem          3M_MN00001439     8/11/1966

Interoffice Correspondence re: Woodbury Township Meeting to Discuss Well Water Problem                           3M_MN00001441     8/23/1966
Interoffice Correspondence to D.R Guthrie, 3M, re: Residence Well Water Sampling in Woodbury Township and        3M_MN00000728     10/18/1966
Cottage Grove Village
Letter to O.M. Bielenberg, Chairman Woodbury Township, re: Well Water Problem in Woodbury Township               3M_MN00001445     12/20/1966

Letter from to Lyle Smith, MDOH, re: Progress on Well Water Problem in Woodbury Township                         3M_MN00001447     12/22/1966
Interoffice Correspondence to H.J, Wessel, 3M, re: Comparison of Stratigraphic Columns at the Abresch Dump       3M_MN00001450     1/3/1967
Site and 3M Woodbury Disposal Area
Letter from to Lyle Smith. MDOH, re: Progress Report – Well Water Problem in Woodbury Township                   3M_MN00001451     2/2/1967

Interoffice Correspondence to W.W. Watson, 3M, re: Wet and Dry Scrap Disposal at 3M Plants                       3M_MN00000383     3/3/1967
Letter to J T. Ling, 3M, re: Approval to Discharge Water to Mississippi River with Attached Permit               3M_MN00001455     4/17/1967
Interoffice Correspondence re: Meeting Minutes Open Field Burning for Wet Scrap Accumulation at Woodbury         3M_MN00000731     11/30/1967

Interoffice Correspondence re: Open Cell Burning at 3M Disposal Site in Woodbury Village                         3M_MN00001460     1/9/1968
Memorandum to C.E. Kiester, 3M, re: Woodbury Questions with attached List of Possible Questions                  3M_MN00000469     1/11/1968

Letter to Harold Kernkamp, Mayor, Village of Cottage Grove re: Request for Approval, Open Cell Burning at 3M     3M_MN00001461     1/11/1968
Disposal Site in Woodbury Village
Letter to Orville Bielenberg, Mayor, Village of Woodbury re: Request for Approval, Open Cell Burning at 3M       3M_MN00001464     1/11/1968
Disposal Site in Woodbury Village
Letter to C.E. Kiester, 3M, re: Pumping Test on Woodbury Well No. 1 and Conclusions                              3M_MN00001467     1/25/1968
Letter to John Badalich, MPCA, re: Open Cell Burning at 3M Disposal Site in Woodbury Village                     3M_MN00001475     1/31/1968
Letter to 0. Bielenberg, Mayor, Woodbury Village re: Open Cell Burning at 3M Disposal Site in Woodbury Village   3M_MN00001476     1/31/1968
with attached Report
Interoffice Correspondence to D.R. Guthrie, 3M, re: Progress Report on Groundwater Problem at Woodbury Site      3M_MN00001484     5/2/1969

Interoffice Correspondence to D.R. Guthrie, 3M, re: Progress Report No. 2 on Groundwater Problem at Woodbury 3M_MN00000735         11/7/1969
Site
Letter to R.D. Miller, MPCA re: Effluent Quality from 3M Chemolite Treatment Plant                           3M_MN00001501         8/12/1970
Interoffice Correspondence to H.G. Bryce, 3M, re: Comments on “The Ecological Aspects of Fluorocarbons”      3M_MN00000145         8/31/1971

Interoffice Correspondence to R.M. Adams, 3M, re: "Ecological Aspects of Fluorocarbons- -your memo 7/14/71"      3M_MN00000147     9/13/1971

Letter to C.E. Kiester, 3M, re: Sludge from the 3M Incinerator Plant Residue                                     3M_MN00001520     10/1/1971
Interoffice Correspondence to D.E. Pederson, 3M, re: Disposal of Dewatered Sludge, 3M Chemolite                  3M_MN00001521     10/5/1971
Letter to David Champion, Wash. Cnty. Admin., re: Routine Investigation of Washington County Landfill            3M_MN00000327     3/20/1974

Interoffice Correspondence to L.C. Krogh, 3M, re: Record of Telephone Conversation with William Guy, UF -        3M_MN00000293     8/20/1975
Fluorocarbons in Human Blood Plasma
Interoffice Correspondence to J D. La Zerte, 3M, re: Fluorocarbons in Human Blood Plasma                         3M_MN00000741     9/23/1975
Letter to Richard Svanda, MPCA, re: 3M Chemolite Plant NPDES Permit                                              3M_MN00000742     11/16/1976




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Interoffice Correspondence re: Report to Corporate Responsibility Committee on Progress - Fluorochemicals in        3M_MN00000744    10/18/1977
Blood
Internal Correspondence to F A. Ubel, 3M, re: Serum Sample Results - Trace Fluorochemicals                          3M_MN00000296    11/21/1977
Interoffice Correspondence re: Chemolite Landfill Meeting Minutes and Status Report                                 3M_MN00000354    5/8/1978
Interoffice Correspondence, Memo to File, re: Visit to duPont Haskell Laboratories and Present 3M's Findings with   3M_MN00000477    6/1/1978
Respect to Levels of Fluorochemicals in the Blood of Personnel
Letter to Jeff Harthum, MPCA, re: Response to Request for Information related to Disposal of Wastes in Oakdale,     3M_MN00000353    6/25/1979
Minn.
Internal Correspondence, 3M, re: Meeting Minutes from 07/20/79 meeting with DuPont in Chicago on                    3M_MN00000290    8/28/1979
Fluorochemical Exposure on Employees
Letter to Arthur Potthoff, OCAW Union, re: 3M Medical Department Programs for Production and Maintenance            3M_MN00001525    12/28/1979
Workers
MPCA Office Memorandum re: Meeting with 3M Representatives Concerning the Oakdale Dump                              3M_MN00000348    11/10/1980
Interoffice Correspondence to F.A. Udel, 3M, re: OSHA Inspection of Chemolite 03/20/80                              3M_MN00001526    3/24/1980
Interoffice Correspondence to F.A. Udel, 3M, re: OSHA Inspection of Chemolite 04/03/80                              3M_MN00001528    4/4/1980
Memorandum to Steve Mackay, OSHA Investigation of Chemolite Plant                                                   3M_MN00001530    5/15/1980
Internal Correspondence to R. L. Ahlness, 3M, re: OSHA Closing Conference 05/16/80                                  3M_MN00001531    5/19/1980
Letter to Russell Susag, 3M, re: Request for Disposal Information from 3M at Oakdale Site                           3M_MN000000351   6/5/1980
Internal Correspondence to John Verstraete, 3M, re: Disposal Information by 3M at Oakdale Site                      3M_MN00000474    6/27/1980
Letter to Russell Susag, 3M re: Transmittal of Draft Report for 3M Woodbury Disposal Pits                           3M_MN00000758    8/11/1980
Phone Conversation notes with Paul Hoff, MPCA, re: Release of Information to News Media                             3M_MN00000333    10/10/1980
Letter to EPA re: Section 8(e) Toxic Substances Control Act - Potassium Salt of Perfluoroalkyl Sulfonates           3M_MN00001533    11/19/1980

Letter to Terry Hoffman, MPCA, re: Selection of Barr Engineering for Geohydrological Study at Oakdale Site          3M_MN00001536    12/12/1980

Letter to Russell Susag, 3M, re: Confirmation of Barr Engineering for the Geohydrological Study at Oakdale Site     3M_MN00001538    12/22/1980

Internal Correspondence to R.A. Paschke, 3M, re: Release of Barr Engineering Draft Work Plan to Newspapers and 3M_MN00000782         1/15/1981
Oakdale Active Citizens Organization
Letter to T. Sherkenbach re: Notice of Future Report on 3M Composition of Wastes Disposed at the Oakdale Site. 3M_MN00000350         1/27/1980

Internal Correspondence to J.D. LaZerte, 3M, re: Meeting Minutes with DuPont in Chicago 01/16/81 concerning         3M_MN00000288    1/30/1981
Toxicology Information - Redacted
Single Page – Letter to EPA re: Section 8(e) Toxic Control Substances Act – Perfluoroalkane Carboxylic Acids and    3M_MN00000783    3/20/1981
Corresponding Ammonium Carboxylates
Letter to Russell Susag, 3M, re: Information Request Concerning Alleged Disposal Site at Chemolite Plant Along      3M_MN00001539    5/4/1981
the Mississippi River
Letter to Louis Breimhurst, MPCA, re: Response to Request for Information on Waste Disposal at Chemolite Plant      3M_MN00001542    5/29/1981
from 1950 to 1955
Letter to Michael Ayers, MPCA, re: Water Well Locations, Groundwater Hydrology, and Well Construction at the        3M_MN00001544    7/28/1981
Chemolite Plant
Internal Correspondence to J.J. Verstraete, 3M, re: Meeting on 10/01/81 concerning 3M Future Policy on Oakdale      3M_MN00000343    9/21/1981
Disposal Site Problem
Internal Correspondence, 3M, re: Oakdale Newspaper Clippings/Sound Clips                                            3M_MN00000376    10/21/1981
Letter to Michael Ayers, MPCA, re: Work Plan - Hydrogeological Investigation of Disposal Areas at the 3M            3M_MN00001563    11/17/1981
Chemolite Plant
Internal Correspondence to R.A. Paschke, 3M, re: Oakdale Industrial Waste Sites: A Selected Chronology of Events    3M_MN00000207    12/1/1981

Letter to R. Rakshpal, EPA, re: Rat Fetus Eye Lens Change Not Due to Fluorochemicals                                3M_MN00001570    2/12/1982
Letter to Michael Ayers, MPCA, re: 3M Chemolite Hydrogeologic Investigation                                         3M_MN00001572    3/18/1982
Letter to R.A. Paschke, 3M, re: Request for Plan for Further Study and Remedial Action at Oakdale Disposal Sites    3M_MN00001610    5/6/1982

Letter to Louis Breimhurst, MPCA, re: 3M Agreement to Fund Additional Study                                    3M_MN00001613         5/21/1982
Letter to Russell Susag, 3M, re: MPCA Confirmation of Additional Study with Addendum at Oakdale Disposal Sites 3M_MN00001616         6/8/1982

Letter to Gary Paulson, resident Lake Elmo, re: Analytical Testing of Water Samples                                3M_MN00001618     6/25/1982
Letter to Franklin Griffith, 3M, re: Review of Developmental Toxicology Safety Evaluation Studies of FC143 in Rats 3M_MN00001622     11/10/1982

Internal Correspondence to L.W. Lehr, 3M, re: Response to Request for Status Report on Oakdale Dump Situation 3M_MN00000345          1/21/1983

Letter to Russell Susag, 3M, re: Draft Consent Order and Stipulation Agreement for Oakdale Disposal Sites           3M_MN00001624    4/20/1983

Letter to Gary Paulson, resident Lake Elmo, re: Proposed Market Value Reduction for Homes in Landfill Area          3M_MN00000508    6/20/1983

Letter to Michael Ayers, MPCA, re: 3M Chemolite Hydrogeological Investigation                                       3M_MN00001631    7/13/1983
Letter to Robert Lockyear, Washington Cnty Planning Dept., re: Disposal of Dry Scrap from 3M Facilities             3M_MN00000329    9/2/1983

Letter to J. Michael Osborne, 3M, re: Request for Additional Information on 3M Process Operations                   3M_MN00001657    10/12/1983
Internal Correspondence, 3M, re: Oakdale Newsletter to be Published on Monthly Basis                                3M_MN00002866    2/17/1984
Letter to Craig Mattson, City of Oakdale, re: Confirmation of Meeting with MPCA concerning Current Status of        3M_MN00001666    6/5/1984
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System
Letter to L.F. Ludford, 3M, re: Appreciation for Communications activities to Keep Citizens Informed                3M_MN00000785   1/30/1987

Memorandum to F.T. Vikingsta, 3M, re: Recovery Unit Justification                                                 3M_MN00000463     9/13/1989
Letter to Residents within the SW-1 Advisory Area re: Recent Developments with Groundwater Contamination          3M_MN00000786     11/15/1989
from the SW-1 Landfill
Memo to H J. Wessel, 3M, re: Results of Dump Site Test Borings and Recommendations                                3M_MN00001423     7/26/1960
Internal Correspondence to R.A. Paschke, et al., 3M, re: Woodbury Update Report                                   3M_MN00039613     12/16/1992
Internal Correspondence to R.H. Susag, et al., 3M, re: Woodbury Update Report                                     3MA00262822       1/21/1993
Letter to Thomas Aschenmacher, 3M, re: Review of CRA Proposed Work Plan for the Woodbury Site                     3MA00264445       2/18/1992
Letter to Bruce Liesch, CPG, re: Termination Notice for Work Associated with the Woodbury Site                    3MA00264276       8/24/1993
Internal Correspondence to R.H. Susag and M.C. Goldsmith, 3M, re: Response to MPCA Request for Historical         3MA00285582       10/13/1992
Information for Woodbury
Email Correspondence to B.E. Hartz et al., 3M, re: Response to Pioneer Press Article and Water Treatment System   3MA01956169       9/17/2006
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Email Correspondence to John Pilney et al., 3M, re: Notes from Meeting to Discuss the Issue of Managing           3MA00994711       8/11/1999
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Email Correspondence to D.M. Schnobrich et al., 3M, re: FC Waste Initiative                                       3MA01196704       10/11/2001
Email Correspondence to L.M. Zabel and A.E. Short, 3m, re: Disposal of Fluorochemicals at Rosemount Landfill      3MA01166950       5/1/2001

Letter to Gerald Stahnke, MPCA, re: Transmittal of 3M’s Woodbury Site History,                                    3MA00846469       8/20/1992
Internal Correspondence to B.H. Davis, et al., 3M, re: Topics for Discussion for Meeting on Woodbury 07/15/92     3MA00285593       7/10/1992

Internal Correspondence to M.A. Beattie et al., 3M, re: Notes of Meeting to Discuss Short and Long Range Plans    3MA00269058       5/8/1995
for Woodbury Site
Email Correspondence to T J. Flick et al., 3M, re: Spent Phase III Carbon                                         3MA01048747       5/17/2005
Email Correspondence to M.A. Santoro, et al., 3M, re: FC Emission Reduction Efforts                               3MA00044076       8/17/2001
Email Correspondence to Thomas Ashenmacher, 3M, re: Misidentified Waste from Decatur Chemical                     3MA01634182       11/19/2004

Email to E. Reiner re: Draft Procedure for Disposal and Handling of FC Wastes                                     3MA01410733       9/12/1996
Email Correspondence to Larry Zobel, 3M, re: Establishment of a Trace Fluorine Analytical Laboratory at 3M        3MA00032535       11/16/2000

Internal Correspondence to W.H. Pearlson re: Examination of Plant Personnel for Distribution of Fluorinated       3MA00057895       7/7/1983
Organics
Email Correspondence String to Dana Schnobrich, 3M, re: Oxy-pyrohydrolysis Method for Breaking C-F Bonds in       3MA01167230       11/7/2002
FC Wastes
Email Correspondence to S.P. Brinduse et al., 3M, re: Fluorochemical Test Results                                 3MA00756954       3/17/2005
Internal Correspondence to C.W. Hansen, 3M, re: Notice of Meeting to Discuss Levels of FC in Workers              3MAS00058191      5/5/1980

Internal Correspondence, 3M, re: Meeting to Finalize Plans for Informing Individual and Parties of                3MA00047850       6/3/1980
Fluorochemicals in Blood Situation
Email Correspondence to Laura Solem and Summer Streets, MPCA, re: FW PFC Information                              STATE_1167661     5/20/2010
Email Correspondence to Todd re: Soil Stockpile Info                                                              3M_MN00714454     11/8/2001
Memorandum to Mark Gaetz, 3M, re: 3M Water Supply Evaluation                                                      3MA00048481       8/20/2001
Letter to David Douglas, MPCA, re: 3M Chemolite Facility, Cottage Grove, Minnesota                                3MA00607370       4/20/2001
Memorandum to Mark Gaetz and Todd Fasking, 3M, re: Data Quality Objectives (DQO)-Cottage Grove FC Disposal        3MA00275887       7/9/2002
Area
Email Correspondence to Todd Fasking and Tina Galloway, 3M, re: Cottage Grove Sludge Sample Results               3MA01326865       8/2/2005

FC Team Meeting Notes from 04/28/09                                                                               3M_MN00996381     4/29/2009
Email Correspondence String to Nathan Briffett, 3M, re: Use of Carbon Treatment for PFOS at 3M Gorseinon          3MA01835241       3/15/2007

Email Correspondence to Todd Fasking, 3M re: CG Carbon                                                            3MA00948245       1/26/2004
Email Correspondence to B.A. Gibson and H.H. Harapan, 3M, re: Building 15 Roof Removal                            3M_MN00705018     9/11/2008
Email Response to Tina Berg, 3M, re: Draft SD003 PFOS Limit                                                       3M_MN00703594     9/29/2010
Email Correspondence to R. A. Paschke, 3M, re: Cottage Grove/Woodbury Update                                      3M_MN00585512     3/17/2004
Email Correspondence to Mark Gaetz, 3M, re: 3M CG Fire Training Pond Liner Issues                                 3M_MN00707240     4/7/2010
Internal Correspondence to C.W. Olson, 3M, re: Fluorochemicals in the Environment                                 3M_MN00047092     2/5/1992
Email Correspondence to W.D. Hirsh et al., 3M, re: List of Potential Products on EPA Hit List                     3M_MN00017226     5/16/1991
Email Correspondence to R.D. Howell, 3M, re: FC-143 Issues                                                        3M_MN00047228     11/18/1991
Interoffice Correspondence to H.G. Bryce, 3M, re: Comments on “The Ecological Aspects of Fluorochemicals”         3M_MN00047231     8/31/1971

Interoffice Correspondence to R. M. Adams, 3M, re: Ecological Aspects of Fluorocarbons – your memo 7/14/71        3M_MN00047234     9/13/1971

Internal Correspondence to Craig Burton, 3M, re: Environmental Concern with Fluorochemicals                       3M_MN00047239     9/15/1992
Internal Correspondence to S.M. Leahy, 3M, re: Fluorochemical Steering Committee Meeting Concerning               3M_MN00047270     7/22/1992
Technical Sub-Committee
Letter to J.W. Gillett re: Request for Review and Comment on “Projects to Investigate Fluorochemicals in the      3M_MN00047331     2/2/1993
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02/16/93 concerning Preparing Proposals for Priority 1 and 2 Studies
Internal Correspondence to C. Bros et al., 3M, re: Transmittal of Materials Distributed at the 10/7/92             3M_MN00047369   3/18/1993
Fluorochemical Technical Advisory Committee Meeting
Internal Correspondence to C. Bros et al., 3M, re: Transmittal of Materials Distributed at the 10/7/92             3M_MN00047399   3/18/1993
Fluorochemical Technical Advisory Committee Meeting
Email Correspondence to Jess Eldridge, 3M, re: Well Sampling At Woodbury                                           3M_MN00047472   4/12/1994
Internal Correspondence to C. Bros et al., 3M, re: Review of Draft Health Hazard Summary for FC-143                3M_MN00047474   4/14/1994

Email Correspondence to S. Beach, 3M, re: TSCA 8(e) on FC-143                                                      3M_MN00047478   7/19/1995
Memorandum to D.L. Bacon, 3M, re: Performance Evaluation of Robert Howell                                          3M_MN00047520   2/28/1996
Email Correspondence to Lael Pickett, 3M, re: J.F. Colbert File Notes from DuPont/3M Teleconference 1/31/97        3M_MN00047598   2/13/1997

Email Correspondence to Al Zeitz and Marylee Maendler, 3M, re: Preparation for DuPont Tox/Env’tl Meeting           3M_MN00047601   2/14/1997

Email Correspondence to William Weppner, 3M, re: Tox/Env’tl Issues – DuPont Risk Assessment                        3M_MN00047604   2/27/1997
Letter to Roger Zipfel, DuPont, re: Confirmation of Term and Conditions for Analytical Testing Services by 3M to   3M_MN00047612   4/17/1997
DuPont
Email Correspondence to Jean Sweeney, 3M, re: Recommendation for Appointment of James Kotsmith to                  3M_MN00375304   10/19/2009
Manager Health Safety and Environmental (Level 14)
Email Correspondence to Robert Paschke, 3M, re: Brief Timeline Concerning Waste Disposal                           3MA01249333     1/26/2005
Email Correspondence to Robert Junnier, Weston Solutions, re: Oakdale RD/RA – Disposal Locations                   3MA02662302     1/19/2009

Memorandum to Robert Criswell, MPCA, re: Response to Comments on SW-383 Permit Reissuance Application              3M_MN00568252   6/20/2008
and Addendum for the 3M Waste Containment Vault
Email Correspondence to Cliff Jacoby et al, 3M, re: Oakdale Combined Discharge Sampling for June 09                3M_MN00575950   5/22/2009

Email Correspondence to Gary Hohnstein, 3M, re: Ozone Treatment of Wastewater                                      3M_MN00506797   12/23/2008
Email Correspondence to Nate Arthur, Wash Cnty, re: Conference Call Information Concerning 3M PFC Wastes           3M_MN00582326   11/3/2008

Email Correpondence to R. Paschke, 3M, re: CEP Priorities                                                          3M_MN00696812   2/11/2011
Email Correspondence to D. Stang et al., 3M, re: Agenda for the Consent Order Management Team Meeting              3MA02631291     6/16/2008
06/17/08
Letter to K. Haberman re: Investigation Report 3M Company Woodbury Minnesota 02/1994                               3M_MN00001678   2/25/1994
Email Correspondence to Tom Ashenmacher, 3M, re: Landfill Question related to Woodbury FC Soils                    3M_MN00583859   8/18/2009

Email Correspondence to K.M. Winogrodzki re: 3M Disposal at Woodbury                                      3M_MN00585503            7/10/2003
Email Correspondence to Gary Hohenstein, 3M, re: Request by MPCA to Add FC to Annual Sampling at Woodbury 3MA01544777              3/6/2006

Email Correspondence to Robert Paschke, 3M, re: Historical Woodbury Residential Well Sampling                      3MA00555642     4/13/2005
Email Correspondence to James Kotsmith, 3M, re: Woodbury Update                                                    3M_MN00568709   6/30/2008
Email Correspondence to Justin Pettinelli, 3M, re: EPM – Task Addition                                             3M_MN00896478   12/21/2010
3M Internal Correspondence to Paul Ackerman, et al., 3M, re: Fluorochemical Steering Committee Meeting             3MA00323846     11/17/1993
Minutes
Email Correspondence to Robert Paschke, 3M, re: Brief Timeline for 3M Waste Disposal                               3M_MN00002947   1/26/2005
Defendant 3M Company’s Corrected Non-confidential Memorandum in Support of its Motion for Summary                  3M_MN00020069   12/10/2008
Judgement on Plaintiffs’ Negligence, Nuisance, Trespass and Punitive Damages Claims
Letter from S.Kalkstein to The editor of the Fire journal of the NFPA                                              3M_MN02267863   6/15/1970
Letter from H. Bryce & J. Long to C. Babcock                                                                       3M_MN02267865   ND
Memo from F. Junghans to L. Nelson                                                                                 3MA00077798     9/14/1964
Letter from R. Wands                                                                                               3MA00214098     11/24/1961
Memo re Teratogenicity of Two Fluorochemical Compounds in Rats (Study Numbers 980TR0008 and 680TR0010              3M_MN02327312   11/12/1980

Letter from M. Osborne to J. Hansmeyer re requested leachate and composition date for the boiler ash and iron      3M_MN00000166   4/27/1978
oxide sludge
Memo from R. Susag re Meeting Notice for 9:30 AM Wednesday, April 5                                                3MA00281185     3/28/1978
Memo re Minutes of the Chemolite Waste Diposal and Water Conservation Committee Meeting                            3MA00456259     6/9/1959
Memo from JMO to MJB re Encapsulation of Hazardous Material                                                        3MA00280412     6/27/1979
Letter from J. Menter to R. Susag re 3/7/1979 discussions                                                          3MA00280898     3/9/1979
Meeting Memorandum - Wednesday, December 19, 1973, 8:15 AM, 42-5W (Meeting Minutes Chemolite Sludge                3MA00456549     12/20/1973
Thickening Project)
Memo from M. Goldsmith & K. Knoblock to J. Brown re Woodbury Township Dump Site                                    3M_MN00048254   7/10/1963
Memo from K. Knoblock to J. Brown re Woodbury Township Dump Site                                                   3M_MN00048258   7/26/1963
Memo from C. Kiester to J. Ling re Woodbury DIsposal Site                                                          3MA00336067     4/26/1973
Letter from M. Santoro to M. Ayers re 3M Chemolite Hydrogeologic Investigation                                     3MA00067546     11/17/1981
Internal Correspondence from G. Hohenstein to L. Hoffmeier re Chemolite Phase I Sludge                             3MA00854462     5/26/1982
Memo from C. Kiester re Investigation of Woodbury Dump Site                                                        3M_MN00000140   12/5/1963
Letter re Response to the July 12, 2007 MPCA Request for Information on Historical Operations at the 3M Cottage    3M_MN01392934   11/30/2007
Grove Facility
Letter to Document Processing Center of Office of Pollution Prevention and Toxics at EPA from W. Weppner re        3M_MN00439748   12/22/2000
Information on Perfluorooctane Sulfonates and Related Compounds




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Letter to R. Taber from H. Birnbaum                                                                            3M_MN01314624   6/7/1966
Letter to H. Hays (National Research Council) from R. Wands                                                    3M_MN01314847   12/19/1963
PFOA M/S & E - 9b: Blood Levels of RF/F In Selected Employees                                                  3M_MN01692291   6/20/1978
Internal Correspondence to L. Krogh from L. Ludford                                                            3MA00065421     9/8/1981
Email to J. Butenhoff et al from R. Purdy re Risk to the environment due to the presnce of PFOS                3MA00242692     12/4/1998
Interoffice Correspondence from J. Belisle re Fluorochemicals in Blood                                         3MA00967424     11/3/1977
Memo of Meeting - July 12, 1978 re Fluorochemicals in Blood                                                    3MA10034915     7/14/1978
Interoffice correspondence re Meeting re Results of Animal Studies at I.R.D.C.                                 3MA10066961     5/10/1978
Interoffice correspondence re Meeting Mintes re Fluorochemicals Technical Review Committee                     3MA10066974     5/12/1978
Interoffice Correspondence from J. Belisle re Fluorochemicals in Blood                                         3MA10067224     7/29/1977
Letter from A. Boyden (Minnesota Mining and Manufacturing Company)                                             3M_MN01002429   5/11/1962
Letter from L. E. Rinehart (3M) re Ignition of Woodbury Liquid Trenches                                        3MA00337738     11/30/1964
Letter from F.A. Ubel regarding Fluorocarbons with article attachments                                         3M_MN00057505   8/25/1997
Letter from R.H. Susag to Louis Breimhurst                                                                     3MA00364080     5/21/1982
Letter to Metropolitain Waste Management Advisory Committee re Application for Reissuance of Permit SW-224     3MA00294816     11/3/1986
and Landfill Expansion: 3M Chemolite Intert Landfill
Interoffice correspondence re Meeting Minutes regarding Incinerator Ash and Wastewater Treatment Sludge        3M_MN00052172   3/22/1978
Disposal
Interoffice Correspondence from H.A. Birnbum to R.R. Burford (Chemical Division)                               3MA01789592     10/7/1966
Attachment to Letter of December 22, 2000 Supplemental Submission - Toxicology and Medical Surveillance        3MB00023926     12/22/2000

Memo from J A. Brown to H. Wessel re Proposed Dump Site                                                        3M_MN00000135   7/13/1960
Field Letter of R. C. Collins et al. re: Meeting to Discuss Merits of Woodbury Dump Site                       3M_MN00000231   7/28/1960
Field Letter of R. C. Collins et al. re Woodbury Land Fill Dump and Pollution Prevention                       3M_MN00000138   4/20/1961
Field Letter of Allan E. Miller and R.C. Collins                                                               3MA00335929     8/9/1960
Memo from C. Houdek re Rebuildng and Relocation of Sewage Pond - Chemolite Plant                               3MA00456329     12/1/1961
Interoffice Correspondence to D. H. Cochran, 3M, re: Waste Disposal Woodburv Dump Site                         3M_MN00000220   5/14/1962
Interoffice Correspondence to J.A. Brown, 3M re: Bentonite Lined Trench at Woodbury Township Dump Site         3M_MN00000379   7/26/1963

Memo to J.A. Brown, 3M, re: Acid Disposal Pit at Woodbury Township Dump Site                                   3M_MN00000717   7/10/1963
Interoffice Correspondence re: Meeting with State Health Officials relating to Woodbury Dump Site              3M_MN00001425   11/8/1963

Letter from R. Bohon (3M) to C. Alig (Naval Ship R&D) re FC-206                                                3M_MN01316603   6/25/1976
Handwritten Letter regarding "ongoing situation at Cottage Grove"                                              3MA00243643     5/30/1990
Internal Correspondence from T. Baltutis re Surfactants in Wastewater                                          3M_MN00040517   11/29/1994
Memo from T. Baltutis to J. Webster re Surfactants in wastewater                                               3MA00457772     6/3/1996
Letter from H. Rogere (Dept of Health) to F.B. Richerson (Minnesota Mining & Manufacturing)                    3MA00456232     7/15/1958
Memo re Meeting with State Health Officials Woodbury Dump Site                                                 3MA00336224     11/8/1963
Interoffice Correspondence re Investigation of Woodbury Dump Site                                              3MA00335790     12/5/1963
Letter from John Jenson (Crookston Clinic) to Minnesota Mining & Manufacturing                                 3M_MN01314620   11/10/1967
Letter to J. Jensen (Crookston Clinic) from H. Birnbaum                                                        3M_MN01314619   11/27/1967
Letter from J. West (Veterans Administration) to 3M General Offices                                            3M_MN01314623   6/12/1967
Letter from H. Birnbaum to J. West (Veterans Administration)                                                   3M_MN01314622   6/21/1967
Letter to H. Birnbaum from L. Johns (Veterans Administration Hospital)                                         3M_MN01314621   8/14/1967
Handwritten Letter to 3M Chemical Division                                                                     3M_MN01235364   2/22/1969
Letter to J. Harthum re: Response to Request for Information Pertaining to Disposal of Materials at Oakdale,   3MA00284889     6/25/1979
Minnesota
Letter to R. Susag re: 3M Disposal at Oakdale Site                                                             3M_MN00000351   6/5/1980
Letter to R. Susag re: Information Request Concerning Alleged Disposal Site at Chemolite Plant Along the       3M_MN00000218   5/4/1981
Mississippi River
Letter to L. Breimhurst, MPCA, re: Response to Request for Information on Waste Disposal at Chemolite Plant    3M_MN00000143   5/29/1981
from 1950 to 1955
Letter to J. Baskerville re: 3M Company TSCA Section 8(e) Compliance Audit ­ (04/11/00)                        3MA00847625     8/21/2000
Interoffice Correspondence from G.H. Crawford re Fluorocarbons in Human Blood Plasma                           3MA10034962     8/20/1975
Interoffice Correspondence to J.D. La Zerte, 3M, re: Presentation to Corporate Responsibility Committee on     3M_MN00000479   10/19/1977
Progress – Fluorochemicals in Blood
Memo from R. Prokop to those present re Meeting Minutes - Fluorochemicals Technical Review Committee           3MA10067042     4/12/1978

Internal Correspondence, 3M, re: Meeting to Finalize Plans for Informing Individual and Parties of             3M_MN00000756   6/3/1980
Fluorochemicals in Blood Situation
Email from D. Kriens to D. Douglas and M. Rys re 3M-PFOS and related compounds in discharge                    3M_MN00043945   6/28/2005
MPCA letter from L. Christensen to J. Ling re Notice of Violation, U.S. Environmental Protection Agency and    3MA00282920     1/11/1984
Minnesota Pollution Control Agency Hazardous Waste Violations
Notice of Violation from R. Massey (MPCA) to J. Ling (3M)                                                      3MA00611640     4/3/1984
Letter from T. Dellenbach (Washington County Department of Public Health) to G. Hohenstein (3M)                3MA00296018     8/14/1987
Letter G. Wegwart (MPCA) to J. M. Osborne (3M)                                                                 3MA00296010     8/21/1987
Letter from B. Thompson (MPCA) to G. Hohenstein (3M)                                                           3MA00278295     7/1/1988
Letter from T. Kelley (MPCA) to R. Bringer (3M)                                                                3MA00370602     9/19/1988
Letter from Eric Reiner to Wakui Katsuhiro, re: Hydrogen Fluoride Toxicity for Plants                          3M_MN04747296   6/6/1996
Bacon, Exhibit 03 - Meeting Minutes re: International Surfactant Regulations                                   3M_MN03423961   1/21/1976
Bacon, Exhibit 04 - FC-129 Biodegradability                                                                    3MA10035965     12/30/1988




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Bacon, Exhibit 06 - Meeting Minutes                                                                              3MA10066616     6/9/1976
Bacon, Exhibit 07 - Brand Transmittal Memo from Dale Bacon to John Butenhoff                                     3M_MN03108995   12/30/1992
Bacon, Exhibit 10 - Memo from Robert Howell re: Trip Report - Texas A&M Fire Training School                     3M_MN02470154   5/5/1994
Bacon, Exhibit 12 - Letter from C. Reich re TSCA Section 8e Decision                                             3MA10064459     3/20/1998
Bacon, Exhibit 13 - Memo from Donald Theissen re: Fluorochemical Steering Committee Meeting Minutes              3MA00323646     11/17/1993

Bacon, Exhibit 15 - Email from Donna Mandel re: Scientific Publication Strategy                                  3MA00467427     11/23/1999
Bacon, Exhibit 17 - Email from David Sanders re Manuscript                                                       3MA00198538     9/9/2000
Bacon, Exhibit 18 - Email from Dale Bacon re: Comments on Canadian Document                                      3MA001095838    2/7/2003
Bacon, Exhibit 19 - Email from Dale Bacon re: Comments on Canadian Document                                      3MA01095856     2/10/2003
Bacon, Exhibit 21 - Email from Eric Reiner re Articles Added to Fluorochemical Bibliography                      3M_MN03426043   8/1/2005
Bacon, Exhibit 22 - Email from Dale Bacon re Planning Document                                                   3MA00546050     1/23/2006
Bacon, Exhibit 23 - Email from Dale Bacon re Stuff (attachment: the Discovery of a new class of POP)             3MA00186126     12/26/2000

Bacon, Exhibit 24 - Email from J. Giesy re Avian Toxicity Reference Values                                       3M_MN03014876   3/13/2007
Bacon, Exhibit 25 - Email from J. Giesy to D. Bacon re Chironomid Study                                          3MA01320495     2/21/2006
Bacon, Exhibit 27 - Memo from John Giesy to Dale Bacon re Follow up to February 2, 2006 meeting (revised         3MA01320414     2/17/2006
memo)
Bacon, Exhibit 28 - Email from J. Giesy to D. Bacon re ES&T paper                                                3MA01320043     2/12/2006
Bacon, Exhibit 29 - Email from J. Giesy re paper on human blood                                                  3MA00194174     4/7/2003
Bacon, Exhibit 30 - Email from William Nelson to Dale Bacon re PFOS in fish blood                                3MA01320249     2/14/2006
Bacon, Exhibit 31 - Email from J. Giesy to D. Bacon re PFOS in the Environment                                   3M_MN01093981   7/25/2003
Bacon, Exhibit 32 - Email from Susan Beach to J. Giesy re Review on Report on PFCs in Minnesota                  3MA01420224     6/27/2006
Bacon, Exhibit 33 - Email from J. Giesy re Looking for a post-doc candidate                                      3M MN03016361   4/3/2007
Bacon, Exhibit 34 - Email from Joe Otterstetter to Rosalie Joyce re Testing                                      3MA00472514     3/11/2002
Bacon, Exhibit 35 - Email from Dale Bacon to Kathy Reed re Request for analysis of human blood samples of PFOS   3MA00186222     3/11/2002

Falco, Exhibit 02 - Email from Frances Shipman re 3M Phasing Out Some of Its Specialty Materials                 3MA01630642     5/16/2000
Falco, Exhibit 04 - Letter from Larry Wendling re Environmental, Health And Safety Measures Relating To          3M_MN02377792   3/13/2003
Perfluorooctanoic Acid And Its Salts (PFOA)
Falco, Exhibit 06 - Email from Michael Falco to Michael Nash re Assessment of Long Chain Fluorochemical Use      3M_MN04836974   1/3/2013

Falco, Exhibit 07 - Email from Gary Hohenstein to Falco re SOT Poster - Red Cross Blood Survey                   3M_MN04834654   3/9/2011
Falco, Exhibit 11 - Memo re FC Customer Letter                                                                   3M_MN04738077   2/11/1999
Falco, Exhibit 12 - FC Customer Letter 1                                                                         3M_MN04738078
Falco, Exhibit 13 - Email from Peter Koelsch re Customer Letter on PFOS and PFOA                                 3M_MN04777459   9/26/2007
Falco, Exhibit 16 - Email from Linda Zabel to M. Falco re Minutes from conference with Cottage Grove and         3MA00956222     5/11/2005
Cordova
Falco, Exhibit 18 - Email from M. Falco to Paul Johnson re Chemical Action Plan for long-chain PFCs leads to     3M_MN00848407   4/21/2010
regulatory review of TSCA regulatory options, including Section 6 rulemaking
Falco, Exhibit 19 - Memo from D. Roach to P. Riehle re Organic Fluorine Levels                                   3M_MN03269963   8/31/1984
Falco, Exhibit 20 - - Email from M. Falco re AFFF test results-query                                             3M_MN02369801   11/18/2009
Falco, Exhibit 23 - Email from Chetan Jariwala to Dan Hakes re Report on POPS                                    3M_MN03005883   6/18/2013
Falco, Exhibit 24 - Email from Mark Morken re SCA 8(e) final report transmittal - 05-200, MTDID 6285, PFBF       3M_MN00848670   3/10/2008

Reiner, Exhibit 02 - Letter from H. Butcher re Predisposal Treatment Requirements for Deluge Fluids              3M_MN01235852   4/25/1985

Reiner, Exhibit 03 - Letter from Jim Deyonshire re Foam Systems Testing, Beale A.F.B. California               3M_MN01315290     6/3/1988
Reiner, Exhibit 09 - Email from Eric Reiner to Dale Bacon re HFE-7100 Hydrolysis Study                         3M_MN01432228     9/12/1996
Reiner, Exhibit 10 - Memo from Eric Reiner to Chou Chow re Disposal of Scrap FC Electrolyte                    3MA01400474       12/30/1988
Reiner, Exhibit 11 - Email from Eric Reiner to V. Pothapragada re Questions of Fluorochemicals                 3MA00967645       8/6/1980
Reiner, Exhibit 13 - ACT 603 Activated Sludge Calculators                                                      3M_MN01433334     3/17/1997
Reiner, Exhibit 17 - Memo from R. Bohon to J. Lazerte re Fate of Fluorochemicals Phase II                      3MA10065463       5/25/1983
Reiner, Exhibit 18 - Email from Eric Reiner to Misao Shiba re RCRA                                             3M_MN04741336     9/17/1996
Reiner, Exhibit 20 - Email from Richard Purdy re Rich Purdy's resignation                                      3M_MN01427584     3/28/1999
Letter to DCO re EPA Docket ID Number OPPT-2004-0001 - Laboratory-Scale Incineration Testing of Fluorotelomer-
Based Polymers                                                                                                 3M_MN03192380     12/22/2008

Court Filings

3M's Amended Answers Attachment 1
Defendant Responses to Plaintiff First Request for Production of Documents                                                       5/17/2011
3M's Answers to First Set of Interrogatories                                                                                     5/24/2011
3M-Responses to First Set of Requests for Admissions                                                                             12/5/2011
3M's Responses to State's Second Set of RFAs                                                                                     1/9/2012
3M's Responses to 2d RFPs                                                                                                        3/9/2012
3M's Responses to State's Third Set of RFAs                                                                                      3/28/2012
3M's Responses to Fourth Set of Requests for Admission                                                                           6/6/2012
3M's Responses to State's Third Set of Interrogatories and Fourth Set of Requests for Production of Documents                    10/2/2012




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3Ms Responses to Second Set of Interrogatories and Third Set of Requests for Production of Documents                               10/3/2012

3M's Answers to the State's 4th ROGS and 5th RFPs-c                                                                                10/10/2016
Plaintiff State of Minnesota's Sixth Set of Requests for Production of Documents                                                   10/11/2016
3M's Responses to the State's Fifth Set of ROGs and Seventh Set of RFPs                                                            12/20/2016
Defendant 3M Company’s Objections and Responses to Plaintiff State of Minnesota’s Third Set of Requests for                        3/28/2012
Admission
Opening Statements – Paulson et al., v. 3M Company                                                                                 5/11/2009
Closing Statements – Paulson et al., v. 3M Company                                                                                 6/16/2009
Defendant 3M Company’s Answer to Plaintiffs’ First Set of Interrogatories and Response to Plaintiffs’ Third Set of 3M_MN00029316   9/2/2005
Requests for Production of Documents
Defendant 3M Company’s Second Amended Answers to Plaintiffs’ Third Set of Interrogatories                          3M_MN00031192   10/10/2006
Defendant 3M Company’s Sixth Supplemental Answers to Plaintiffs’ First Set of Interrogatories                      3M-MN00031772   9/21/2007
Trial Testimony of Gary Hohenstein                                                                                                 ND
Trial Testimony of Charles Kiester, Parts I & II                                                                                   ND
Trial Testimony of Katherine Reed, Parts I & II                                                                                    ND
Trial Testimony of Michael Santoro Part I                                                                                          ND
Trial Testimony of Michael Santoro Part II                                                                                         ND

Deposition
Deposition of Dean Dworak                                                                                                          2/24/2012
Vol. 1 Michael A. Santoro Deposition Transcript                                                               3M_MN00055483        9/19/2006
Vol. 2 Michael A. Santoro Deposition Transcript                                                               3M_MN00055743        9/22/2006
Deposition of Thomas Ashenmacher                                                                                                   3/7/2012
Deposition of Thomas Ashenmacher, Vol I in Maslowski et al. v 3M Company                                      3M_MN00039333        12/7/2012
Deposition of Thomas Ashenmacher, Vol II in Maslowski et al. v 3M Company                                     3M_MN00039629        12/8/2012
Deposition of Venkateswarlu Pothapragada                                                                                           4/17/2012
Deposition of Mark Gaetz                                                                                                           4/6/2012
Deposition of Robert Howell                                                                                   3M_MN00047014        11/15/2007
Deposition of James Kotsmith                                                                                                       2/9/2012
Deposition of Katie Winogrodzki                                                                                                    2/22/2012
Paulson Deposition of Donny Kriens                                                                            3M_MN00048652        11/14/2006
Transcript of Dale Bacon Deposition                                                                                                8/3/2017
Transcript of Eric Reiner Deposition                                                                                               8/1/2017
Transcript of Michael Falco Deposition                                                                                             8/23/2017
Transcript of Gordan Weum Deposition                                                                                               8/28/2017
Transcript of Linda Zabel Deposition                                                                                               8/15/2017
Transcript of Larry Zobel Deposition                                                                                               8/22/2017
Transcript of Deanna Luebker Deposition                                                                                            8/29/2017
Transcript of Kathy Reed Deposition                                                                                                8/31/2017
Transcript of Charles Reich Deposition                                                                                             8/30/2017
Transcript of John Butenhoff Deposition                                                                                            9/8/2017
Transcript of Susan Beach Deposition                                                                                               9/15/2017
Transcript of Charles Kiester Deposition                                                                                           9/14/2017
Transcript of Geary Olsen Deposition                                                                                               9/8/2017
Transcript of Michael Santoro Deposition                                                                                           9/15/2017
Transcript of David Richfield Deposition                                                                                           8/14/2012
Transcript of William Reagen Deposition                                                                                            9/18/2017
Rough Transcript of Richard Purdy Deposition                                                                                       9/21/2017

Dissertation
Harvard Ellenbogen dissertation                                                                                                    May-49

Presentation
Perfluooctane Sulfonate (PFOS) in the Environment                                                             3M_MN02252789        ND
Manufacturing Drying Team Review                                                                              3M_MN02851125        11/19/1999
Basic 3M Presentation to the Cottage Grove Planning and Zoning Commission                                     3MA00281029          7/24/1978
Cottage Grove Wastewater Carbon Study                                                                         3MA00617241          8/13/2004
Cottage Grove FC Initiative                                                                                   3MA00904546          8/4/2000
Presentation to Minnesota Pollution Control Agency                                                            3M_MN00055818        10/15/2004
Meeting Presentation on PFOS                                                                                  3MA10070188          ND
Preliminary Draft Rough Outline for Presentation to EPA                                                       3MA10054319          4/15/1998
Presentation - #1 Operational Priority - Redacted                                                             3M_MN00055734        ND
Board of Directors Presentations November 9, 1991 FC Issues                                                   3M_MN00041056        11/9/1998
3M or 3M-Sponsored Peer-Reviewed Scientific Publications/Presentations Prior to the Phase-Out                 3MA00401223          ND
Announcement (1978-2000):
Presentation to Plant Employees - Redacted                                                                    3MA01620983          ND
3M TSCA Section (e) Compliance Audit – Meeting with EPA Toxics and Pesticides Enforcement Division            3MA00229897          9/11/2000




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Calendar Entry Appointment - Presentation by Mike Santoro (Director EHS & Regulatory Affairs) focused on the        3M_MN00063561   3/11/2004
Fluorochemical Initiative
FC Communications Update Meeting, Conference Call & Net Meeting, U S. and Europe                                    3MA01071082     10/26/2004
PFC Exposure Reduction Activities at 3M and Dyneon LLC                                                              3M_MN00413227   ND
Fluorochemicals of Interest                                                                                         3M_MN00565758   ND
Presentation “Trace Fluorine Analysis”                                                                              3M_MN00000444   ND
Presentation – Informational Meeting Cottage Grove Site Remedial Investigation (RI) & Feasibility Study             3M_MN01126135   1/31/2008

Presentation entitled “Fluorine Health/Environmental Concerns”                                                      3M_MN00047260   ND
Presentation entitled “Environmental Fate and Effects of Fluorochemicals”                                           3M_MN00047522   ND
Presentation entitled “Biotransformation of Perfluorooctanoate”                                                     3M_MN00047555   11/11/1996
Working Draft – Oakdale RI/FS Presentation                                                                          3M_MN00569903   5/12/2008
Presentation tiltled "Fluorochemical Decomposition Processes - Quantification and Assessment"                       3M_MN04734885   4/27/2000
Bacon, Exhibit 16 - FC Environmental Strategy                                                                       3MA00554962     10/11/2004
Falco, Exhibit 03 - PPT: A 3M Core Technology                                                                       3M_MN00838987
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Administration of N-Ethyl FOSE-14C in Feed
Biotransformation of 14C-N-Ethyl FOSE in Rats After Administration in Feed for One Week                           3MA10043693   1/28/1983
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IV Dose of FC-143-14C
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Third Trimester - 1982                                                                                            3MA10044306   12/28/1982
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Exhibit 191 - Chemolite Resources Division Chemolite Plant Facory Operating Standard                               3MA10064412     12/22/1981
Exhibit 192 - Factory Operating Procedure                                                                          3MA00206150     7/22/1993
Exhibit 194 - Factory Experiment                                                                                   3MA00057505     1/26/1978
Exhibit 198 - Attachment 3 Typical PFOA Flowsheet                                                                  3M_MN00473624
Exhibit 199 - Attachment 2 Typical Flowsheet for PFOS                                                              3M_MN00473622
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Organic Fluorine in Blood                                                                                          3M_MN00055541   2/8/1978
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Summary Report on the Detection of Fluorochemicals in Human Blood Samples                                         3MA01453966       6/12/1998
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Call Center Script:                                                                                               3MA01169513       ND
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Appendix A Chronology of Waste Excavation and Disposal Activities                                                 3M_MN00887623     ND
Schematic Drawing – 3M Cottage Grove Wastewater Treatment System                                                  3M_MN00967585     ND
Disposal Site Locations for Cottage Grove                                                                         3M_MN01000755     ND
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Technical Information                                                                                            3MA00281033       ND
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Chronological History Woodbury Disposal Site                                                                     3MA00285902       12/28/1966
Meeting and Discussion at Woodbury Landfill Dump                                                                 3MA00335913       4/20/1961
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Authority for Expenditure: Construction of wells and pipeline to control migration of contaminated groundwater   3MA00337585       8/2/1967

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Chronological History Woodbury Disposal Site                                                                     3MA00456432       12/28/1966
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Oakdale Disposal Site Summary                                                                                    3MA00511331       ND
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3M Woodbury - Site Characterization                                                                                3MA00263553     9/7/1993
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Soil Cap Construction (Interim Remedy) 3M – Woodbury Site Meeting Minutes                                          3MA00268819     10/4/1995
Note to File re: Drums Found at Woodbury Site                                                                      3MA00268842     10/2/1995
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Figure 2-3 Well Locations Cottage Grove Site                                                                       3M_MN00416057   12/31/2008
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Analytical Report Fluorochemical Characterization of Water Samples Cottage Grove Potable Water Evaluation     3M_MN00040540        6/19/2001
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Analytical Report Fluorochemical Characterization of Water Samples Cottage Grove Groundwater Evaluation (E01- 3MA01171269          8/31/2001
1154)
Construction Completion Report D1 and D2 Areas Cottage Grove Site Cottage Grove, Minnesota                    3M_MN00711102        Jul-10
Health and Safety Plan, Carl Bolander and Sons Company 3M Cottage Grove Disposal Site Soil Removal Project    3M_MN00381356        12/9/2009
Cottage Grove, Minnesota
Excerpt From Uapproved Minutes of the Planning Commission Meeting on April 25, 2011                           3M_MN00709442        4/25/2011
Final Report PFOA and PFOS Analysis of Cottage Grove Building 25 Roofing Rock                                 3M_MN00705011        8/25/2008
Final Report PFOA and PFOS Screening Analysis of Cottage Grove Building 15 High Performance Cloth Wipes       3M_MN00705140        10/30/2008
(Revised)
Projects to Investigate Fluorochemicals in the Environment - Summary List                                     3M_MN00047244        ND
3M Technical Reports Pertaining to Environmental Issues of Fluorochemicals                                    3M_MN00047278        ND
Excerpt on History and Literature Search of Fluorocarbons                                                     3M_MN00047302        ND
Fluorochemical Project with Listing of Proposed Studies to be Developed                                       3M_MN00047363        2/16/1993
Summary of the Soil Adsorption Study of the Potassium Salt of Perfluorooctanesulfonic Acid                    3M_MN00047423        ND
3M Woodbury – Site Characterization                                                                           3M_MN00047462        9/28/1993
Environmental Laboratory Status Report - FC-143 and Related Products Ecotox Work                              3M_MN00047481        10/10/1995
3M Environmental Laboratory Contract Laboratory Work Order By Sample                                          3M_MN00047484        11/27/1995
Fluorochemical Fate and Effects Studies                                                                       3M_MN00047487        2/7/1996
Environmental Testing PFOS Products                                                                           3M_MN00047545        ND
Environmental Discussion with 3M 11/11/96                                                                     3M_MN00047548        11/11/1996
Handwritten Notes re: 3M Discussions on Environmental Persistance                                             3M_MN00047550        11/11/1996
Environmental Questions re: DuPont in Parkersburg WV                                                          3M_MN00047606        ND
Rough Draft of Minutes: 3M-DuPont Meetings 03/12-13/97                                                        3M_MN00047608        3/13/1997
Results from Analyses of Soil and Groundwater Samples from the E. I. DuPont de Nemours and Company Facility 3M_MN00047615          11/13/1997
In Parkersburg, West Virginia
Draft Guiding Principles                                                                                      3M_MN00047740        ND
Environmental Incidents Database – Environmental Spill Report re: Release of Light Water AFFF at Saint Paul   3M_MN00471667        9/20/2007
Holman Field Hanger
Figure 3 Locations of Barrel Piles and Trenches Determined from Historical Aerial Photographs at the Oakdale  MN.103.0677 000043   ND
Disposal Site
Remediation Project Archive Request re: Woodbury Addendum 2 to the Feasibility Study Notes Version            3M_MN0102817         1/9/2009

3M Environmental Laboratory Report Request re: Woodbury Soil Vapor Extraction System Emissions                     3M_MN00512307   ND
Measurements
Remedial Investigation/Feasibility Study Woodbury Site Vol. I                                                      3M_MN00413595   Feb-08




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for Woodbury Site
Remedial Design/Response Action Plan Woodbury Site                                                                3M_MN00997125    Apr-09
Minutes of Meeting, Weekly Construction Meeting 3M Woodbury Soils Excavation Project                              3M_MN00584830    9/2/2009
Untitled Project Notebook                                                                                         3M_MN01112030    2009
Redacted - Untitled Project Notebook                                                                              3M_MN01111786    2011
Redacted - Untitled Project Notebook                                                                              3M_MN0111898     2010
Final Remedial Investigation Report For the 3M Chemolite Center, Cottage Grove, Minnesota                         3M_MN00001758    Feb-86
3M Woodbury Site Characterization                                                                                 3MA00115693      9/7/1993
Sulfonated Perfluorochemicals in the Environment: Sources, Dispersion, Fate and Effects                           3MA00736677      3/1/2000
Fluorochemical Use, Distribution and Release Overview                                                             3MA10052166      5/26/1999
Health Consultation 3M Chemolite – Perfluorochemical Releases at the 3M Cottage Grove Facility, City of Cottage   3M_MN00044780    2/18/2005
Grove, Washington County, Minnesota
Draft – SMMD EHSR Council Meeting Minutes 05/04-05/05                                                             3MA01080223      5/4/2005
Comment of 3M Company on Minnesota Department of Health’s Draft Public Health Assessment on                       3M_MN00697933    10/12/2010
Perfluorochemicals in Southern Washington County, Northern Dakota County, and Southeast Ramsey County,
Minnesota
Acute Oral Administration of L-1760 to Rats                                                                       3MA01789580      1/21/1966
Toxicity Screening                                                                                                3MA10019350      3/4/1963
Final Comprehensive Report on FM 3422                                                                             3MA00326828      2/7/1979
Processing Engineering Report                                                                                     3MA00077017      Feb-71
Oral Teratology Study of FM-3422 in Rats                                                                          3MA00326722      2/18/1981
3M Waste Inventory Form                                                                                           3MA01986534      1/25/1980
Minnesota Mining and Manufacturing Company Geology Department Report No. 61-22                                    3MA00335895      12/13/1961
3M Waste Inventory Form                                                                                           3MA01986536      1/25/1980
Supplementary Engineering Report of Sludge Disposal at Chemolite                                                  3MA00456474      7/22/1969
Final Comprehensive Report: FC 95                                                                                 3MA00176880      3/15/1979
Hydro-hygenic Valuation of Foam-Extinguishing AGents                                                              3M_MN03407054    9/24/1973
3M Internal Material Safety Data Sheet Product Code F-6915 FM-3108                                                3MA00085087      7/16/1984
Disposal of Existing Stockpile of HF Tars                                                                         3MA00214086
3M Waste Inventory Form                                                                                           3MA01986532      1/25/1980
Some Probable Questions on 3M Fluorochemicals with Suggested Answers                                              3M_MN02345159    8/15/1980
HF Cell Tar Leachate                                                                                              3M_MN00720875    4/4/1984
Investigation of Waste Disposal Areas at the 3M Chemolite Plant Cottage Grove, Minnesota                          3MA00287960      Mar-82
3M Waste Inventory Form                                                                                           3MA01986528      11/13/1984
Work Plan Hydrogeological Investigationm of Disposal Areas at the 3M Chemolite Plant in Cottage Grove,            3MA00067548      ND
Minnesota
Minnesota Pollution Control Agency Complaint Report                                                               3MA00456742      2/12/1981
1984 Chemolite Water Report                                                                                       WE10267950       ND
Chemical Waste Management: Generator's Waste Material Profile Sheet                                               3MA00280394      9/19/1979
Chemical Waste Management: Generator's Waste Material Profile Sheet                                               3MA00280402      9/19/1979
Table I Particle Sizing                                                                                           3MA00280415      ND
Table II Approximate Chemical Composition: Chemolite Incinerator Ash                                              3MA00280416      ND
Table III Aproximate Chemical Composition: Chemolite Incinerator Sludge                                           3MA00280417      ND
Incinerator Slude Tables                                                                                          3MA00280484      ND
Management Plan                                                                                                   3MA00280512      1/22/1979
Chemolite Leachate Analysis: D. I. Water                                                                          3MA00281135      ND
Extended Duration Slude - Trial Burn                                                                              3MA00456964      ND
Fluorochemical (FC) Data Assessment Report 3M Company Cottage Grove, Minnesota Facility                           3MA01551778      Apr-2006
Attachment 1 - Sulfonated Perfluorochemicals in the Environment: Sources, Dispersion, Fate and Effects            3MA00043222      3/1/2000

Attachment 3 - Typical PFOA Flowsheet                                                                             3M_MN00115548    ND
Attachment 4 - Typical PFBA Flowsheet                                                                             3M_MN00115550    ND
Attachment 5 - Cottage Grove PFC Manufacturing Facility Summary of Cell Output (1976-1998)                        3M_MN00115552    ND
Attachment 6 - Summary of Cottage Grove PFC Production Records                                                    3M_MN00115554    ND
Attachment 8 - 3M Cottage Grove PFC Air Permitting History                                                        3M_MN00473762    ND
Attachment 9 - Bibliography of Articles within 3M's Possession Related to Fluorochemical Atmospheric Fate &       3M_MN00473770    11/13/2007
Transport
Attachment 10 - Cottage Grove PFC Manufacturing Plant Industrial Hygiene Sasmpling                                3M_MN00473994    ND
Attachment 11 - Summary of Off-Site Waste Disposal Locations CG Site                                              3MA02525222      ND
Summary Report: Remedial Activities Oakdale Disposal Sites                                                        3MA00113074      Mar-93
Groundwater Data Assessment Report Fluorochemical (FC) Investigation - Oakdale Site Oakdale, Minnesota            3MA01251515      Jul-05

Remedial Investigation Report [Soil Supplemental Fluorochemical Data Assessment – Addendum 1] Oakdale Site        3MA01777961      Jun-07
Oakdale, Minnesota
Picture Log without photos (Day 1)                                                                                3MA00276829      ND
Picture Log without photos (Day 2)                                                                                3MA00276832      ND
Construction Documentation Report for Washington County Sanitary Landfill Relocation to Lined Landfill Lake       STATE_04561142   Jun-13
Elmo, MN
Chronological History: St.Paul – Chemolite – Hutchnson Wet Scrap Disposal                                         3MA00512611      12/1/1989
Activated Sludge Respiration Inhibition Test Results                                                              3MA00000819      2/20/1987




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3M Technical Notebook Project No. 75-5392 26                                                                   3M_MN03414182        9/12/1975
3M Technical Notebook Project No. 75-6398 25                                                                   3M_MN03414192        10/13/1975
3M Technical Notebook Project No. 75-6398 25                                                                   3M_MN03414196        12/8/1975
Environmental Laboratory Summary Sheet                                                                         3MA00000786          1/28/1982
Environmental Laboratory Summary Sheet                                                                         3MA00000805          6/21/1979
Environmental Laboratory Work Sheet                                                                            3MA00000806          6/20/1979
Phase III Waste Sludge Pile Estimate                                                                           3MA00456833          6/13/1983
3M Technical Notebook                                                                                          3MA00717480          9/22/1975
Warbug Data Form                                                                                               3MA01409894          10/3/1975
Some Probable Questions on 3M Fluorochemicals with Suggested Answers                                           3M_MN00000174        8/15/1980
3M Company Fluorochemicals: Heptafluorobutyric Acid                                                            3M_MN03109500        ND
THIRD DRAFT FC-143 Decatur Standby Press Statement                                                             3MA00047947          4/15/1981
Recommendation Regarding Fluorochemical Exposure to Females of Childbearing Potential                          3MA00257790          4/17/1981
An Epidemiologic Mortality Study of Employees at the Chemolite Plant                                           3MA00638775          Feb-80
Notes and Comments on the Meeting 12 Apirl 1979 at the Airport Hilton San Francisco                            3MA00967577          4/12/1979
Animal Exposure Chart                                                                                          3MA01483426          ND
Product Environmental Assessment Report: Assment #81439                                                        3MA10078365          1/20/1982
Minnesota Decision Document: 3M Oakdale Disposal Site                                                          STATE_01207681       11/4/2008
Investigation of Perfluorochemical (PFC) Contamination in Minnesota Phase One - Report to Senate Environment   3M_MN00601534        Feb-06
Committee by F. Oliaei, D. Kirens, and K. Kessler
Solid Wast Perflourochemicals (PFCs) Evaluation                                                                3M_MN00697716        2008
Solid Waste Screening for Perfluorochemicals (PFCs)                                                            3MA01839154          2001
Chemical Resources Division Chemolite Plant Factory Experiment re Fractionated Perfluorobutyric Acid from      3MA00080762          7/17/1974
Totally Condensed Cell Products
Chemical Resources Division Chemolite Plant Factory Experiment re Aqueous Calcium Perfluorobutyrate            3MA01199244          10/13/1969

Chemical Resources Division Chemolite Plant Operating Standard re Perfluorobutyric Acid                        3MA01207023          3/22/1974
3M Plan to Assess and Remediate the Source of PFBA                                                             3MA01929873
PFBA Facts - 3M                                                                                                3MA02527581          Feb-07
Appendix A - Production - A.R. Diesslin: Report for March 1958 and Plans for April 1958                        3MA00076577          Mar-58
Fluorochemicals Production Department Report for January, 1958 from A.R. Diesslin                              3MA00076599          Jan-58
Flurorochemical Production and Pilot Plant Report of December, 1958 from A.R. Diesslin                         3MA00076636          Dec-56
Report on the Manufacture, Use, and Releases of PFCs at the 3M CG Facility                                     3MA02527087          11/30/2007
Technical Information 3M Brand Fluorochemical Surfactants                                                      3MA01201629          6/15/1963
Technical Report Summary Final Comprehensive Report on FM 3422                                                 3M_MN00000151        2/7/1979
Technical Report Summary Biodegradation Studies of Fluorocarbons                                               3MA01252037          8/12/1976
Technical Report Summary Biodegradation Studies of Fluorocarbons - II                                          3MA00717615          1/9/1978
Technical Report Summary Biodegradation Studies of Fluorocarbons - III                                         3MA10054929          7/19/1978
Voluntary Use and Exposure Information Profile Perfluorooctane Sulfonic Acid and Various Salt Forms            3MA00001260          4/27/2000

Dictation Taken from R. Susag by Phone - Points to Describe 3M Involvement with Three Sites in Oakdale         3MA01248573          12/8/1980

Sulfonated Perfluorochemicals in the Environment: Sources, Dispersion, Fate and Effects                        3MA00045043          3/1/2000
3M Operation Experiences with A High Temperature Kiln                                                          MN.103.1002 000165   ND
Final Remedial Investigation Report For the 3M Chemolite Center, Cottage Grove, Minnesota                      3MA00364082          Feb-86
Report on Investigation of Waste Disposal, 3M Chemolite Plant, Washington County                               3MA00456234          9/22/1958
Remedial Investigation Repot Phase 2 Fluorochemical (FC) Data Assessment Report for the Cottage Grove, MN      3M_MN01483002        Jun-07
Site
Monthly Operating Summary of Chemolite Plant Wet Scrap Incinerator Permit No. SW9                              3MA00276845          Jun-78
Site No. 8, 3M Company - Woodbury, Minnesota                                                                   3MA01946427          8/11/1980
Construction Completion Report D1 and D2 Areas Cottage Grove Site Cottage Grove, Minnesota                     3M_MN01533753        Jul-10
Construction Completion Report (RA Implementation Report) Oakland Site                                         3M_MN01362671        Dec-11
Construction Completion Report Former Main Disposal Area Woodbury Site                                         3M_MN00826383        Jun-10
MPCA Remedy Decision Document                                                                                  CHARTIS00009805      6/18/2008
Technical Report Summary re Evaluation of the Bioconcentration Potential of FM 3422                            3MA00326803          8/16/1978
Technical Report Summary re Final Comprehensive Report on FM 3422                                              3MA00176727          2/7/1979
Technical Report Summary re Final Comprehensive Report: FC 143                                                 3MA01410316          3/23/1979
Perfluorobutyrics Acid                                                                                         3MA02497530          1/10/1950
Potassium perfluorooctanoic                                                                                    3MA01828941          6/2/1954
Report to Minnesota Mining and Manufacturing Company Acute Oral Toxicity Studies on Two Materials              3MA01789595          9/21/1966

Central Analytical Laboratory Report No. 6967                                                                  3M_MN02343995        8/4/1978
Central Analytical Laboratory Report No. 6919                                                                  3M_MN02343997        5/16/1978
Product Toxicity Summary Sheet Fluorad Brand Fluorochemical Surfactant FC-95                                   3M_MN02252650        6/5/1992
Rat Teratology Study T-3351 Final Report                                                                       3M_MN02456142        12/19/1983
Acute Toxicity to Fish (Bluegill Sunfish)                                                                      AR 226-0716          6/27/2000
Acute Toxicity to Aquatic Invertebrates (Daphnia Magna)                                                        AR 226-0718          6/27/2000
Acute Toxicity to Invertebrates (Grass Shrimp)                                                                 AR 226-0784          6/28/2000
Algicidal Activity                                                                                             AR 226-0721          6/27/2000
Acute Toxicity to Aquatic Invertebrates (Eastern Oyster)                                                       AR 226-0786          6/28/2000
Technical Report Summary re Fc-389 (N.B. 50633-20-4): Aquatic Testing Results                                  3M_MN02854547        3/22/1979




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Fate of Fluorochemicals – Phase II                                                                                  3MA10065465          5/20/1983
Chronology - Fluorochemicals in Blood                                                                               3MA10035028          8/26/1977
Geology Department Report No. 60-11                                                                                 3M_MN00001421        7/22/1960
Authority of Expenditure Chemolite Sludge Dewatering Facility                                                       3MA00456507          10/23/1970
Chemolite Monthly Water Report Report No. 1                                                                         3M_MN00052163        11/3/1960
Progress Report on Ground Water Problem Woodbury, Minnesota                                                         3MA00335191          4/30/1969
Ground-Water Investigative Program at Woodbury, Minnesota                                                           3MA00286007          Jan-67
Engineering Report on Waste Water Treatment and Disposal Facilities                                                 3MA00456411          Dec-65
Technical Report Summary Final Comprehensive Report on FC 143                                                       3MA01410327          3/23/1979
Technical Report Summary Final Comprehensive Report on FC 95                                                        3MA10066577          3/15/1979
Technical Report Summary Analysis for Fluorochemicals in Blugill Fish                                               3M_MN01639704        5/1/1979
Incident Report Chemolite enter Foaming From Chemolite Wastewater Effluent                                          3MA00293930          9/10/1984
Report re Discussion of Chemolite Wastes with Mr. Johannes of the State Water Pollution Control Board               3MA00456233          8/26/1958

Status of Investigative Study Relating to an Industrial Waste Dump in Oakdale Minn.                                 3M_MN00001391        10/28/1980
Remedial Actions to Alleviate Groundwater Pollution from a Former Industrial Waste Disposal Site                    3MA00296731          9/30/1984
Authorization to Discharge and the Construct Wastewater Treatment Facilities Under the National Pollutant           3MA00277403          9/27/1985
Discharge Elimination System and State Disposal System Permit Program
Authorization to Discharge and the Construct Wastewater Treatment Facilities Under the National Pollutant           MN.103.0969 000096   6/6/1977
Discharge Elimination System and State Disposal System Permit Program
US EPA Application for Permit to Discharge Wastewater                                                               3MA00110772          2/5/2002
Hazardous Waste Generator Inspection Report                                                                         3MA00296025          6/24/1987
State Enforcement sheet                                                                                             3MA00370749          5/30/1989
Laboratory-Scale Thermal Degradation of Perfluoro-octanyl Sulfonate and Related Substances                          3M_MN04748576        7/3/2003
Incineration of Fluorochemicals with Perfluorooctanesulfonyl Moities                                                3M_MN04748860
Central Analytical Laboratory Report No. 7230                                                                       3MA00639014          10/4/1979
Products of incomplete combustion of POSF Based Fluorochemicals                                                     3M_MN04735973        9/30/1999
Bacon, Exhibit 01 - Interim Technical Report on Environmental Product Assessment of "Light Water" Agent             3M_MN01235783        1/30/1973

Bacon, Exhibit 02 - Technical Report Summary re Fate of Fluorochemicals in the Environment                          3M_MN03424083        1/9/1978
Bacon, Exhibit 08 - Technical Report Summary re Decatur, Alabama - Tennessee River Fish                             3MA01409559          5/22/1979
Bacon, Exhibit 09 - Technical Report Summary re Fate of Fluorochemicals                                             3MA01406743          6/23/1980
Bacon, Exhibit 14 - An Introduction to Perfluorooctanesulfonic Acid and Its Salts                                   3MA00347660          11/18/2003
Bacon, Exhibit 20 - Canadian Environmental Protection Act, 1999 (CEPA 1999):Ecological Screening Assessment         3MMN02513116         Jun-16
Report on Perfluorooctane Sulfonate
Bacon, Exhibit 26 - Cost-benefit analysis of repeating the chronic study of the potential effects of                3MA02513752
PFOS on reproduction in quail
Falco, Exhibit 05 - Environmental Matters and Litigation                                                            CHARTIS00021031
Falco, Exhibit 14 - FC Emisson Reduction Management Team                                                            3M_MN02998909
Falco, Exhibit 22 - Port St. Lucie, Florida Water Resample andArea Investigation for the Empirical Human Exposure   3M_MN02375068        1/24/2001
Assessment Multi-City Study
Falco, Exhibit 26 - Acute Toxicity to Fish                                                                          3M_MN03641067
Falco, Exhibit 27 - FC Core Team 2004 - 2005 Project/Process Priorities                                             3M_MN00838661
Reiner, Exhibit 05 - Technical Report Summary re Commercial Chemical Division                                       3MA00467579          9/1/1983
Reiner, Exhibit 06 - Chart                                                                                          3MA10078794
Reiner, Exhibit 07 - Products of incomplete combustion of POSF Based Fluorochemicals                                3MA01412201          6/2/1999
Reiner, Exhibit 08 - Notes from the Environmental Science Information Meeting 3/8-9/00                              3MA02512845
Reiner, Exhibit 12 - Technical Information AFFF FC-783                                                              3M_MN02369894
Reiner, Exhibit 14 - Exposure Assessment Team                                                                       3MA01405574
Reiner, Exhibit 16 - FC Exposure Assessment Plan                                                                    3M_MN00046323
Expert Report of Charles Andrews                                                                                                         9/22/2017
Interim Report #2: Determination of Serum Half-Lives of Several Fluorochemicals                                     AR226-1086           1/11/2002




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                                ATTACHMENT 2




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                                              Kirk W. Brown, Ph.D.

   Biographical Data
   Principal Consultant; KW Brown, Environmental Consultant
   Born: July 3, 1940; Bethlehem, PA
   Citizenship: U.S.A.
   Marital Status: Married           No. of Children: 3

   Education
   Ph.D., Agronomy, University of Nebraska, 1969
   M.S., Agronomy/Plant Physiology, Cornell University, 1964
   B.S., Agronomy, Delaware Valley College, 1962

   Areas of Expertise

   Fate and Movement of Salt, Oil, Metals, Organic Chemicals, Gases, Nutrients, Pesticides and Pathogens in Soil, Air
   and Groundwater Environments; Remediation of Metal and Organic Chemical Contaminated Soils and
   Groundwater; Leachability and Translocation of Metals and Organic Chemicals in the Soil Profile; Fixation and
   Stabilization of Metals in the Environment; Characteristics of Hazardous and Municipal Wastes; Industrial Waste
   Stream Identification; Classification and Fingerprinting of Waste Materials; Disposal of Municipal, Industrial, and
   Hazardous Waste by Land Treatment and Landfilling; Land Treatment of Sewage Sludge, Industrial Wastewater and
   Sludge; Bioremediation of Polluted Soils; Vapor Extraction of Soils; Toxicity and Risk-based Assessment of Soil
   Contaminants to Plants and Animals; Flux of Volatile Chemicals in Air; Air Dispersion Modeling; Influence of
   Chemicals on the Permeability of Landfill Liners; Sources and Transport of Methane; Composting of Municipal and
   Hazardous Waste; Design and Operation of Septic Systems; Nonpoint Source Pollution; Expansive Properties of
   Clay Soils; Soil Solution Sampling; Fate of Mutagenic Compounds in Soil; Mold and Fungal Growth; Reclamation
   of Drastically Disturbed Lands; Aerial Photo Interpretation; Soil Use and Suitability Classification; Agricultural
   Water Use Efficiency; Crop Water Stress; Golf Green and Athletic Field Construction; Use of Windbreaks; Soil
   Crusting; Gas Movement in Soil.
   Academic
   Professor Emeritus, Soil and Crop Sciences, Texas A&M University, 2001-Present.
   Professor, Soil and Crop Sciences, Texas A&M University, 1981-2001.
   Associate Professor, Soil and Crop Sciences, Texas A&M University, 1973-1981.
   Assistant Professor, Soil and Crop Sciences, Texas A&M University, 1970-1973.
   Visiting Scientist, Center of Plant Physiological Research, Wageningen, Netherlands, August, 1969-July, 1970.
   Research Assistant, University of Nebraska, June, 1965-December, 1969.
   Teaching Assistant, Cornell University, September, 1964-June, 1965.


   COURSES TAUGHT
   Soil Physics (Undergraduate Course No. 445) 1970-2001.
   The practical aspects of soil texture, structure, water management, as well as the theoretical aspects of soil water
   potentials, and the movement of water, ions, gas, and heat in the soil.
   Advanced Soil Physics (Graduate Course No. 617) 1970-1988.
   An in-depth study of the physical properties of soil including basic principles which regulate the dynamics of soil,
   water and ion movement, soil aeration, and soil thermal relationships. Equations describing these processes are
   presented and references to current literature are provided for outside reading.




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   Kirk W. Brown


   Reclamation of Drastically Disturbed Lands (Graduate Course No. 615) 1979-1986.
   Concepts influencing the reclamation, revegetation, and establishment of a stable ecological system on lands that
   have been drastically disturbed by strip mining, severe erosion, or toxic waste contamination.
   Land Disposal of Wastes (Graduate Course No. 616) 1987-2001.
   The theoretical and practical aspects of the land treatment and landfilling of a wide range of municipal, industrial,
   and hazardous wastes. Emphasis has been placed on the fate and mobility of various waste constituents in the soil
   and the influence of soil physical and chemical properties on constituent fate.


   Short Courses Taught
   Soil Science Institute (One month course) 1984, 1986, 1992, 1993
   Land Treatment of Industrial Waste - Chemical Engineering Society, 1982, 1983.
   Landfill Liner Design, University of Texas - 1986, 1987.

   Society Memberships
   American Society of Agronomy, 1970-2001
   Soil Science Society of America, 1970-2001
   American Chemical Society, 1970-2001
   International Society of Soil Science, 1970-2001

   Editorial Board
   Environmental Engineering Science, formerly Hazardous Waste and Hazardous Materials. 1989-2001.

   Reviewed Papers For

   Soil Science Society of America Proceeding; Soil Science, Journal of Environmental Quality; Environmental
   Engineering Science, formerly Hazardous Waste and Hazardous Materials; ATSDR; American Petroleum Institute;
   Water, Air & Soil Pollution; Waste Management & Research, Water Pollution Control Federation; Water Research;
   Waste Management; Journal of Hazardous Materials; Archives of Environmental Contamination and Toxicology.

   Elected Positions
   Chairman, ASA Section A5, 1989-90
   General program chairman for ASA meetings, 1973
   Chairman, ASA Section A3, 1972

   Committee Appointments
   National Academy of Sciences, National Research Council Committee on Environmental Technologies
       Subcommittee on Landfills (1995-1998).
   EPA Review for Risk Assessment for Petroleum Industry Hazardous Waste Listing Determination (Sept 1995).
   Environmental Geosciences Advisory Committee of the American Geological Institute representing the Soil Science
       Society of America (1993-2000).
   National Academy of Sciences (NRC) Committee on Remedial Action Priorities for Hazardous Waste Sites
       (1991-1994).
   Texas Natural Resource Conservation Commission Committee on rules on Wastewater Treatment Plant Sludge,
       Water Treatment Plant Sludge and Septic Tank Sludge Disposal (1992-1993).
   Texas Water Commission Committee to Develop Regulations on the Land Application of Sewage Sludge (1992-93).
   Faculty of Toxicology Executive Committee, Texas A&M University (1990-93).
   Texas Governor's Infrastructure Committee on Free Trade (1991).
   Oklahoma Corporation Commission on Land Application of Oil Field Drilling Waste (1990-1991).
   Texas Department of Health Ad Hoc Committee for Revising the Construction Standards for On-Site Sewage
       Facilities (1989-90).
   EPA Hazardous Waste Center Review Panel (1988).




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   Kirk W. Brown


   National Science Foundation, Environmental Engineering Div., Review Panel (1987-1995).
   Texas Dept. of Health Septic Disposal Regulations Revision Panel (1987).
   Advisory Panel to Chicot Aquifer Management Project (Louisiana). McNeese State University, LA (1987-1990).
   ASA Editorial Committee "Reaction and Movement of Organic Chemicals in Soils" 1987.
   Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) on An Assessment of the
       Effectiveness of the EPA in Identifying, Prioritizing and Cleaning Up Hazardous Waste Sites (1987-1995).
   Organizing Committee for SSSA Workshop on Utilization, Treatment and Disposal of Waste on Land (1985).
   Panel to Write Research Needs for Hazardous Wastes Treatment and Disposal for National Science Foundation.
       Drexel University, PA (1986).
   EPA Technical Advisory Panel on the Adequacy of Ground Water Monitoring at Hazardous Waste Landfills (1985).
   Panel to Write the Mutagenicity Sample Preparation Protocol for EPA (1984).
   EPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge (1984).
   Office of Water Regulations and Standards Committee on Municipal Sludge Landfilling to Advise EPA on the
       Pollutants which should be Regulated for Various Disposal Options and the Methods or Procedures to be Used
       for Regulating such Pollutants (1984).
   Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) to Determine the Effectiveness of
       Current Programs to Clean Up Uncontrolled Hazardous Waste Sites (1983-84).
   EPA Science Review Panel for Environmental Engineering Research Grants (1982-1998).
   United States Environmental Protection Agency Land Treatment Task Force (1981-1985).

   Significant Reports Resulting from Committee Assignments
   National Research Council. 1999. “Groundwater & Soil Cleanup, Improving Management of Persistent
       Contaminants”.
   National Research Council. 1994. “Ranking Hazardous Waste Sites”.
   Office of Technology Assessment, Congress of the United States of America. 1989. “Coming Clean, Superfund
       Problems Can be Solved”.
   Office of Technology Assessment, Congress of the United States of America. 1985. “Superfund Strategy”.

   University Committees
   Texas A&M University Environmental Safety and Health Committee (1987-90).
   Council of Principal Investigators, Texas A&M University (1986-1990).
   Texas Agricultural Experiment Station 5-Year Planning Board.
   Texas A&M University Faculty Forum (1979-82).
   Texas Agricultural Experiment Station Grant Support Committee (1976-77).

   Awards
   Texas A&M University College of Agriculture Award for Excellence in Teaching (1995)
   Texas A&M University System Award for Excellence in Graduate Teaching (1988)
   ASA Environmental Quality Research Award (1988)
   Fellow - Soil Science Society of America (1987)
   Fellow - American Society of Agronomy (1986)
   Distinguished Alumni Award, Delaware Valley College (1986)
   Superior Achievement Award for Research, Soil and Crop Sciences Department, Texas A&M University (1986)
   Pollution Engineering Magazine Award of Merit for Outstanding Editorial Contribution "The Case for Aboveground
       Landfills" (1984)

   Books Authored
   Hazardous Waste Land Treatment. 1983. Butterworth Publishers, 10 Tower Office Park, Woburn, MA 01801.
   Reactions and Movement of Organic Chemicals in Soils. 1989. Sawhney, B. L. and K. W. Brown. SSSA/ASA
       Publishers, SSSA Special Publication No. 22, 494 pgs.

   Professional Experience Outside the United States
   Visiting Scientist at Center of Plant Physiological Research,Wageningen (1969-70).




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   Testimony Before Legislative Bodies
   Texas House of Representatives - Environmental Affairs Committee, April 1987. Testified on the need for
       legislation to set up a waste management plan for the state.
   Texas Governor’s Taskforce on Oil Spills, February 1985. Testified on the fate of oil spill debris and disposal
       technology options.
   Texas Governor’s Taskforce on Hazardous Waste, November 1984. Testified on the effectiveness of landfills for
       disposal technology.
   Texas Governor’s Taskforce on Hazardous Waste, June 1984. Testified on the impact of organic chemicals on the
       permeability of soils.
   U.S. House of Representatives - Science and Technology Committee, November 1982. Testified on the adequacy of
       EPA's liquid management system to protect groundwater at hazardous waste landfills.
   Texas House of Representatives - Environmental Affairs Committee, April, 1982. Testified on the impact of organic
       chemicals on the permeability of clay liners.

   Consulting
   Founder and President of K. W. Brown and Assoc., Inc., (1980- 1991). Chief technical consultant to K. W. Brown
   Environmental Services (1991-1999), SI Group, LP (2000-2009), TTI Environmental Consultants (2009–2011),
   and as an independent consultant (2011-Present). Past consulting activities have included assignments with
   Dupont, Alcoa, General Motors Corporation, Minnesota Mining & Manufacturing, WR Grace, Owens Corning,
   Union Pacific Railroad, Chevron, Shell, Exxon, Texaco, Arco, Sunoco, El Paso Products, New York Attorney
   General's Office, Illinois Attorney General's Office, Minnesota Attorney General’s Office, Minnesota Pollution
   Control Administration, U.S. EPA, U.S. Army Corps of Engineers, and U.S. Dept. of Justice.

   Consulting activities have included consultations on the cleanup and disposal of wastes, the impacts of hazardous
   waste on the environment, assessment and remediation of exploration and production releases, the design of
   hazardous waste landfills and solid waste management units, and the fate and mobility of chemicals in the soil,
   groundwater, and air, as well as, providing expert testimony at permit hearings, mediation hearings, civil suits, and
   before legislative bodies on these topics. My expertise has been utilized for site assessments, data review and
   interpretation, the study of fate and transport of contaminants in the environment, waste management activities,
   historical oilfield and landfill operations, and other related environmental matters. I have reviewed and interpreted a
   large quantity of analytical data for air, soils and groundwater, as well as boring logs, field logs, technical reports,
   and other information related to the environmental conditions of a site. I have prepared and reviewed remedial
   action plans for hundreds of sites including sites contaminated with metals, organic chemicals, pesticides, biological
   pathogens and petroleum production wastes. I have designed and implemented remedial actions at numerous
   hazardous waste sites under the auspices of both state and federal regulatory authorities.

   As a consultant, I have evaluated or analyzed hazardous substances in industrial waste streams from numerous
   industries including the lumber and paper industries, the printing industry, chemical manufacturing industry,
   petroleum exploration, production, processing and refining industries, plastics and rubber products industry, leather
   tanning and finishing, metal smelting and finishing, electric utilities, and the electronic components manufacturing
   industry, among others. I have conducted extensive research on the hazardous substances contained in municipal and
   household waste with a special emphasis on the fate and mobility of these constituents in the environment after
   disposal in municipal solid waste landfills. I have provided evaluations and assessments for numerous waste
   disposal and landfill sites including the following: Love Canal Landfill, Lowrey Landfill, Helen Kramer Landfill,
   Junker Landfill, Lemberger Landfill, Laurel Park Landfill, Beacon Heights Landfill, RCA-Buzby Landfill,
   Valleycrest Landfill, Boarhead Farms, Pennsauken Landfill, Lone Pine Landfill, Ft. Bend County Landfill, and
   Sinton Landfill, among others. In addition, I have also provided expert testimony for civil actions involving the
   following Superfund sites: Hardage Criner, Montana Pole, National Gypsum, Brio/Dixie Oil Processors, Sikes’ Pits,
   Turtle Bayou, Metal Bank of America, Tar Creek, and the West Dallas Lead Site.

   Guest Lectures
   Dewatering of confined dredge spoil areas. In: Second International Symposium on Dredging Technology. BHRA
      Fluid Engineering, Cranfield, Bedford, England. Paper G1:1-24. (1977).




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   Kirk W. Brown


   Revegetation of drastically disturbed lands. Texas A&M Lignite Symposium. April 17-18. (1980).
   Impact of surface mining on water quality. Texas A&M Lignite Symposium, April 17-18, 1980.
   Factors influencing the biodegradation of API separator sludges applied to soils. Presented at the Seventh Annual
        Research Symposium at Philadelphia, PA. March 16-18, 1981.
   Land treatment of industrial hazardous wastes. Presented at a Symposium and Workshop on Hazardous Waste
        Management. Louisiana State University, November 16-20, 1981.
   Effect of organic chemicals on clay liner permeability. A review of the literature. Presented at the Sixth Annual
        Research Symposium at Philadelphia, PA. 1981.
   Land disposal of oily wastes. Brest, France. August, 1982.
   Influence of organic liquids on the permeability of clay soils. Harwell, Great Britain. July, 1982.
   Use of sewage effluent for irrigation. Adelaide, Australia. June, 1982.
   Influence of organic liquids on the integrity of liners to pits, ponds, lagoons and landfills. Waste Water Analysts
        Assoc., Houston, TX. November, 1982
   Reclamation of strip mined lands. Sierra Club, Austin, TX. November, 1982.
   Waste disposal on range land. Range Science Department, Texas A&M University. College Station, TX. November,
        1982.
   The politics of hazardous waste disposal. Political Science Department, Texas A&M University. College Station,
        TX. October, 1982.
   The treatment and disposal of hazardous, industrial and toxic waste. American Society of Civil Engineers, Austin,
        TX. September, 1982.
   Effect of organic fluids on the permeability of clay soil liners. Presented at the Eighth Annual Research Symposium
        at Ft. Mitchell, Ky. March 8-10, 1982.
   The fate of mutagenic compounds when hazardous wastes are land treated. Presented at the Eighth Annual Research
        Symposium at Ft. Mitchell, Ky. March 8-10, 1982.
   The influence of chemicals on the permeability of clay liners. Presented at Hazardous Waste Conference, Chicago,
        Ill. June 28-29, 1983.
   Cleanup of chemicals spilled on soils. Presented at the Texas Agricultural Extension Service Conference, Houston,
        Texas. June 23, 1983.
   The reclamation of strip mined land. Presented at Texas Environmental Coalition in Austin, Texas Jan. 22, 1983.
   The influence of selected organic liquids on the permeability of clay liners. In: D. W. Shultz (ed). Land Disposal,
        Incineration, and Treatment of Hazardous Waste. Proceedings of the 9th Annual Research Symposium at Ft.
        Mitchell, Ky. May 2-4, 1983.
   Panel on land treatment of sewage sludge. EPA Workshop on Sewage Disposal, Denver, CO. March 1983.
   Land disposal of hazardous liquids. Waste Management Conference, Houston, TX. February 1983.
   Alternatives to land disposal of waste. Dept. of Agriculture Seminar, University of Houston. Sept. 10, 1984.
   How to write a successful research proposal. Soil Science Graduate Seminar, Soil & Crop Sciences Dept, Texas
        A&M University, Sept. 19, 1984.
   The advantages of above ground disposal. Waste Tech Conference, Houston, October 30, 1984.
   Potential groundwater implications of surface storage of toxic substances. Groundwater Symposium, Gunter Hotel,
        San Antonio, Texas. October 30, 1984.
   Clean up of spills; Alternative disposal methods. Geotechnical Engineering for Waste Disposal Symposium,
        University of Texas, Austin. November 2, 1984.
   The properties of soils and containment of waste. Environmental Engineering Seminar, Civil Engineering Dept.,
        Texas A&M University, College Station, 1984.
   Carbon dioxide flux at the earth's surface. Texas A&M University, College Station, February 1984.
   Above ground landfills in hazardous waste management schemes. National Conference and Exhibition on
        Hazardous Waste and Environmental Emergencies. Houston, Texas, March 1984.
   Fate of mutagens applied to soil. Environmental Toxicology and Pharmacology Seminar. Texas A&M University,
        College Station, March, 1984.
   Permeability of compacted soils to solvents mixtures and petroleum products. Presented at the Tenth Annual
        Research Symposium at Cincinnati, Ohio, April 1984.
   Simulation of Potential Rainfall Conservation from Two Cross-Diked Furrow Bed Designs. Texas A&M University,
        College Station. February 1984.




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   The soil scientist as a consultant. Soil Science Graduate Seminar, Panel Discussion. Soil & Crop Sciences Dept,
        Texas A&M University, Sept. 12, 1984.
   Land disposal of hazardous waste. Agricultural Engineering Dept. Graduate Seminar, Agricultural Engineering
        Dept., Texas A&M University. Sept. 13, 1984.
   Geotechnical engineering for waste disposal projects. University of Austin, Texas, October 1985.
   Monitoring the unsaturated zone. Presented at the National Specialty Conference. Land Treatment: A Hazardous
        Waste Management Alternative, April 16-18, 1985, Austin, Texas.
   Ability of sorbents to retain liquids in landfills, 10th Annual American Organization of Analytical Chemists' Spring
        Workshop, Dallas, Texas April, 9-11, 1985.
   Geotechnical engineering for waste disposal projects. University of Austin, Texas, October 1986.
   Potential health effects of hazardous waste contaminants in groundwater. Public Health Grand Rounds, University
        of Pittsburgh Graduate School of Public Health. January 23, 1986.
   Geotechnical engineering for waste disposal projects. University of Texas, Austin, October 1986.
   Influence of organic liquids on the hydraulic conductivity of soils. University of Cambridge, United Kingdom.
        September 9-11, 1987.
   Design and construction of the growth media in golf greens, Montreal, Canada, 1987.
   Groundwater pollution problems associated with fertilizers, pesticides, and leaking storage tanks. Pro Show, Dallas,
        November 1987.
   Mutagenic testing of hazardous waste sites. Southwest Environmental Mutagenic Society, Houston, November
        1987.
   The use of lime for waste disposal and treatment of hazardous waste contaminated sites. National Lime Association,
        Phoenix, AZ, April 1987.
   A soil scientist as an expert witness - Presented to the Soil Survey and Land Resource Workshop. February 19,
        1988.
   Guest lecture to Rio Brazos Audubon Society - May 2, 1988.
   Presentation to the Texas Association of Milk, Food and Environmental Sanitarians, June, 1988.
   Guest lecture to Range Science Ecology and Land Use class. Dept. of Range Science, Texas A&M University, Nov.
        18, 1988.
   Hazardous Waste: A general overview. Agricultural Engineering, Environmental and Water Resources Engineering
        and Texas Water Resources Institute Seminar, Texas A&M University, College Station, TX. January 1989.
   The need for community recycling. Environmental Organization, Civil Engineering Dept., Texas A&M University,
        College Station, TX. February 1989.
   Superfund sites: The problems and the solutions. Industrial Hygiene Seminar, Texas A&M University, College
        Station, TX. February 1989.
   Hazardous waste disposal on the Gulf Coast Texas. Texas ASA Annual Meeting. Galveston, Galveston County,
        Texas, February 1989.
   New technologies for liners - Presented at the Conference on Prevention and Treatment of Groundwater and Soil
        Contamination in Petroleum Exploration and Production. Calgary, Alberta, Canada, May 9-12, 1989.
   Guest Lecture to Range Science Ecology and Land Use Class: Dept. of Range Science, Texas A&M University,
        College Station, TX. Oct. 4, 1989.
   Ongoing and future research in the geowaste area. Presented to the Geo Waste Group Meeting, Civil Engineering
        Dept. Texas A&M University, Nov. 1, 1989.
   Waste disposal: where do we go from here? Presented to the MSC Great Issues: Environmental Symposia. Texas
        A&M University, College Station. Nov. 7, 1989.
   Innovative technologies from the 1990s in environmental matters. Presentation to South Texas College of Law
        Environmental Law Symposium, January 17, 1990.
   Waste disposal, past, present, and future. Presented at the seminar entitled "Disposing of Hazardous Materials".
        MSC, Texas A&M University, College Station, TX January 1990.
   Panel discussion session at Vertisol Management Workshop: International Collaboration in Research, Training and
        Extension. Texas A&M University, College Station, June 25-29, 1990.
   Municipal waste disposal - where do we go from here. Presentation to Texas Environmental Action Coalition, Texas
        A&M University, College Station, TX. Sept. 5, 1990.
   Presentation to the Texas Section of American Society of Agricultural Engineers, College Station, TX. October 11,
        1990.




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   Kirk W. Brown


   Presentation on golf green construction at Canadian Golf Superintendents Association Conference, Montreal,
       Canada. Dec. 11, 1990.
   Environmental Soil Science and Technology. Presentation to the 1991 Texas Agric. Experiment Station Conference
       - Environmental Soil Science Session, College Station, TX. January 1991.
   Movement of pesticides to groundwater. Presentation to the Texas Association of Agricultural Consultants. Austin,
       Texas, January 21, 1991.
   Movement of pesticides to groundwater. Presentation to the Texas Agricultural Extension Service Conference for
       Producers, Austin, TX, January 25, 1991.
   Pesticide rinsate disposal options. Presentation to the Research Center Administrators Society meeting, Dallas,
       Texas February 3-5, 1991.
   Movement of pesticides to groundwater. Presentation to the Texas Agricultural Extension Service Conference for
       Grounds Keepers. Round Rock, Texas, February 21, 1991.
   Liners for Hazardous Waste Sites. Presented at the Hazardous Waste Management Division's Lecture Series. U.S.
       Environmental Protection Agency, Region 6, 1445 Ross Ave., Suite 1200, Dallas, TX. 1991.
   Decontamination of polluted soils. Presented at the Second International Conference on the Biogeochemistry of
       Trace Elements, Taipei, Taiwan, Republic of China. Sept. 5-10, 1993.
   Using plants to reclaim contaminated sites. Crop Science Seminar. Soil & Crop Sciences Dept., Texas A&M
       University, College Station, TX, October 24, 1994.
   Vadose zone modeling of the fate and movement of volatile contaminants, Geological Society of America, South-
       central Section Conference, Austin, TX, March 12, 1996.
   Banning of liquid wastes from landfills - development of the technical data and the regulations, South Texas
       Environmental Conference, Corpus Christi, TX, March 29, 1996.
   The science behind RCRA/CERCLA enforcement (Part II), Science For Environmental Attorneys, Denver CO,
       November 6, 1997.

   Scientific Publications
   1.    Allen, L. H. and K. W. Brown. 1965. Shortwave radiation in a corn crop. Agron. J. 57:575-580.
   2.    Brown, K. W. and W. Covey. 1966. The energy budget evaluation of the micrometeorological transfer
         processes within a corn field. Agri. Meteoro. 3:73-96.
   3.    Brown, K. W. and L. J. Wright. 1967. Comparison of momentum and energy balance method of computing
         vertical transfer within a crop. Agron. J. 59:427-432. C701.
   4.    Brown, K. W. and N. J. Rosenberg. 1968. Errors in sampling and infrared analysis of CO2 in air and their
         influence in determination of net photosynthetic rate. Agron. J. 60:309-311.
   5.    Brown, K. W. 1969. A model of the photosynthesizing leaf. Phys. Plant 22:620-637.
   6.    Brown, K. W. and N. J. Rosenberg. 1969. Computer program for plotting time dependent meteorological
         data. Agric. Meteoro. 6:463-464.
   7.    Brown, K. W. and N. J. Rosenberg. 1970. Concentration of CO2 in the air above a sugar beet field. Mo.
         Weather Rev. 98:75- 82.
   8.    Brown, K. W. and N. J. Rosenberg. 1970. The influence of leaf age, illumination and upper and lower surface
         differences on stomatal resistance of sugar beet (Beta vulgaris) leaves. Agron. J. 62:20-24.
   9.    Brown, K. W. and N. J. Rosenberg. 1970. The effect of windbreaks and soil water potential on stomatal
         diffusion resistance and photosynthetic rate of sugar beets (Beta vulgaris). Agron. J. 62: 4-8.
   10. Brown, K. W. and N. J. Rosenberg. 1970. Energy and CO2 balance of an irrigated sugar beet (Beta vulgaris)
         field in the Great Plains. Agron. J. 63:207-213.
   11. Brown, K. W. and N. J. Rosenberg. 1970. Shading inverted pyranometers and measurements of radiation
         reflected from an alfalfa crop. Water Res. Res. 6:1782-1786.
   12. Rosenberg, N. J. and K. W. Brown. 1970. Improvements in the van Bavel-Myer automatic weighing
         lysimeter. Water Res. Res. 6:1227-1229.
   13. Briggs, W. W., A. R. Edison, J. D. Eastin, K. W. Brown, J. W. Marenville, and M. D. Clegg. 1971.
         Photosynthesis light sensor and meter. Ecology 52:125-131.
   14. Brown, K. W. and N. J. Rosenberg. 1971. Turbulent transport and energy balance as affected by a windbreak
         in an irrigated sugar beet (Beta vulgaris) field. Agron. J. 53:351-355.
   15. Brown, K. W. and N. J. Rosenberg. 1971-2. Shelter-effects on micro-climate, growth and water use by
         irrigated sugar beets in the Great Plains. Agric. Meteoro. 9:241-263.




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   16.   Brown, K. W. and N. J. Rosenberg. 1973. A resistance model to predict evapotranspiration and its application
         to a sugar beet field. Agron. J. 65:341-347.
   17.   Duble, R. L. and K. W. Brown. 1973. Environmental concerns for the golf superintendent. USGA Green
         Section Record. 11:10-13.
   18.   Brown, K. W. 1974. Calculations of evapotranspiration from crop surface temperature. Agric. Meteoro.
         14:199-209.
   19.   Holder, C. B. and K. W. Brown. 1974. Evaluation of simulated seedling emergence through rainfall induced
         soil crusts. Soil Sci. Soc. Amer. Proc. 38:705-710.
   20.   Brown, K. W., C. J. Gerard, B. W. Hipp and J. T. Ritchie. 1974. A procedure for placing large undisturbed
         monoliths in lysimeters. Soil Sci. Soc. Amer. Proc. 38:981-983.
   21.   Rosenberg, N.J. and K. W. Brown. 1974. "Self-checking" psychrometer system for gradient and profile
         determinations near the ground. Agric. Meteoro. 13: 215-226.
   22.   Spotts, J. W. and K. W. Brown. 1975. A technique for installing induction coils in a profile with minimum
         soil disturbance. Soil Sci. Soc. Amer. Proc. 39: 1006-1007.
   23.   Jordan, W. R., K. W. Brown and J. C. Thomas. 1975. Leaf age as a determinant in stomatal control of water
         loss from cotton during water stress. Plant Physiol. 56:595-599.
   24.   Brown, K. W. and R. L. Duble. 1975. Physical characteristics of soil mixtures used for golf green
         construction. Agron. J. 67:647-652.
   25.   Brown, K. W. 1975. A device for isolating soil columns with minimum disturbance. Soil Sci. Soc. Amer.
         Proc. 39:1008-1009.
   26.   Brown, K. W. and N. J. Rosenberg. 1975. Annual windbreaks boosts yields. Crop and Soils Magazine. p.
         8-11. Apr-May, 1975.
   27.   Brown, K. W. 1976. Chapter II. 3. Sugar beet and potatoes. In: Vegetation and the Atmosphere. (J. L.
         Monteith, ed.). Academic Press, NY. p. 65-86.
   28.   Thomas, J. C., K. W. Brown and W. R. Jordan. 1976. Stomatal response to leaf water potential as affected by
         preconditioning water stress in the field. Agron. J. 68:706-708.
   29.   Deuel, L. E., Jr., K. W. Brown, F. C. Turner, D. G. Westfall and J. D. Price. 1976. Persistence of Propanil,
         DCA, and TCAB in soil and water under flooded rice culture. JEQ 6:127.
   30.   Brown, K. W., W. R. Jordan and J. C. Thomas. 1976. Water stress induced alteration in the stomatal response
         to leaf water potential. Phys. Plant. 37:1-5.
   31.   Chaudhari, K. G., K. W. Brown, and C. B. Holder. 1976. Reduction of crust impedance to emergence by the
         addition of manure. Soil Sci. 122:216-222.
   32.   Deuel, L. E., Jr., F. C. Turner, K. W. Brown and J. D. Price. 1977. Persistence and factors affecting
         dissipation of molinate under flooded rice culture. JEQ 7:373-377.
   33.   Brown, K. W. 1977. Chapter 19. Shrinking and swelling of clay, clay strength and other bulk properties of
         clay soils and clays. In Minerals in Soil Environments. (J. B. Dixon and S. B. Weed eds.). Soil Sci. Soc. of
         Amer., pp. 680-707, Madison, WI.
   34.   Brown, K. W., R. L. Duble and J. C. Thomas. 1977. Nitrogen losses from golf green, USGA Green Section
         Record. 15:5-7.
   35.   Brown, K. W., F. C. Turner, J. C. Thomas and M. E. Keener. 1977. Water balance of flooded rice paddies. J.
         of Agr. Water Use 1:277-291.
   36.   Deuel, L. E. Jr., K. W. Brown, J. D. Price and F. C. Turner. 1977. Persistence of carbofuran and its
         metabolities, 3-keto and 3-hydroxy carbofuran, under flooded rice culture, JEQ 8:23-26.
   37.   Brown, K. W., R. L. Duble and J. C. Thomas. 1977. Influence of management and season on fate of N
         applied to golf greens. Agron. J. 69:667-671.
   38.   Brown, K. W. and L. J. Thompson. 1977. Dewatering of Confined Dredge Spoil Areas. Second International
         Symposium on Dredging Technology. 2-4, November, 1977, Texas A&M University pp. G1-1-G1-24.
   39.   Shive, J. B. and K. W. Brown. 1978. Quaking and gas exchange in cottonwood (Populus deltoides, Marsh)
         leaves. Plant Physiol. 61: 331-333.
   40.   Duble, R. L., J. C. Thomas and K. W. Brown. 1978. Arsenic pollution from underdrainage and runoff from
         golf greens. Agron. J. 70:71-74.
   41.   Duble, R. L., K. W. Brown and J. C. Thomas. 1978. Increase fertilizer efficiency and reduce nutrient loss.
         Golf Superintendent 46:28-31.




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   42.   Jones, S. G., K. W. Brown, L. E. Deuel and K. C. Donnelly. 1978. Influence of rainfall on the retention of
         sludge heavy metals by the leaves of forage crops. JEQ 8:69-72.
   43.   Brown, K. W. and J. C. Thomas. 1978. Uptake of nitrogen by grass from septic fields in three soils. Agron. J.
         70:1037-1040.
   44.   Brown, K. W., D. C. Anderson, S. G. Jones, L. E. Deuel, Jr., and J. D. Price. 1979. The relative toxicity of
         four pesticides in tap water and water from flooded rice paddies. Int. J. Env. Studies. 141:49-54.
   45.   Brown, K. W., H. W. Wolf, K. C. Donnelly and J. F. Slowey. 1979. The movement of fecal coliform and
         coliphage below septic lines. JEQ 8:121-125.
   46.   Wagner, T. L., J. A. Gagne, P. C. Doraiswamy, R. N. Coulson and K. W. Brown. 1979. Development time
         and mortality of Dendroctonus frontalis in relation to changes in tree moisture and xylem water potential.
         Environ. Entomol. 8: 1129-1138.
   47.   Brown, K. W. and D. C. Anderson. 1980. Effect of organic chemicals on clay liner permeability: A Review of
         the Literature. In: D.W. Shultz (ed.). Disposal of Hazardous Waste. Proceedings of the 6th Annual Research
         Symposium at Chicago, Illinois. EPA-600/9-80-010. pp. 123-134.
   48.   Brown, K. W. and L. E. Deuel. 1980. Revegetation of Drastically Disturbed Lands. Texas A&M Lignite
         Symposium, April 17-18, 1980. pp. 19.0-19.8
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   "Evaluate the feasibility of revegetating mixed overburden at the proposed Angelina County lignite site."
       1977-1978. Funded by the Sunoco Energy Development Company for $46,031. Final Report submitted June,
       1979.
   "Characteristics of overburden material and revegetation analysis for the Southwest Electric Power Company
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   "The impact of surface lignite mining on surface and groundwater quality." 1978-1979. Funded by the Texas Energy
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   "To investigate the feasibility of irrigation disposal of uranium stripping reclamation water." 1979. Funded by nine
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       1979. Funded by Mobil Oil Corp. for $20,000. Final Report submitted January, 1980.
   "To investigate the necessity of a sand layer between the top mixture and gravel layer in golf green construction."
       1978-1979. Funded by the United States Golf Association, Greens Section for $3,220. Final Report submitted
       March, 1980.
   "To develop a plan to minimize the volume of runoff water which must be treated and disposed of and to assess the
       feasibility of land disposal of the runoff water and sludge." 1979-1980. Funded by Texas Engineering Extension
       Service for $11,058.40. Final Report submitted April, 1980.
   "Investigate the concentration of heavy metals and certain other physical and chemical properties - Gibbons Creek
       Lignite Mine." 1980. Funded by Texas Municipal Power Agency for $12,500. Final Report submitted April,
       1980.
   "Improved water and nutrient management through high-frequency irrigation." 1977-1980. Funded by Texas Water
       Resources Institute for $179,435. Work completed June, 1980.
   "Environmental and safety aspects of the use of sulfur in highway pavements." 1980. Funded by the DOT-Federal
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   "Root distribution of bermudagrass grown on reclaimed lignite spoil." 1980-1981. Funded by the Center for Energy
        and Mineral Research for $12,590. Final Report submitted August, 1981.
   "A residual evaluation of the influence of chemicals on the permeability of soil clays." 1979-1980. Funded by the
        Environmental Protection Agency for $91,783. Report submitted December, 1981.
   "Investigate the influence of organic matter quality and placement on the establishment of grass and the physical
        properties of golf green mixes." 1979-1981. Funded by the U. S. Golf Association, Green Section for $10,177.
        Final Report submitted February, 1982.
   "Metal uptake by grasses grown on reclaimed lignite spoils." 1979-1980. Funded by the Center for Energy and
        Mineral Research for $13,100.
   "Soil disposal of API pit wastes." 1977-1980. Funded by the Environmental Protection Agency for $184,104. Final
        report submitted in 1981.
   "Evaluate subsurface landfarm contamination after long term use." 1980-1981. Funded by the American Petroleum
        Institute for $98,530. Final Report published in 1983.
   "The use of bioassays to evaluate the environmental impact of land treatment of hazardous industrial wastes."
        1980-1983. Funded by the Environmental Protection Agency for $383,732. Final Report published in 1985.
   "A review and evaluation of the influence of chemicals on the permeability of soil clays." 1981. Funded by the
        Environmental Protection Agency for $339,056. Final report published in 1983.
   "Quantify leak rates through holes in landfill liners" 1983-1985. Funded by Environmental Protection Agency for
        $232,769. Final report submitted in 1986.
   "Efficiency of soil core and soil-pore liquid sampling systems". 1983-1985. Funded by Environmental Protection
        Agency for $101,766. Final report submitted in 1986.
   "Completion of Field Investigation and an Evaluation of Mechanisms by which Organic Liquids Alter the
        Permeability of Clay Soils". 1984-1985. Funded by EPA for $59,000. Final report submitted in 1986.
   "Mobility and Stability of Mutagenic Compounds in Municipal Sewage Sludge Amended Soil." 1984-1986. Funded
        by Environmental Protection Agency. for $281,800.
   "Development of a Capillary Wick Unsaturated Zone Pore Water Sampler." 1985-1986. Funded by Environmental
        Protection Agency for $236,353.
   "Evaluation of the Thickness of Clay Liners Required to Meet RCRA Requirements". Funded by Environmental
        Protection Agency. 1987-1989. First year funding $122,184.
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        $58,000.
   "Determination of the optimum furrow dike size to minimize rainfall runoff". 1985. Funded by Texas Water
        Resource Institute for $17,500.
   "In situ vapor extraction of volatile contaminants at Superfund sites" 1987-88. Funded by Texas Water Resource
        Institute for $40,000.
   "Development of a comprehensive testing protocol to assess the hazard of an uncontrolled hazardous waste site".
        1987-89. Funded by Environmental Protection Agency for $315,897.
   "Evaluation of the Bacterial Mutagenicity and Chemical Characteristics of Municipal Landfill Leachate".
        1988-1990. Sponsored by Texas Water Resource Institute, $47,500.
   "Bioassay Directed Chemical Characterization of Hazardous Organic Chemicals in Waste Contaminated
        Environments". Funded by National Institute of Health, 1989-1992, $422,000.
   "The Use of Short-Term Bioassays to Assess the Human Health Hazard of Uncontrolled Hazardous Waste Sites".
        Funded by National Institute of Health, 1989-1992, $607,000.
   "In Situ Bioremediation of Hazardous Substances in the Vadose Zone". Funded by USEPA, 1988-1991, $341,164.
   "Effectiveness of Multiple Liner Systems for Hazardous Waste Containment Facilities". Funded by USEPA,
        1988-1991, $387,203.
   "The Use of In-Vessel Composting as a Treatment Technology for Hazardous Waste Minimization". Funded by
        Gulf Coast Hazardous Substance Research Center, June 1, 1991-April 30, 1994, $107,471.
   "Site Assessment.” Funded by NIH for $334,.650 for first 3 years. 1992-1996.
   "Demonstration of the Degradation of Toxic Organics in Composted Municipal Solid Waste.” Funded by Texas
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   "A Preliminary Demonstration of the Use of In-Vessel Composting for Degradation of Waste Propellants."
        Sponsored by Day & Zimmermann, Inc. 1993. Funds amounted to $18,138.




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   “Water Use Efficiency and Wetting Patterns Associated with Directed Subsurface Irrigation.” Sponsored by Texas-
      Israel Exchange Program through the Texas Department of agriculture 1995-1996 Funds amount to $27,770.




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                                ATTACHMENT 3




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                                          Since January 1, 2013

 Cause No. 22052-10563, consolidated with Cause No. 22052-09367 and Cause                   4/23/14
 No. 22052-09366; Corby Baker, et al., Plaintiffs, v. Fluor Corporation, et al.,
 Defendants in the Missouri Circuit Court, Twenty-Second Judicial Court, State of
 Missouri. Case involved personal injury claims related to exposure to lead mining
 wastes. Retained by the Plaintiffs.
 Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                    4/16/14
 Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
 United States District Court, Northern District of New York. Case involved
 contamination of the Hudson River with polychlorinated biphenyls. Retained by
 the Plaintiffs.
 Cause No. 052-09605; Charles A. Burnia, et al., Plaintiffs, v. Fluor Corporation,          8/19/13
 et al., Defendants in the Circuit Court of St. Louis, Twenty-Second Judicial
 Circuit, State of Missouri. Case involved personal injury claims related to
 exposure to lead mining wastes. Retained by the Plaintiffs.




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